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                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA
                       GAINESVILLE DIVISION


  SHARON WRIGHT AUSTIN, et al.,

                      Plaintiffs,

               v.                              Case No.: 1:21-cv-00184-MW-GRJ

  UNIVERSITY OF FLORIDA
  BOARD OF TRUSTEES, et al.,

                      Defendants.


                      DECLARATION OF RYAN FULLER

      I am Ryan Fuller, Associate Vice President and Deputy General Counsel,

University of Florida (“UF”).

      1.     Each of the exhibits attached hereto is a true and correct copy of the

described document.

      2.     Exhibit 1 is the 2021-2024 Collective Bargaining Agreement (“CBA”)

between the UF Board of Trustees and the United Faculty of Florida, UF Chapter

(“UFF-UF”).

      3.     UF faculty members Sharon Wright Austin, Michael McDonald, and

Daniel A. Smith, each of whom is a plaintiff in this case, are in the bargaining unit

represented by the UF Chapter of UFF-UF.

      4.     None of the plaintiffs in this case filed a grievance over UF’s denial of
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his or her outside activity request under the CBA or any applicable university rule

or regulation.

      5.     Exhibit 2 is UF Regulation 1.011, “Disclosure and Regulation of

Outside Activities and Financial Interests,” https://tinyurl.com/3zrenpra.

      6.     Exhibit 3 is UF’s Policy on Conflicts of Commitment and Conflicts of

Interest, https://tinyurl.com/3yh9kff7 (“Policy on Conflicts”).

      7.     Faculty members who do not belong to UFF-UF and are not subject to

the CBA are covered by Regulation 1.011 and the Policy on Conflicts.

      8.     Exhibit 4 is an email sent by Paul Ortiz, President of the UF Chapter of

UFF-UF, to the UF Office of General Counsel, on October 26, 2021.

      9.     Exhibit 5 is a public statement issued by UF on October 30, 2021,

https://tinyurl.com/2hkedspa.

      10.    Exhibit 6 is a public statement issued by UF President Kent Fuchs and

UF Provost and Chief Academic Officer Joe Glover on November 1, 2021,

https://tinyurl.com/3crjrvuk.

      11.    Exhibit 7 is a public statement issued by President Fuchs on November

5, 2021, https://tinyurl.com/yc2tfc22. In his statement, President Fuchs directed

UF’s Conflicts of Interest Office to approve the requests made by Professors Austin,

McDonald, and Smith to serve as paid expert witnesses in litigation adverse to the

State of Florida. President Fuchs also announced the formation of a task force to

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review UF’s conflicts policy regarding expert witness outside activities.

      12.    President Fuchs shared the news about his decisions with the UF

campus community in an email sent just after 12:00 p.m. EDT on November 5, 2021.

Exhibit 8 is that email.

      13.    Exhibit 9 is an email sent by the Foundation for Individual Rights in

Education to the UF Office of General Counsel on November 5, 2021.

      14.    Exhibit 10 is an online article, Giselle Thomas, UF professor says he

was denied three requests for him to participate in court, as it appeared on CBS4

News on November 3, 2021, https://tinyurl.com/2p2jejna. The online article links

to a videotaped interview of the UF professor who is the subject of the article.

      15.    Exhibit 11 is the Final Report of the Task Force on Outside Activities,

dated November 22, 2021, https://tinyurl.com/yu3ht75b. The Task Force provided

its report and recommendations to President Fuchs that same day.

      16.    Exhibit 12 is a public statement issued by UF on November 23, 2021,

https://tinyurl.com/269fwstn. The public statement announced President Fuchs’

decision to approve the Task Force’s recommendations.

      17.    Under its revised policy, UF will apply a “strong presumption” that a

faculty member may testify as an expert witness in litigation to which the State of

Florida is a party, no matter what the faculty member’s testimony is or whether the

faculty member is compensated. The revised policy imposes a “heavy burden on the

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university to overcome the strong presumption” such that a request to testify in

litigation as an expert witness may be denied only when “clear and convincing

evidence” establishes that such testimony would “conflict with an important and

particularized interest of the university, which the university must set forth and

explain in writing.” UF will apply the same strong presumption, heavy burden, and

clear-and-convincing-evidence standard to a faculty member’s request to participate

in litigation as an amicus curiae.

      18.      Exhibit 13 is UF Rule 6C1-7.0441, “Academic Affairs; Procedures of

the Faculty Senate Committee on Academic Freedom, Tenure, Professional

Relations and Standards Committee.”

      19.      Exhibit 14 is UF Regulation 7.041, “Methods for Review and

Resolution of Faculty Grievances.”

      20.      Exhibit 15 is UF Regulation 7.042, “University Grievance Procedure

for Faculty and Postdoctoral Associates: Definitions, General Information, and

Procedures.”




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      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct. Executed on December 1, 2021.


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                       EXHIBIT 1
      2021-2024 COLLECTIVE BARGAINING AGREEMENT
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       Collective Bargaining Agreement
                             between the

        University of Florida Board of Trustees
                               and the

                 United Faculty of Florida
                  FEA, NEA, AFT, AFL-CIO


                         2021-2024




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Interests

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                                          ARTICLE 1
                                    TITLES AND HEADINGS

The titles of articles and headings that precede text are inserted solely for convenience of
reference and shall not be deemed to limit or affect the meaning, construction, or effect of any
provision of this Agreement.




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                                            ARTICLE 2
                                          RECOGNITION

2.1     Bargaining Unit. The University of Florida Board of Trustees (hereinafter Trustees)
recognizes the United Faculty of Florida (hereinafter UFF) as the exclusive representative for
the purpose of collective bargaining with respect to wages, hours, and other terms and
conditions of employment for all faculty members in the bargaining unit as defined in
Commission Order No. 05E-195, Certification No. 1558, issued by the Florida Public Employees
Relations Commission on September 9, 2005 or as subsequently modified by Commission
Order. APPENDIX A, POSITION CLASSIFICATIONS IN THE BARGAINING UNIT lists the titles
included in the bargaining unit.

2.2      Job Classification.
         (a)      New or revised position classifications with job duties that include a substantial
teaching or research component that traditionally have come under the purview of an
administrative unit within the bargaining unit or otherwise significantly overlap duties of
positions within the bargaining unit shall be treated as within the bargaining unit, pending a
final determination to the contrary by the Public Employees Relations Commission. New or
revised faculty position classifications with job duties that do not include a substantial teaching
or research component that traditionally have not come within the purview of an
administrative unit within the bargaining unit or otherwise do not significantly overlap duties of
positions within the bargaining unit shall not be regarded as within the bargaining unit, pending
a final determination to the contrary by the Public Employees Relations Commission.

        (b)     The University may create new position classifications with job duties that
include a substantial teaching or research component or otherwise significantly overlap duties
of positions within the bargaining unit only after discussions with UFF regarding the nature and
necessity of the new position classifications and whether they will be designated within or
outside the bargaining unit, unless UFF notifies the University in writing that it does not object
to the new classification or designation. If UFF does not request such discussions within thirty
        (30) days after notification of the proposed new position classification, the University
may proceed to implement it.

       (c)      If the University wishes to revise the specifications of an existing class so that
the bargaining unit designation needs to be changed, it may do so only after negotiations with
UFF regarding such new designation, unless UFF notifies the University in writing that it does
not object to the new designation.

        (d)      If an agreement cannot be reached after discussions or negotiations referenced
in 2.2(b) and 2.2(c), above, the University and UFF shall request that the Public Employees
Relations Commission resolve the dispute through unit clarification proceedings.

        (e)     Disputes Over Classifications or Bargaining Unit Status of Individuals.
               (1)     Upon request by a faculty member or UFF, the Provost or designee shall

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review the faculty member’s classification and bargaining unit status and send a written
explanation of the faculty member’s classification and bargaining unit status to both the faculty
member and UFF.
                (2)       If UFF disagrees with the results it shall inform the Provost or designee
of its opinion in writing and have ninety (90) days from receipt of the Provost’s explanation to
request that the Public Employees Relations Commission resolve the dispute through unit
clarification proceedings.
                (3)      Until the Public Employees Relations Commission makes a final
determination, the presumptions regarding new or revised position classifications or bargaining
unit status specified in Section 2.2(a), above, shall apply.

2.3     Reclassification of Faculty Members to a Non-Unit Classification.
        (a)       When the University proposes to reclassify a faculty member to a classification
that is not in the bargaining unit, it shall notify the faculty member and UFF ninety
(90) days in advance.

        (b)     The faculty member may request a review under the provisions of Section 2.2.

        (c)     UFF may discuss such action pursuant to ARTICLE 6, CONSULTATION.

       (d)     If UFF believes the classification represents an error that may potentially affect
the broader composition of the bargaining unit, the UFF may request that the Public Employees
Relations Commission resolve the dispute through unit clarification proceedings.

        (e)      No faculty member shall be reclassified to a classification that is not contained
in the faculty bargaining unit for the purpose of denying the faculty member rights or
protections under this Agreement. A faculty member may pursue a timely grievance over any
contract violation alleged to have occurred prior to the reclassification becoming effective. A
grievance filed under this section will entitle the grievant to the remedies otherwise available to
a unit employee under this contract.

2.4    Board of Trustees Meetings.
       (a)       The University shall bargain with UFF prior to altering wages, hours, or any
other term or condition of employment of bargaining unit faculty. If an item on a public
meeting agenda of the Trustees (or of any subcommittee of the Trustees) directly impacts
wages, hours, or any other term or condition of employment of bargaining unit faculty, the
University shall notify UFF, and UFF shall be afforded the opportunity to consult, upon timely
request, with the Trustees’ designee(s) about the item. In addition, upon timely request from
UFF, UFF shall be afforded an opportunity to address the item at the Trustees meeting with the
time and place on the agenda to be determined by the Trustees.

        (b)      Minutes of public Trustees or public committee meetings are available to UFF
via trustees.ufl.edu at the time they are made available to the Trustees involved.


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                                         ARTICLE 3
                                     MANAGEMENT RIGHTS

3.1      Policy. The parties agree that the University shall have the rights, powers, and
authority vested in it by the Florida Constitution, the Board of Governors, Florida statutes and
case law, including the right to plan, manage, administer, and control the University of Florida
in carrying out the ordinary and customary functions of management.

3.2     Limitations.
        (a)      All such rights, powers, and authority are subject to those limitations imposed
by this Agreement or applicable law.

       (b)      The management rights referenced in Section 3.1, above, do not constitute a
waiver of, nor shall in any way be deemed to waive, any rights UFF possesses under law to
bargain over subsequent changes with respect to wages or other terms and conditions of
employment of bargaining unit faculty.

3.3       Other Rights Recognized. Nothing in this Article shall limit or waive the right of UFF or
any faculty member to seek to remedy violations of the Public Employees Relations Act, or to
initiate federal or state court actions for violations of federal or state laws.




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                                            ARTICLE 4
                                           UFF RIGHTS

4.1      Use of Facilities and Services. UFF shall be provided with the same campus office it
currently uses or a campus office with equivalent meeting and storage space. The office shall be
provided with secure locks and standard office equipment, including standard campus
software, a telephone for local access calling (no long distance service provided), access to the
internet, a desk, and a conference table with an appropriate number of chairs.

4.2     Communications.
        (a)      UFF shall have the right to post bulletins or other materials relevant to its
position as the collective bargaining agent on a reasonable number of existing bulletin boards.
All such postings shall bear the date of the posting and may be removed after having been
posted for thirty (30) days.

       (b)      The University shall maintain links to the local UFF Chapter on the University
web site.

        (c)      UFF shall have the right to use without cost the University’s campus mail and e-
mail systems (including use of the standard delivery mode to send messages to all faculty) in
order to communicate with the faculty. The mails may not be used for election campaigns for
public office, except that UFF may announce endorsements made by UFF or its affiliates.
Faculty members who are e-mail recipients of UFF listserv(s) shall have the right to be removed
from the listserv(s) upon written request.

4.3      Released Time.
         (a)      The University shall provide eighteen (18) units of released time to full-time
faculty members designated by UFF for the purpose of carrying out UFF’s obligations in
representing employees, bargaining, and administering this Agreement. This allocation is for
the life of this agreement. Unused units will not accrue beyond this contract. No more than
three (3) of these units may be used in Summer.
                 (1)     Each unit of released time shall consist of a reduction in teaching load of
one (1) course per Fall or Spring semester for faculty with instructional duties or, for faculty
without instructional duties, a reduction in workload of ten (10) hours per week. Faculty on 9-
month contracts who receive release units in the summer shall be paid 12.5% of regular annual
salary per unit.
                 (2)     Each unit of released time for P. K. Yonge Developmental Research
School faculty members shall consist of a reduction in teaching load of one (1) class per day
during a semester for secondary school teachers, or its equivalent for other teachers. One DRS
faculty member may be designated by UFF as a member of the bargaining team and be
released from assigned duties for up to twelve (12) days. These days are to be used in
increments of one (1) whole day.
                 (3)     A faculty member may receive more than one (1) unit of released time
per semester.

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                (4)     Where the schedule of classes will allow, the University shall, whenever
practicable, arrange for Tuesday-Thursday teaching schedules for faculty members who are
bargaining.

        (b)      Released time during the academic year is subject to the following conditions:
                (1)     In departments with ten (10) or fewer faculty members, no more than
one (1) faculty member may be granted released time at any one time without consent of the
department supervisor.
                (2)     UFF shall provide the University with a list of requested designees for
each semester of the academic year no later than May 1 of the preceding academic year.
                (3)     Substitutions for the Spring semester shall be made upon written
notification submitted by UFF no later than October 31.

        (c)     Faculty members who are on leave shall not be eligible to receive released
time.

       (d)      Salary Increases. Faculty members on released time shall be eligible for salary
increases on the same basis as other faculty members.

       (e)    Released time activities may require a significant commitment of time and shall
be acknowledged.

       (f)       Faculty members on released time shall not be considered representatives of
the University for any activities undertaken on behalf of UFF. UFF agrees to hold the University
harmless for any and all claims arising from such activities, including the cost of defending
against such claims.

4.4      Leave of Absence—Union Activity.
         (a)     At the written request of UFF, provided no later than May 1 prior to the
beginning of the academic year when such leave is to become effective, a full-time or part-time
leave of absence for the academic year shall be granted to up to three (3) faculty members
designated by UFF for the purpose of carrying out UFF’s obligations in representing faculty and
administering this Agreement. For faculty members on 12-month appointments, such leave
shall also be granted for the entire summer term, upon written request by UFF provided no
later than March 15.

     (b)     UFF shall reimburse the University for the salary and benefits of the faculty
members approved for leave granted under the provisions of this Article.

        (c)       A faculty member on such leave shall not be evaluated for this activity, but such
activity shall be considered service.

        (d)       Salary Increases. Faculty members on leave under this paragraph shall be
eligible to receive salary increases on the same basis as other faculty members.

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       (e)      The University shall not be liable for the acts or omissions of any faculty
member granted leave under this Section, and UFF shall hold the University harmless for any
such acts or omissions, including the cost of defending against such claims (except for claims
brought by UFF alleging a violation of the Agreement or Chapter 447, Florida Statutes).

4.5      Faculty Orientations. UFF shall be afforded the opportunity to set up a table for the
purpose of distributing materials at the University New Faculty Orientation, and the existence
and location of that table shall be mentioned during the orientation presentation. Notification
by email of the date, time, and location of new faculty orientations shall be made to UFF no
later than two (2) weeks prior to the event.




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                                           ARTICLE 5
                                       PAYROLL DEDUCTION

5.1      Deductions. The University shall deduct bi-weekly the following from the pay of those
faculty members in the bargaining unit who individually and voluntarily make such request on a
written authorization form as contained in APPENDIX B to this Agreement:
        (a)     One after-tax deduction code for UFF membership dues and another after-tax
deduction code for PAC contributions in an amount established by UFF and certified in writing
by UFF state president to the University; and

       (b)      One pre-tax deduction code and one after-tax deduction code for UFF voluntary
economic services programs. Deductions shall be made on a pre-tax or after-tax basis at UFF’s
designation, provided there is no legal impediment to doing so. All such programs and
deductions shall meet the requirements of state and federal law as well as University rules or
regulations. The parties agree that proposed changes in University rules or regulations
impacting these programs and deductions shall be subject to collective bargaining negotiations
before implementation.

5.2    Timing of Deductions.
       (a)      The University shall make deductions beginning with the first full pay period
that commences at least seven (7) days following the date that UF Human Resources receives
the authorization.

        (b)      UFF shall give written notice to the University of any changes in its dues at least
forty-five (45) days prior to the effective date of such changes.

5.3     Remittance.
        (a)     The University shall remit dues and other authorized deductions to UFF state
office on a biweekly basis within fifteen (15) days following the end of the pay period.

       (b)      Accompanying each remittance shall be a list in electronic form containing the
following information for each faculty member from whose salary a deduction has been made:
               (1)     Name of the faculty member;
               (2)     Bi-weekly salary of the faculty member; and
               (3)     Amounts deducted from the faculty member’s salary.

5.4    Termination of Deduction.
       (a)     The University’s responsibility for deducting dues and other authorized
deductions from a faculty member’s salary shall terminate upon either
              (1)      thirty (30) days written notice from the faculty member to both the
University Human Resource Services office and UFF revoking the faculty member’s prior
deduction authorization, or
              (2)      the termination of employment of the faculty member.


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        (b)     The UF Human Resources shall provide UFF with a copy of any written
authorization from a faculty member terminating dues or other deductions within ten (10) days
of the date the authorization was received.

5.5    Reinstatement of Deduction.
       (a)       The University shall reinstate dues deductions for faculty members who have
previously filed authorization and who have not revoked that authorization, but whose payroll
deductions have been discontinued for any other reason.

       (b)    The University shall deduct and remit to UFF dues for any period for which dues
deductions were not, but should have been, made.

5.6       Indemnification. UFF assumes responsibility for (1) all claims against the University,
including the cost of defending such actions, arising from their compliance with this Article, and
for (2) all monies deducted under this Article and remitted to UFF. UFF shall promptly refund to
the University excess monies received under this Article. Nothing herein shall make the
University a fiduciary for any benefits offered by UFF. This subsection does not relieve the
University of its responsibility to comply with the provisions of this Article.

5.7     Exceptions. The University will not deduct UFF fines, penalties, or special assessments
from the pay of any faculty member.

5.8      Termination of Agreement. The University’s responsibilities under this Article shall
terminate upon (1) decertification of UFF or the suspension or revocation of its certification by
the Florida Public Employees Relations Commission, or (2) revocation of UFF’s deduction
privilege by the Florida Public Employees Relations Commission.




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                                        ARTICLE 6
                                      CONSULTATION

The President or designee and representative(s) may meet with UFF representatives to discuss
matters pertinent to the implementation or administration of this Agreement, University
Administration actions affecting terms and conditions of employment, or any other mutually
agreeable matters, at either’s request.




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                                         ARTICLE 7
                                  MAINTENANCE OF BENEFITS

7.1     The rights and benefits provided by this Agreement shall apply to any faculty member
who is or shall become upon hiring a member of the bargaining unit and may not be waived by
any such faculty member, except with the consent of UFF.

7.2     To the extent required by law, the rights and benefits set forth in this Agreement shall
not change absent collective bargaining.




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                                        ARTICLE 8
                     UNIVERSITY OF FLORIDA REGULATIONS AND POLICIES

8.1     Changes in Regulations or Policies.
        (a)     Established terms and conditions of employment for bargaining unit faculty
shall not be changed without collective bargaining, pursuant to Chapter 447, Florida Statutes.

       (b)       If any regulation, policy, or resolution proposed by the University has a direct
and substantial impact on wages, hours, or any other term or condition of employment, the
University shall satisfy any collective bargaining obligation with respect to the change prior to
implementing it, unless UFF declines in writing to bargain over the change.

8.2      Notice of Proposed Regulations. The University shall provide to UFF, via posting on the
University General Counsel web site, an advance copy of any proposed regulation that could
reasonably be construed to affect terms or conditions of employment contained in this
Agreement.

8.3      Inconsistencies with Agreement. No existing, new or amended University regulation,
policy, or resolution shall apply to bargaining unit faculty members if it conflicts with an express
term of the Agreement.




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                                    ARTICLE 9
               BYLAWS GOVERNING TERMS AND CONDITIONS OF EMPLOYMENT

9.1      Policy. Faculty members of the colleges, schools, departments, centers, or other
traditional academic units have the right to create bylaws or other written unit policies by
which to conduct their responsibilities as they relate to policy matters that the University and
UFF have agreed by the express terms of a specific section of this Agreement to delegate to the
unit faculty, consistent with the provisions of this Agreement. Such written unit policies shall be
subject to review and approval by appropriate administration officials and posted on the unit
web sites.
        (a)      Faculty members shall have the right to participate in the development of and
to vote on such bylaws. If the bylaws are developed by means of a committee, such committee
shall be comprised of faculty members elected by the faculty of the unit.

       (b)      The University and UFF have agreed by the express terms of this Agreement to
delegate to the faculty of appropriate units, in specific instances and within specified
parameters, the development of discipline-specific clarifications of University criteria for
tenure, promotion, merit salary increases, market equity salary increases, and performance
evaluations.

        (c)      No provision of the bylaws that governs terms and conditions of employment
shall be inconsistent with the provisions of this Agreement or with the mission and goals of the
unit and the University.

        (d)     During the life of this Agreement, all units shall review bylaws and propose
revisions.

9.2    Development and Approval of Bylaws.
       (a)      The deadlines specified in this Article apply to calendar days of the weeks in
which classes or final exams are held during the Fall and Spring semesters. If a semester ends
before the period specified, the clock stops and restarts on the first day of classes in the next
semester (excluding summers).

        (b)      Faculty Proposal. Faculty members in each unit, in conjunction with the chair,
shall develop and maintain bylaws. Provisions in the bylaws relating to tenure, promotion,
merit salary increases, market equity salary increases, and performance evaluations must be
approved in a vote by a majority of all affected faculty in the relevant unit who are eligible to
vote on the matter under consideration. The vote shall take place in a publicly noticed meeting
and shall be by show of hands. The totals of yes or no shall be recorded in the minutes of the
meeting. The proposed bylaws shall be forwarded for approval to the dean. If the chair and the
other faculty are unable to reach agreement on an issue, both the chair’s proposal on that issue
and the proposal approved by a majority of the faculty shall be submitted to the dean.

        (c)     Dean’s Review. Within thirty (30) days of receiving the proposed bylaws, the

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dean shall review them to ensure that they comply with this Agreement and with the mission
and goals of the University and either approve the proposed bylaws or return them to the unit
for revision.
               (1)      If the dean approves the proposed bylaws that a majority of the unit’s
faculty voted to adopt or does not respond within thirty (30) days after receiving them, the
bylaws shall be adopted as passed.
               (2)      If the dean objects to any provision of the faculty’s proposed bylaws,
the dean shall return the bylaws to the unit, together with his/her written objections.

        (d)      Reconsideration, if Necessary. The faculty shall consider the dean’s written
objections and, within thirty (30) days after receiving them, shall resubmit the bylaws to the
dean, incorporating all, some, or none of the objections, along with a justification for the
resubmitted language, which shall be written by a faculty member from the unit selected by
faculty members in the unit.
                (1)      If the faculty do not resubmit proposed bylaws within thirty (30) days
after receiving the dean’s objections, the bylaws shall be adopted as modified consistent with
the dean’s objections.
                (2)      If the dean approves the reconsidered bylaws or does not respond
within thirty (30) days after the dean’s receipt of them, the bylaws shall be adopted as
resubmitted.
                (3)      If the dean does not approve the reconsidered bylaws and the proposed
changes impact the items specifically referenced in 9.1(b), the dean within thirty (30) days shall
make final revisions to the reconsidered bylaws. The revisions may change only those portions
of the reconsidered bylaws that are unreasonable or unworkable. The reconsidered bylaws
shall be adopted as modified by the dean’s final revisions.

        (e)     Once approved, no provision of the bylaws altering a term or condition of
employment shall be unilaterally altered or suspended, except pursuant to Chapter 447, Part II,
Florida Statutes. The application or interpretation of provisions of the bylaws shall be grievable
under this Agreement.

       (f)      A copy of the bylaws shall be kept on file in the unit office, as well as posted on
the unit’s website. A copy of the bylaws shall also be provided to UFF and to the University.




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                                       ARTICLE 10
                          ACADEMIC FREEDOM AND RESPONSIBILITY

10.1     Policy. Academic freedom and responsibility are essential to the integrity of the
University. The principles of academic freedom are integral to the conception of the University
as a community of scholars engaged in the pursuit of truth and the communication of
knowledge in an atmosphere of tolerance and freedom. The University serves the common
good through teaching, research, scholarship/creative activities, and service. The fulfillment of
these functions rests upon the preservation of the intellectual freedoms of teaching,
expression, research, and debate. The University and UFF affirm that academic freedom is a
right protected by this Agreement in addition to a faculty member’s constitutionally protected
freedom of expression and is fundamental to the faculty member’s responsibility to seek and to
state truth as he/she sees it.

        (a)       The University and UFF shall maintain, encourage, protect, and promote the
faculty’s full academic freedom in teaching, research/creative activities, and professional,
university, and employment-related public service, consistent with the exercise of academic
responsibility described in Sections 10.3 and 10.4, below.

       (b)       In order to ensure within the University an atmosphere of academic freedom,
                (1)      The University shall not apply any provision in this Agreement to violate
a faculty member’s academic freedom or constitutional rights, nor shall a faculty member be
punished for exercising such freedom or rights, either in the performance of University duties
or activities outside the University.
                (2)      The University recognizes that internal and external forces may seek at
times to restrict academic freedom, and the University shall maintain, encourage, protect and
promote academic freedom.

10.2      Academic Freedom. Consistent with the exercise of academic responsibility described
in Sections 10.3 and 10.4 below, a faculty member shall be free to discuss all relevant matters
in the classroom, to explore all avenues of scholarship, research, and creative expression, to
speak freely on all matters of university governance, and to speak, write, or act in an
atmosphere of freedom and confidence.

      (a)       Teaching and Research/Creative Activities. Faculty members shall have the
freedom to:
               (1)      Freely engage in scholarly and creative activity and publish the results.
               (2)      Present and discuss, frankly and forthrightly, academic subjects,
including controversial material relevant to the academic subject being taught.
               (3)      Select instructional materials, define course content, and determine
grades within general department guidelines. Consistent with the principle that the faculty
member should be the sole judge of a student’s performance in a course, the grade a faculty
member determines for a student’s performance shall not be changed without the faculty
member’s consent, except as the result of an official investigation. In the case of an official

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investigation, the chair shall appoint a panel of faculty members with expertise in the course
material. Such panel shall conduct the investigation and shall report its findings to the chair.
The chair of the department shall then take appropriate action. The factors to be considered
include if:
                       a.        there was discrimination against a student in determining the
grade or the grade was imposed without proper authority; or
                       b.        the faculty member’s assessment of the student’s performance
was not supportable by an accepted pedagogical practice or was substantially inconsistent with
the basis for evaluation that the faculty member specified for the course.

       (b)      Service. Service includes, but is not limited to, participation in governance
processes of the University. Faculty members shall have freedom to present and discuss, frankly
and forthrightly, academic subjects and policy, university governance, or other matters
pertaining to the health of the University.

       (c)      All rights provided in this Article shall extend to all bargaining unit members,
regardless of whether their primary assignments include teaching and research.

10.3    Academic Responsibility of the Faculty. Academic responsibility implies the competent
performance of duties and obligations and the commitment to support the responsible exercise
of academic freedom by others. Members of the faculty have a responsibility to:
       (a)     Observe and uphold the ethical standards of their disciplines in the pursuit and
communication of scientific and scholarly knowledge;

        (b)     Treat students, staff, and colleagues fairly and civilly in discharging one’s duties
as teacher, researcher, and intellectual mentor. Avoid any exploitation of such persons for
private advantage and treat them in a manner consistent with the provisions of the article on
NONDISCRIMINATION;

       (c)       Respect the integrity of the evaluation process, evaluating students, staff, and
colleagues fairly according to the criteria and procedures specified in the evaluation process;

       (d)     Represent one self as speaking for the University only when specifically
authorized to do so;

        (e)      Participate, as appropriate, in the system of shared academic governance,
especially at the department level, and seek to contribute to the civil and effective functioning
of the faculty member’s academic unit (program, department, school and/or college) and the
University;

       (f)       Perform appropriate duties assigned by the University and observe applicable
state and federal law and applicable published College, University, and Board of Governors
regulations, policies, and procedures, provided that the assigned duty or the regulation, policy,
or procedure at issue does not contravene the provisions of the Agreement or the faculty

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member’s right to criticize or seek revision of those duties, laws, regulations, policies, or
procedures. Faculty members seeking change must not do so in ways that unreasonably
obstruct the functions of the University.

10.4      Academic Responsibility of the University. Academic responsibility implies the
competent performance of duties and obligations and a commitment to foster within the
University a climate favorable to the responsible exercise of academic freedom. Therefore, it is
the responsibility of the University to:
        (a)       Maintain, encourage, protect and promote academic freedom so that it is not
compromised by harassment, censorship, reprisals, or prohibited discrimination as defined in
ARTICLE 11, NONDISCRIMINATION. Recognize the right of faculty members to enjoy, without
fear of institutional censorship or discipline, the same constitutional rights and freedoms as
other individuals.

       (b)      Treat faculty members fairly and civilly in discharging the duties in managing
the University.

       (c)      Respect the integrity of the evaluation process, evaluating faculty fairly and
accurately according to the criteria and procedures specified in the evaluation process.

       (d)    Sustain principles of the system of shared governance, which recognizes that in
the development of academic policies and processes the professional judgments of faculty
members are of crucial importance.

        (e)      Prohibit persons who are not authorized students, authorized instructional
staff, or authorized officials of the University from entering or interrupting faculty classrooms or
laboratories during instructional time, except with prior permission from the responsible
administration representative, faculty member or during emergencies. The University shall
support the authority of each faculty member to have unauthorized persons removed from the
faculty member’s classroom/laboratory.

         (f)      Prohibit disruptive student behavior, including behavior that involves violence
against faculty, staff or students, threat(s) of violence, instigation of violence, malicious
vandalism, possession of weapons of any type, willful disregard of a faculty member’s
legitimate directions, continued use of abusive language or gestures, or other behavior that is
so unruly, disruptive, harassing, or abusive that it seriously interferes with the faculty member’s
ability to effectively communicate with other students in the class or with the ability of the
student’s classmates to learn. The University shall support the authority of each faculty
member to have disruptive persons removed from the faculty member’s classroom/laboratory.
                 (1)      Upon receiving a report of disruptive student behavior, the Dean of
Students shall act promptly to investigate and resolve the matter. Faculty may request that a
disruptive student be barred from returning to the classroom. If the Dean of Students declines
such a request, the Dean shall take appropriate alternative action that ensures against a
recurrence of the disruptive behavior and shall inform the faculty member.

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               (2)      A faculty member shall not be disciplined for taking reasonable action in
self-defense or in defense of others.




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                                         ARTICLE 11
                                      NONDISCRIMINATION

11.1    Statement of Intent.
        (a)     It is the intent of the parties that each faculty member work in an environment
free from any form of discrimination or harassment.

         (b)      The parties recognize their obligations under federal and state laws, and
regulations prohibiting discrimination. Both parties shall work together to assure equal
employment opportunities at the University for women, minorities, and other affected groups
to achieve equality. To this end the parties shall implement programs, policies, and practices to
facilitate the recruitment, appointment, retention and professional development of such
groups and to ensure equitable opportunities for faculty members to receive salary
adjustments, tenure, multi-year appointments, promotion, sabbaticals, and other benefits. This
statement of intent is not subject to ARTICLE 28, GRIEVANCE PROCEDURE AND ARBITRATION.

11.2    Policy.
        (a)       Discrimination.
                (1)       Personnel decisions shall be based solely on job-related criteria and
performance.
                (2)       The University of Florida acknowledges the importance of an inclusive
environment for all, and shall not discriminate against any faculty member based upon race,
color, sex, gender identity, religious creed, national or ethnic origin, age, disability, political
opinions or affiliation, sexual orientation, marital status, or veteran status as protected under
the Vietnam Era Veteran’s Readjustment Assistance Act.

        (b)      Harassment. Faculty members shall be protected from illegal harassment, in
accordance with federal and state law.
               (1)       Sexual Harassment. It is the policy of the University that each faculty
member be allowed to work in an environment free from any form of discrimination. Sexual
discrimination is prohibited by Title VII of the Civil Rights Act of 1964 and Title IX of the
Education Amendments of 1972. Under these laws, sex discrimination includes sexual
harassment and sexual misconduct. Sexual harassment is unwelcome conduct of a sexual
nature and includes but is not limited to unwelcome sexual advances, requests for sexual
favors, and other verbal, nonverbal or physical conduct of a sexual nature. Types of sexual
harassment include:
                        a.       “Quid pro quo harassment” assumes a power differential and
occurs when an employee or student is subject to unwelcome sexual behavior or advances, and
submission is made a condition of hiring, advancement, admission, or evaluation in the work or
academic setting. Submission to such conduct is made either explicitly or implicitly a term or
condition of an individual’s employment.
                        b.       “Hostile environment harassment” occurs when unwelcome
sexual behavior unreasonably interferes with an individual’s job performance or creates an
intimidating, hostile, or offensive work environment. Hostile environment harassment generally

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requires a severe and pervasive pattern of behaviors to constitute sexual harassment.
Submission to or rejection of such conduct by an individual is used as the basis for decisions
affecting the individual’s employment.
                (2)      Sexual misconduct is defined as a sexual act perpetrated against a
person’s will or where a person is incapable of giving consent. Sexual misconduct includes but is
not limited to sexual violence, sexual exploitation, non-consensual sexual contact and non-
consensual sexual intercourse. Sexual violence includes rape, domestic violence, dating
violence, stalking, sexual assault, sexual battery and sexual coercion.
                (3)      Consensual sexual relationships may involve a conflict of interest.
Conflicts of interest are subject to the provisions of ARTICLE 26, OUTSIDE ACTIVITY AND
CONFLICT OF INTEREST.
                (4)      In addition to the concern with respect to sexual harassment between
faculty members or between faculty and other employees, the University and UFF recognize
the potential for this form of illegal discrimination involving students, either by students against
faculty or by faculty against students. Such illegal discrimination includes unwelcome sexual
advances, requests for sexual favors, sexual misconduct, or other verbal or physical conduct of
a sexual nature that constitutes sexual harassment.
                (5)      The University and UFF recognize that sexual relationships between
students and faculty, even if consensual, may become exploitative and especially so when a
student’s academic work, residential life, or athletic endeavors are supervised or evaluated by a
faculty member.
                        a.      There shall be no sexual or romantic relationships between faculty
members and undergraduate students. This policy shall not apply to sexual or romantic
relationships that existed before one or both partners’ arrival at the university and/or before
this policy went into effect.
                        b.      There shall be no sexual or romantic relationships between faculty
members and graduate students where both parties are affiliated with the same degree
program or department, and under any circumstances in which the faculty member exercises
academic, evaluative, or supervisory authority over the students. This policy shall not apply to
sexual or romantic relationships that existed before one or both partners’ arrival at the
university and/or before this policy went into effect.
                        c.      Faculty who have, or have had, a sexual or romantic relationship
with a student are prohibited from exercising academic, evaluative, or supervisory authority
over that student. Relationships that pre-date one or both parties’ affiliation with the University
and that would otherwise be prohibited under this policy shall be promptly disclosed by the
faculty member to his or her dean or designee.
                (6)      Policies and regulations regarding harassment shall be employed to
protect individuals from discrimination, not to regulate the content of speech or restrict the
academic freedom or free speech rights of faculty members.

        (c)      Where appropriate, informal resolution of concerns is encouraged. Such
resolution may include such things as speaking up when the incident occurs, communicating
with the individual and asking him or her to stop the offensive behavior, or consulting with a
professional counselor in the employee assistance program.

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         (d)      Responsibilities of Faculty Members Regarding Formal Accusations of Possible
Discrimination or Harassment. A faculty member who has actual knowledge by direct
observation or who receives a formal accusation of discrimination, or of harassment as defined
in this Article involving an individual over whom the faculty member has direct official
authority, must contact Office of Human Resource Services, who shall investigate the matter to
determine whether the observation or accusation has substance and, if appropriate, take
corrective action.

        (e)     Formal Complaints of Discrimination or Harassment. Faculty members who
believe that they may be victims of discrimination or harassment may file a formal complaint
directly with UF Human Resources.

         (f)      Retaliation. Retaliation for exercising civil rights is prohibited by federal and
state law. No harassment, intimidation, threats, coercion, discrimination, or other form of
retaliation shall be made by a faculty member, the University or UFF against any party, witness
or representative arising from their good faith participation in the investigation of a complaint
of discrimination or harassment. Retaliation shall be regarded as seriously as discrimination
itself and shall justify discipline pursuant to the procedures established in ARTICLE 27,
DISCIPLINARY ACTION AND JOB ABANDONMENT.

       (g)       Disciplinary Action.
                (1)        If an investigation finds that discrimination or harassment has occurred,
the University may, in appropriate cases, prescribe counseling instead of formal disciplinary
action. If the university imposes discipline, it shall be done in accordance with the provisions of
ARTICLE 27. The complainant shall be advised of the action taken against the faculty member.
                (2)        No faculty member shall be disciplined for discrimination or harassment
until the investigation of the charges according to the procedures described in Section 11.3 is
complete and a finding of discrimination or harassment has been issued and, if a timely
grievance is filed, until the grievance process ends with a finding of just cause that permits the
discipline. During the investigation, the faculty member may be placed on administrative leave
pursuant to the OTHER LEAVES article of this Agreement.

11.3     Investigation of Formal Complaints of Discrimination or Harassment. Charges of
discrimination or harassment shall be investigated according to the following principles and
procedures:
        (a)       An investigation of alleged discrimination or harassment shall be initiated when
an individual files a formal complaint with UF Human Resources.
                (1)      UF Human Resources shall appoint trained professionals to investigate
the alleged discrimination or harassment. It shall notify the accused, the complainant, the dean
of the appropriate college/unit, and UFF. Such notification shall occur within fifteen (15) days.
                (2)       UF Human Resources shall inform the accused of the content of the
accusation (including any complaints redacted as required by law, the time frame of the alleged
actions, and the name of the complainant as allowed by law) and the date of any scheduled

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initial interview with the accused, which shall not be less than seven (7) days after the date of
notification, during which time the accused shall not speak to the complainant about any aspect
of the complaint. UF Human Resources shall inform the accused that he/she has the right to
have a UFF Grievance Representative or legal counsel present during any interviews involving
the accused.
                 (3)     The investigation shall be conducted in as confidential a manner as
possible to protect the confidentiality of the alleged victim, the accused party, and witnesses.
                 (4)     The alleged conduct shall be considered in the context of the
circumstances.
                 (5)     The investigation shall include interviewing the complainant, the
accused, any pertinent witnesses, and reviewing any relevant documentation.
                 (6)     At any time the University, the complainant, and the accused may agree
to a resolution of the complaint.
                 (7)     Upon completion of the investigation, the investigators shall make a
report of their findings to UF Human Resources, which shall forward the report to the accused
individual, the accused individual’s representative (if any), the complainant, the dean of the
appropriate college/unit, and UFF.

        (b)     The investigative report shall contain at least the following information: The
nature of the complaint, all formal statements by the parties, a summary of the facts, and a
conclusion as to whether the alleged action or incident has occurred. The faculty member has
the right to append a response to the investigation report.

        (c)     The University shall take appropriate remedial measures to correct any
discrimination or harassment that is found. Remedial measures shall not adversely affect the
faculty member who was found to be the object of discrimination or harassment.

       (d)      UF Human Resources shall notify the complainant, the accused individual, the
accused individual’s representative (if any), the dean of the appropriate college/unit, and UFF
of any proposed action to be taken, including a counseling letter or disciplinary action.

       (e)      Records maintained for the purposes of investigating formal complaints of
discrimination or harassment shall be confidential until a final decision is made.
               (1)      For harassment investigations, portions of the records that identify the
complainant, a witness, or information that could reasonably lead to the identification of the
complainant or a witness, shall retain their confidential status even after the investigation is
closed and the final decision is made.
               (2)      However, the records shall be open to University personnel conducting
the investigation, the accused individual or designee, the dean of the appropriate college/unit,
and UFF.
               (3)      Pursuant to state and federal law, the findings shall be maintained in UF
Human Resources.

       (f)      In instances where no findings of discrimination or harassment is made, no

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record of any allegations or the formal complaint shall be placed in the faculty member’s
evaluation or personnel file unless the faculty member requests in writing that a record of the
complete investigation be placed in the evaluation or personnel file.

11.4      Access to Documents. A faculty member shall have the right to inspect and copy
documents relating to any claim of discrimination or harassment to which the faculty member
is a party except for records that are exempt from the provisions of the Public Records Act,
Chapter 119, Florida Statutes.

11.5    Grievance Procedures.
        (a)     Claims of discrimination or harassment brought against the University may be
presented as grievances pursuant to ARTICLE 28, GRIEVANCE PROCEDURE AND ARBITRATION.
However, no grievance may be maintained under this section if the faculty member has also
initiated a complaint arising from the same issue(s) filed with any court or fair employment
practices agency, except as specifically provided for in ARTICLE 28.

       (b)      Appeals of adverse employment decisions made against faculty members
accused of discrimination or harassment may be presented as grievances pursuant to ARTICLE
28, GRIEVANCE PROCEDURE AND ARBITRATION.

11.6      Neither the University nor UFF shall abridge any rights of faculty members related to
union activity granted under Florida law including but not limited to the right to assist or to
refrain from assisting UFF.




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                                          ARTICLE 12
                                         APPOINTMENT

12.1    Policy
        (a)       Working with faculty, the University shall establish standards, qualifications,
and criteria to fill vacancies. The parties recognize and mutually agree that the University’s
mission and desire to foster excellence require faculty of diverse backgrounds and interests.
The parties support efforts to assure candidate pools include faculty from historically
underrepresented groups. Faculty committees and University officials shall develop applicant
pools and receive and review applications; and the dean working with the faculty shall make
such appointments as appropriate under established standards, qualifications, and criteria.

       (b)       Recognizing that the appointment of a spouse or domestic partner may be an
important means of attracting and retaining qualified faculty members, the University shall give
consideration to funding for spousal/domestic partner appointments in the bargaining unit. In
such instances, all search committee requirements are waived, save for a requirement that the
departmental faculty shall meet with the candidate and give a recommendation on the
potential hire as stipulated in 12.2(d)(1).

        (c)      No special commitment or conditions offered to new hires shall bind the
University indefinitely. A special commitment or condition will be observed unless it is no
longer financially or logistically feasible or circumstances have changed enough that it is no
longer in the legitimate interests of the University.

12.2  Procedures for Filling Vacancies.
      (a)    Bargaining unit vacancies shall be advertised through appropriate professional
channels.

       (b)      Each candidate interviewed for a job position in the bargaining unit shall be
provided with the URL addresses for the UFBOT-UFF Agreement.

       (c)     Search committees composed of faculty members from the appropriate
department(s) shall be established by the department chair for all tenure-track faculty
appointments and other faculty appointments as may be appropriate or as specified in the
department’s bylaws. No less than three-fourths of the committee’s members shall be faculty
members in the department. A faculty search committee may include all faculty members in
the department.

       (d)     The search committee shall receive applications, screen candidates, and make
recommendations for these appointment vacancies.
             (1)       After the interview process has been completed, faculty members of the
department shall vote by secret ballot to register their recommendations. The faculty search
committee shall recommend to the chair for possible appointment those candidates it deems
acceptable.

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               (2)      In instances in which more than one (1) department is involved in a
search (such as interdisciplinary programs), the department in which tenure would be earned is
responsible for the above, and the department chair shall make appropriate arrangements for
the other department(s) involved to participate in the process. Three-fourths of the committee
members shall be faculty from the departments involved.

       (e)       Department Chair’s Recommendation.
                (1)      Prior to making a recommendation to appoint a candidate for a faculty
position, the chair shall meet with the other faculty members in the department to discuss the
recommendations of the faculty search committee.
                (2)      The chair shall recommend to the dean those candidates the chair
deems acceptable. The chair shall also submit to the dean the faculty search committee’s
recommended candidates, if any, and the vote of the department faculty on the interviewed
candidates.
                (3)      The chair may make a recommendation different from the preferences
of the faculty search committee or those reflected in the vote of the department faculty.

       (f)      Dean’s Decision.
               (1)      The dean may ask the committee to consider additional candidates from
the remaining pool of candidates.
               (2)      After receiving the recommendation(s) of the faculty search committee,
the input from the department faculty, and the chair’s recommendation(s), the dean shall
appoint the candidate that the dean deems is most qualified. The dean may appoint a
candidate that is not recommended by the faculty only after obtaining the Provost’s approval.
When requested, the Provost or provost’s office designee shall explain the decision to the
faculty in a meeting.

12.3 Letter of Appointment. All appointments shall be made on a University Letter of
Appointment and signed by the President or designee and the faculty member. The Letter of
Appointment may include informational addenda reflecting negotiated agreements between
the parties, except that such addenda shall not abridge the faculty member’s rights or benefits
provided in this Agreement. All Letters of Appointment shall contain the following elements:
       (a)       Title.

       (b)      Department, college, or other employment unit.

       (c)      Length of appointment.

       (d)      Percent of full-time equivalent “FTE” assigned.

       (e)      Principal place of employment.

       (f)      Salary rate.


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        (g)      A statement that the position covered by the appointment is (1) tenured (2)
eligible for tenure, or (3) not eligible for tenure.

        (h)      The duties and responsibilities the faculty member may be assigned to perform
in teaching, research, and service, or other assigned responsibilities.

        (i)      Special conditions of employment, including assignments to a second
instructional location, special restrictive covenants of clinical teaching, and any special
commitments from the University that were negotiated.

        (j)      If the appointment is not subject to the notice provisions of Section 13.3(b), the
University shall include the following in the letter of appointment: “Your employment under
this contract will cease on the date indicated. No further notice of cessation of employment is
required.”

12.4      Appointments. Appointments are classified by title, rank, duration, degree of effort,
and tenure status.
        (a)       The academic appointees of the University shall consist of personnel holding
the academic ranks of assistant professor or above, or the equivalent academic ranks in the
instructional, research, or other academic functions, and personnel holding other specialty
faculty titles or ranks. Equivalent faculty ranks may be granted in the librarian, scholar, scientist,
engineer, and curator series.

       (b)       Appointments Classified by Duration of Time.
               (1)      Regular faculty appointments may be academic year (9) month; ten (10)
month; or twelve (12) month.
                       a.       Nine (9)-month (academic year) faculty appointments shall be
for approximately thirty-nine (39) consecutive weeks. The parties agree that there are
exceptions to this normal calendar and agree that the full academic-year salary rate associated
with appointments shall be prorated across the appointment period.
                       b.       No faculty appointment shall be for a term exceeding a twelve
(12)-month period ending June 30 except as noted in (3) below.
               (2)      In the event of an emergency temporary appointment (less than thirty-
nine (39) weeks), the contract or letter of appointment shall so state and notice of non-renewal
is not required.
               (3)      Multi-year appointments are for a fixed term as indicated in the
employment offer and appointment, as referenced in 12.4(g) below.

       (c)     Appointments Classified by Degree of Effort.
              (1)      Full-time - the utilization of effort considered to be the normal or
standard amount required during a given time period, equivalent to 100% or 1.00 FTE.
              (2)      Part-time - the utilization of effort considered less than customary or
standard during a given time period, equivalent to less than 100% or less than 1.00 FTE, or
appointments for less than thirty-nine (39) weeks. Such an appointment involves either working

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less than 100% of the time through an academic or calendar year or working full-time for less
than the full number of terms in the academic year.

        (d)      Faculty with Administrative Assignments. A faculty member appointed to an
administrative role (such as chair) may be reclassified and reassigned to other faculty or
administrative duties at any time during the term of that appointment. If the faculty member is
reclassified and reassigned, the pay rate and appointment period shall be adjusted to reflect
the new responsibilities.

       (e)       Renewal of Appointments.
               (1)       The appointment of tenured or permanent status faculty shall be
renewed annually unless terminated for just cause subject to the limitations set forth in
ARTICLE 27, DISCIPLINARY ACTION AND JOB ABANDONMENT. The terms of the renewal of the
appointment shall be consistent with the appointment in which the faculty member was
granted tenure or permanent status or prior renewal.
               (2)       Renewal of appointments, as well as other personnel decisions, shall be
based on the effectiveness of the faculty member’s performance in the assigned duties as they
related to the areas of teaching, research, and service, and the requirements of the
department.

       (f)       P. K. Yonge Developmental Research School Appointments. The initial annual
contract of a P. K. Yonge faculty member shall include a one (1) year probationary period during
which time the faculty member’s contract may be terminated without cause or the faculty
member may resign without breach of contract.

       (g)        Multi-Year Appointments.
                (1)      A multi-year appointment may be offered for a period of not less than
two (2) and not more than five (5) years.
                (2)      The appointment may be renewed.
                (3)      Faculty members on multi-year appointments cannot be terminated
during the contract period except for just cause, layoff, termination of the funding source in the
case of soft money appointments, or two successive unsatisfactory evaluations. The faculty
member shall be given notice of termination as specified in ARTICLE 13, NON-RENEWAL.
                (4)      Multi-year appointments may be offered only for the following:
                        a.       Non-tenure-earning academic appointments, such as lecturers or
Professors of Practice.
                        b.       Individuals who have retired from universities or other
organizations.
                        c.       Individuals who are appointed with time-limited soft-money
funding.
                (5)      Criteria and Procedures. Department chairs and deans, working with the
faculty, shall develop the criteria and procedures for an initial or successive multi-year
appointment in each department or college.
                        a.       The criteria for an initial or successive appointment shall include

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consideration of the basis for the initial multi-year appointment, annual evaluations of
performance, extent and currency of professional qualifications, contribution to the mission of
the department or program, staffing needs, funding source alternatives, and continuing
program considerations.
                        b.      The faculty member shall be advised in the penultimate year of
the appointment that to be considered for a successive multi-year appointment, the faculty
member must submit a written request to the department chair.
                        c.      Prior to making a recommendation on the request, the chair
shall consult with the faculty members in the department and shall make the faculty’s views
known to the dean.

        (h)     “Job sharing” shall be permitted between two (2) faculty members under the
following conditions:
                (1)      Participation is voluntary;
                (2)      The hours and responsibilities are outlined in writing;
                (3)      The hours and responsibilities provide both faculty members with the
time worked necessary to qualify for salary increases as well as retirement and other benefits;
                (4)      The job sharing is approved by the participating faculty members and
their chair; and
                (5)      The dean or deans supervising the faculty members have granted their
approval for the sharing for a specific period, up to a maximum of one (1) year, at which time
the sharing will be reviewed and approval will be either renewed or denied.

        (i)      Visiting Appointments. Visiting appointments may not exceed three years in
total. No faculty member with a visiting appointment shall be given a regular appointment
without following the search procedures set forth in this Article.

       (j)      Adjunct Appointments.
                       a.     Adjunct instructional appointments are for one (1) academic term
at a time and are ordinarily part-time, non-salaried instructional employees paid on a per
course basis. As such, they are not represented by UFF.
                       b.     The use of adjuncts shall, upon the request of UFF, be a subject of
consultation under the provisions of the CONSULTATION article of this Agreement.

12.5   Change in Appointments.
       (a)       Notification of changes in an appointment shall be given in the same fashion as
the notification of non-renewal provisions of the NON-RENEWAL article of this Agreement.

        (b)      A faculty member may request a change in the length of his/her appointment
period (12, 10, or 9 month appointments). If the requested change is denied, the University
shall provide written notice of the reasons for the denial.
                (1)      Upon approval by the University, and assuming that the assigned
responsibilities remain substantially the same, a faculty member’s base salary shall be adjusted
by 81.8 percent when changing from a twelve (12) month to an academic-year appointment, or

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by 122.2 percent when changing from an academic-year to a twelve (12) month appointment.
               (2)      Upon approval of a change from a twelve (12) month appointment to an
annual-leave-accruing appointment of less than twelve (12) months but more than nine (9)
months, the faculty member’s salary shall be adjusted to a percent of the twelve (12) month
base salary that is mathematically proportionate. Any benefits will be adjusted accordingly.

       (c)      FTE Reduction. The FTE may be altered by written agreement between the
University and the faculty member, provided that
               (1)     The reduction in FTE reflects a corresponding tangible net reduction in
the faculty member’s assigned duties, and
               (2)     Such changes in the appointment are submitted for approval through
the appropriate administrative channels to the Office of Academic Affairs prior to any change.

12.6    The biweekly salary rate of faculty members serving on twelve (12)-month
appointments shall be calculated by dividing the twelve (12)-month salary rate by the actual
number of pay periods in the calendar year.




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                                         ARTICLE 13
                                        NON-RENEWAL

13.1    Policy. Faculty appointment shall not create any right, interest, or expectancy in any
other appointment beyond its specific terms, except as provided in this Agreement.

13.2   Non-renewal and Termination of Faculty Appointments.
       (a)     Tenured or Permanent-Status Faculty. The appointment of tenured or
permanent-status faculty members shall not be terminated except for just cause pursuant to
the procedures in ARTICLE 27, DISCIPLINARY ACTION AND JOB ABANDONMENT, or a layoff
pursuant to ARTICLE 30, LAYOFF AND RECALL.

        (b)    Tenure-accruing Faculty. The appointment of a tenure-accruing faculty member
shall be renewed annually until the end of the tenure probationary period unless:
              (1)      The faculty member’s department or equivalent unit is abolished, or the
faculty member’s department experiences a reallocation of resources or reorganization of
program offerings or functions that would justify the non-renewal; or
              (2)      The faculty member receives an overall “unsatisfactory” evaluation on
the annual performance evaluation.

       (c)      Non-permanent-status, Non-tenure-accruing, Faculty. The University may
choose not to renew the employment of a faculty member who does not have tenure or
permanent status and is not on a tenure-accruing appointment. In the case of such non-
renewal, the faculty member will be given a reason for the decision and an opportunity to
appeal to the dean or equivalent.

13.3      Notice of Ending of Employment of Non-Tenured and Non-Permanent Status Faculty
Members.
        (a)      Notice Only in the Employment Contract or Letter of Appointment.
                (1)      Faculty members on “soft money,” e.g., contracts and grants, sponsored
research funds, and grants and donations trust funds with less than five (5) years of continuous
service, faculty members who are on visiting appointments, faculty members who are
appointed for less than one (1) year, or faculty members on multi-year appointments as defined
in the APPOINTMENT article shall have the following statement included in their letter of
appointment: “Your employment under this contract will cease on the date indicated. No
further notice of cessation of employment is required.”
                (2)      If such statement is not included in the letter of appointment, then the
faculty member whose appointment is not being renewed shall be provided ninety (90) days
written notice.

       (b)      Except for faculty members described in subsection 13.3(a)(1) above, any non-
tenured faculty member who is not being offered a further appointment shall receive written
notice according to the following terms:
               (1)     One (1) semester for those in their first two (2) years of continuous

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University service.
                (2)     Twelve (12) months for those with more than two (2) years of service.
                (3)     Twelve (12) months for faculty members who are on “soft money” (e.g.,
contracts and grants, sponsored research funds, and grants and donations trust funds) who
have five (5) or more years of continuous university service.

       (c)       The notice of non-renewal shall include the following:
                (1)      A statement that the University is not renewing the employment
                contract;
                (2)      A reference to the meeting held to advise the faculty member of non-
                reappointment;
                (3)      The last date of employment with the University;
                (4)      A statement that the faculty member may contest the decision, in
accordance with ARTICLE 28, GRIEVANCE PROCEDURE AND ARBITRATION, because of an
alleged violation of a specific term or provision of the Agreement or because of an alleged
violation of the faculty member’s constitutional rights.
                (5)       A copy of ARTICLE 28.

       (d)      All such notices and statements shall be sent by certified mail, return receipt
requested, or delivered in person to the faculty member with written documentation of receipt
obtained.

       (e)       A faculty member who receives a Notice of Non-Renewal has twenty (20) days
to request in writing a statement of the basis for the decision not to renew the appointment.
The University shall provide such written statement within twenty (20) days following receipt of
the request. All such notices and statements shall be sent by certified mail, return receipt
requested, or delivered in person to the faculty member with written documentation of receipt
obtained.

       (f)       If the University does not comply with providing proper notice, as required in
subsections 13.3(b) - 13.3(e), above, the faculty member’s non-renewal notice period will not
begin until the corrected notice is provided.

       (g)      Reassignment.
               (1)     Following the delivery of the notice of non-renewal, the University may
reassign such faculty member to other university duties after consultation with the faculty
member and the departments or other units affected.
               (2)     Such reassignment does not release the University from its contractual
commitment to compensate the faculty member for the period prior to the effective date of
non-renewal.

13.4   Grievability.
       (a)      A faculty member who receives written notice of non-renewal may, according
to ARTICLE 28, GRIEVANCE PROCEDURE AND ARBITRATION, contest the decision because of an

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alleged violation of a specific term or provision of the Agreement or because of an alleged
violation of the faculty member’s constitutional rights.

       (b)     Such grievances must be filed within forty-five (45) days of receipt of the notice
of non-renewal or the statement of the basis for the decision.

13.5     Re-employment Considerations. If the decision not to renew the appointment was
based primarily upon adverse financial circumstances, reallocation of resources, reorganization
of degree or curriculum offerings or requirements, reorganization of academic or administrative
structures, programs, or functions, or curtailment or abolition of one (1) or more programs or
functions, the University shall take the following actions:
       (a)      Make a reasonable effort to locate appropriate alternative or equivalent
employment within the University; and

         (b)      Offer such faculty member, who is not otherwise employed in an equivalent
full- time position, re-employment in the same or similar position at the University for a period
of two (2) years following the initial notice of non-renewal, should an opportunity for such re-
employment arise.
                (1)      It shall be the faculty member’s responsibility to keep the University
advised of the faculty member’s current address.
                (2)      Any offer of re-employment pursuant to this section must be accepted
within fifteen (15) days after the date of the offer, such acceptance to take effect not later than
the beginning of the semester immediately following the date the offer was made. In the event
such offer of re-employment is not accepted, the employee shall receive no further
consideration pursuant to this Article.

13.6   Resignation.
       (a)     Upon resignation, all consideration for tenure and renewal shall cease.

       (b)     A faculty member who wishes to resign has the professional obligation to
provide the University with at least one (1) semester’s notice.

       (c)       Upon notice of non-renewal any consideration of promotion shall end; in
addition, those in non-renewal status may not receive any professional development leaves and
other professional development opportunities.

13.7   Notice Document. Notice of appointment and non-renewal shall not be contained in
the same document, except in the circumstances explicitly provided in Section 13.3(a)(1),
above.




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                                       ARTICLE 14
                              ASSIGNMENT OF RESPONSIBILITIES

14.1   Policy.
       (a)      The assignment of responsibilities to faculty members is one of the mechanisms
by which the University establishes its priorities, carries out its mission, and creates
opportunities to increase the quality and integrity of its academic programs and enhance its
reputation and stature as a major research university.

         (b)      The professional obligation of faculty members (teaching, scholarship/creative
activities, service, or other duties assigned for that year) is comprised of both scheduled and
non-scheduled activities.

       (c)       The University and UFF recognize that it is a part of the professional
responsibility of faculty members to carry out their duties in an appropriate manner and place.
For example, while instructional activities, office hours, and other duties and responsibilities
may be required to be performed at a specific time and place, non-scheduled activities are
more appropriately performed in a manner and place determined by the faculty member.

       (d)      The University shall make a reasonable and good faith effort, consistent with
the other provisions of this Agreement, to provide faculty members with the necessary facilities
and resources for carrying out their assigned duties and responsibilities.

       (e)     A written commitment made by the University to a faculty member regarding
the faculty member’s assignments or matters associated with the assignments shall be subject
to enforcement under ARTICLE 28, GRIEVANCE PROCEDURE AND ARBITRATION.

14.2    Considerations in Assignment.
        (a)     The University and UFF recognize that while the Legislature has described the
minimum full academic assignment in terms of twelve (12) contact hours of instruction or
equivalent research/scholarship and service, the professional obligation undertaken by a
faculty member will ordinarily be broader than that minimum.

        (b)    Subject to the provisions of this Agreement, the University has the right to
determine the types of duties and responsibilities that comprise the professional obligation and
to determine the relative proportion of effort a faculty member may be required to expend on
the various components.

       (c)      Faculty on twelve (12)-month appointments, who accrue vacation leave, shall
be provided reasonable opportunity to utilize their vacation during the course of the year.
Individual and department needs will be taken into consideration when approving the leave.

       (d)     The chair shall provide the faculty member with the opportunity to consult
about the course schedule.

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        (e)      The chair shall inform the faculty member of the impact of any contemplated
change in the faculty member’s assigned allocations for teaching, research/scholarship/creative
activity, and service. The chair shall offer the faculty member the opportunity to discuss any
such contemplated change.

       (f)      In making assignments, the University shall consider:
               (1)     The needs of the program or department;
               (2)     The faculty member’s preferences, qualifications and experiences, and
professional development interests.

14.3   Assignments.
       (a)     Communication of Assignment.
              (1)      A tentative assignment of responsibilities shall be provided no later than
May 1. New faculty members shall be informed of assigned duties as soon as it can be done.
              (2)      If it can be done, the faculty member shall be notified of the final
assignment in writing no later than six (6) weeks in advance of the starting date of each term.

       (b)      Change in Assignment.
               (1)      If it should become necessary to make changes in a faculty member’s
assignment, the person responsible for making the change shall notify the faculty member as
soon as practicable prior to making such change and shall specify the change in writing.
               (2)      If a change in assignment results in needing to move University supplies
or equipment, the University shall provide assistance in such a move and shall notify the faculty
member of the time of the move at least one (1) month in advance.
               (3)      The University shall make a good faith effort not to change a faculty
member’s teaching assignment less than four (4) weeks prior to the first class session.
               (4)      If a faculty member has been assigned or reassigned a course fewer
than four (4) weeks prior to the first class session, such circumstances shall be taken into
consideration when reviewing student evaluations of the course.

14.4     Equitable Opportunity. Each faculty member shall be given assignments that provide
equitable opportunities, in relation to other faculty members in the same department, to meet
required criteria for promotion, tenure, and merit salary increases.
       (a)       For the purpose of applying this principle to promotion, assignments shall be
considered over the entire period since the original appointment or since the last promotion if
the faculty member has been promoted, not solely over the period of a single annual
assignment.

        (b)      For the purpose of applying this principle to tenure, assignments shall be
considered over the entire probationary period. If an arbitrator determines that a faculty
member was not provided an equitable opportunity as described in this section, the arbitrator
may award an additional period of employment (not to exceed one [1] year) for the purpose of
rectifying the inequity requiring the University to provide the equitable opportunity as

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described herein.

       (c)     If it is determined that a faculty member has not received assignments that
provide equitable opportunities described above, then the faculty member must receive a
timely appropriate adjustment in the assignment that corrects the inequity.

14.5   Resolution of Assignment Disputes.
       (a)      A faculty member shall, upon written request, be granted a conference with the
person responsible for making the assignment to express concerns. If the conference does not
resolve the faculty member’s concerns, the faculty member shall be granted, upon written
request, an opportunity to discuss those concerns with the dean. The faculty member shall
perform the assignment until final resolution of the matter as prescribed in this Agreement.

       (b)      No faculty member’s assignment shall be arbitrary or unreasonable.

        (c)     Assignments shall be deemed arbitrary or unreasonable if one or more of the
following applies:
               (1)       The assignment was made without providing the faculty member the
opportunity to consult about the assignment.
               (2)       After consulting with the faculty member, the University did not make a
fair and reasonable attempt to accommodate the faculty member’s circumstances. In this
regard, the parties recognize the following:
                        a.       Assignments are driven primarily by the program and curricular
needs of the students in the programs in the department. The preferences and desires of the
faculty members are secondary to these program and curricular needs.
                        b.       Not all circumstances can be accommodated, and that inability
to accommodate does not in and of itself represent an arbitrary or unreasonable assignment.
               (3)       The time between the beginning of the first assignment and the end of
the last assignment in any one (1) day exceeds eight (8) hours, unless the faculty member has
agreed to such an arrangement or there is no practicable alternative.
               (4)       The time between the end of the last assignment on one (1) day and the
beginning of the first assignment for the next day is less than twelve (12) hours, unless the
faculty member has agreed to such an arrangement or there is no practicable alternative.

      (d)     Assignments are subject to the provisions of the GRIEVANCE PROCEDURE AND
ARBITRATION article.

        (e)     If the dean denies a faculty member’s request for re-assignment, the University
shall provide the reason in writing to the faculty member, with a copy to UFF.

14.6  Place of Employment.
      (a)      Principal. Each faculty member shall be assigned one (1) principal place of
employment, as stated on the University Letter of Appointment.
             (1)      Where possible, a faculty member shall be given at least nine (9) months

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notice of a change in principal place of employment.
               (2)      The faculty member shall be granted, upon written request, a
conference with the person responsible for making the change to express concerns regarding
such change.
               (3)      Voluntary changes and available new positions within the department
shall be considered prior to involuntary changes.

(b)     Secondary.
                (1)     Each faculty member, where possible, shall be given at least ninety (90)
days written notice of assignment to a secondary place of employment more than fifteen (15)
miles from the faculty member’s principal place of employment.
                (2)     The faculty member shall be granted, upon written request, a
conference with the person responsible for making the change to express concerns regarding
such a change.
                (3)     If the assignment to a secondary place of employment is made, the
supervisor shall make an appropriate adjustment in the assignment in recognition of time spent
traveling to a secondary place of employment.
                (4)     Necessary travel expenses, including overnight lodging and meals, for all
assignments not at the faculty member’s principal place of employment shall be paid at the
State rate.

14.7    Schedule of Assigned Duties.
        (a)      Supervisors are encouraged to make appropriate adjustments in the number of
hours scheduled in recognition of evening, night, and weekend assignments, and for periods
when a faculty member is on call. Evenings, nights, and weekends when a faculty member is on
call shall be considered in making other assignments.

       (b)     Except for P. K. Yonge, the academic year shall consist of a Fall and Spring
semester of approximately 19.5 weeks each. Activities in each semester shall be scheduled
during contiguous weeks with the exception of Spring Break.

14.8    Overload Assignments.
        (a)     An overload assignment is defined as the assignment of any duties in excess of
a faculty member’s full-time appointment (1.0 FTE).

        (b)     No faculty member shall be required to accept an overload assignment.

        (c)   As compensation for an overload assignment, the University shall offer the
faculty member either
             (1)      financial compensation; or
             (2)      reduction in teaching assignment in a mutually agreeable following
academic semester or year.

        (d)     Monetary compensation for overload assignments shall not qualify for

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retirement compensation or credit.

14.9      The appropriate academic department and college may submit a request to the Office
of the Provost for a change to full-time tenure for any faculty member who was granted tenure
at less than 1.00 FTE.

14.10 A tenured or tenure-accruing faculty member may be transferred as a result of a
reorganization or program curtailment within the University. No department or unit of the
University is obliged to accept the transfer of a faculty member from another unit. The
acceptance of a transferring faculty member is conditioned upon an affirmative vote of the
tenured faculty members of the receiving academic department or unit. A report of the transfer
shall be submitted through the appropriate administrative channels to the Office of the Provost
for approval. If the transfer is approved, the faculty member’s tenure or tenure eligibility shall
be transferred to the new department.

14.11 P. K. Yonge Assignments
        (a)       P. K. Yonge has a special mission and that mission is reflected in the annual
academic year assignments. The developmental research school designation and the setting
within the College of Education at the University provide unique opportunities and special
responsibilities for P. K. Yonge faculty. P. K. Yonge faculty are expected to participate in
teaching, research, outreach, and dissemination activities as part of their assignment.

         (b)       Academic Year Appointments. The academic year appointment period for P. K.
Yonge faculty members is a 10-month appointment consisting of a Fall and Spring semester.
Included in this appointment period are required planning days prior to the start of school in
the fall, four (4) teacher work days during the school years, and one (1) post-planning day.

       (c)     The University shall submit the proposed calendar to the faculty for its
consideration before the end of the academic year, and such scheduling shall be subject to
consultation under ARTICLE 6 of this Agreement.

        (d)      Work Day for P. K. Yonge Faculty. The work day for P. K. Yonge faculty members
shall be seven and one-half (7.5) continuous hours. The University and UFF recognize that a
faculty member’s professional responsibilities and obligations may on occasion necessitate the
faculty member’s working beyond the work day. The University will provide two (2) additional
paid hours for research per week and the faculty member is responsible for determining how to
spend that research time within or outside of the work day. A work day may include instruction,
research and planning time.
                (1)      The starting and ending times for work days shall be determined by the
principal after discussion with the faculty. The principal’s final decision shall be announced by
August 1 of each year.
                (2)      The normal student contact time for a secondary school faculty member
shall be the equivalent of twenty-five (25) fifty (50)-minute periods during the week. The
normal student contact time for an elementary school faculty member shall be the equivalent

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of one thousand, five hundred, and fifteen (1,515) minutes per week. General education
classroom teachers shall not be required to supervise students before the instructional school
day and for no more than fifteen (15) minutes after student dismissal.
                (3)     Each faculty member shall be provided a thirty (30)-minute lunch period
without duties. Faculty members teaching in the elementary grades may be expected to escort
their students to the serving line.
                (4)     One teacher workday and two early release Wednesday afternoons will
be designated for Elementary Fall Family Conferences.
                (5)     Faculty members shall not be required to eat breakfast or lunch with
their students.
                (6)     Faculty members shall be permitted to leave school at the end of the
student day on school days immediately preceding the weekend, a holiday, or student vacation
day as long as students are not left unsupervised. The principal shall make appropriate
arrangements to ensure that faculty members who are needed to supervise students on these
days are given comparable release time on other days.
                (7)     Faculty members shall be provided additional time within the work day
during the last three (3) days of student attendance at the conclusion of the school year, in
order to allow adequate time for completing records and paper work.
(8)     Additional Considerations.
                       a.        No faculty member shall be asked to teach more than one (1)
academic subject during a class period.
                       b.        Faculty members teaching in middle school or high school shall
not be required to teach more than three (3) separate, unrelated academic classroom subjects.

14.12 Scheduled Meetings and Planning Time for P. K. Yonge Faculty.
        (a)      There will be a required seven (7)-day planning program before the start of
classes in the Fall semester. Two (2) of those seven (7) days are designated for full-day,
organized professional learning and school improvement activities.
                (1)      For the five (5)-day pre-planning program, required meetings and in-
service training shall not exceed a total of ten-and-a-half (10.5) hours for the planning program.
                (2)      Highest priority shall be given to individual and team/department
preparation time.

        (b) Faculty Meetings, and Planning/Conference Days During Academic Year.
                (1)      Faculty meetings shall be held during the work day. Faculty members
present at the meeting may vote to extend the meeting beyond the work day.
                (2)      Faculty Planning/Conference Days. Faculty planning days are designed
to permit additional planning, preparation, parent conferences, professional learning, exchange
of ideas, appraisal conferences, and other school-related business.
                        a.      Faculty planning days shall be six (6) hours in length, exclusive of
lunch. If lunch is an administratively scheduled activity, it is subsumed within the six (6) hours.
Scheduling and duration of lunch periods shall be determined after consultation with the
faculty.
                        b.      The principal shall provide faculty members with no less than

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five (5) days notice of any required activity that will occur on a planning day.

        (c)      Personal Planning time. During the regular school year, faculty members shall
be provided an average of three hundred (300) minutes per week for planning. If the planning
time is noncontiguous, it shall be scheduled in time blocks of no less than forty-five (45)
minutes.
               (1)       The University may designate a portion of such time for administrative
uses such as required professional learning or a faculty meeting. Notice of such use of planning
time shall be given at least five (5) days in advance.
               (2)       A portion of the time may be set aside for team planning, with members
of the team determining how much will be team planning.
               (3)       Additional planning time shall be scheduled for faculty members
assigned to teach three or more un-related academic classroom assignments.

        (d)     Changes in teaching assignments for P. K. Yonge faculty members often involve
significant changes in the courses or grade levels taught and the classrooms in which teaching
takes place. An appropriately certified faculty member who volunteers shall be considered for
such changes.

14.13 Equipment for P. K. Yonge Faculty. No faculty member shall be required to purchase
supplies, textbooks, materials, or equipment from personal funds. The principal or designee
shall discuss supply and material needs with each faculty member and shall secure for the
faculty member’s classroom use reasonable supplies and materials.




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                                         ARTICLE 15
                             OFFICE SPACE AND SAFE CONDITIONS

15.1     Office Space.
         (a)      To the extent possible, The University shall provide each faculty member with
office space and office equipment commensurate with assigned responsibilities. Such
equipment shall normally include a telephone, a computer, and an internet connection.
                 (1)      Each tenured or tenure-accruing full-time faculty member shall be
provided with an enclosed individual office that has a door lock, except in a circumstance where
to do so would not be reasonably possible.
                 (2)      Non-tenure-accruing faculty members and part-time faculty members in
a department or equivalent unit may be provided office space on a shared basis if it is not
possible to provide individual offices, or if such faculty volunteer to share office space.
                 (3)      Full-time faculty members who provide confidential counseling services
with the title psychologists, psychiatrists, student counseling specialists or other mental health
clinical faculty shall be provided with an enclosed individual lockable office, except in a
circumstance where to do so would not be reasonably possible.

        (b)     Each faculty member shall, consistent with building security, have reasonable
access to the faculty member’s office space and laboratories, studios, music rooms, and the like
used in connection with assigned responsibilities. This provision may require that campus
security provide access on an individual basis.

        (c)      Change in Office Space. A faculty member shall be notified, if practicable, at
least one (1) month prior to a change in the faculty member’s office location or a planned
alteration to a faculty member’s office that impedes the faculty member’s work effectiveness.
The faculty member shall be provided the reason(s) necessitating the change or alteration. The
University shall provide assistance in moving University supplies and equipment.

15.2     Safe Conditions. Whenever a faculty member reports a condition that the faculty
member feels represents a potential violation of safety or health rules and regulations, the
appropriate administrator shall investigate such conditions. Upon conclusion of the
investigation, the appropriate administrator shall inform the faculty member of what action is
being taken, if action is necessary. No faculty member shall suffer an adverse employment
action for making a report under this section.




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                                           ARTICLE 16
                                            TRAVEL

16.1  Professional Meetings.
       (a)       Faculty members may attend professional meetings, conferences, and other
professional activities, with the approval of the chair or supervisor of the department or
equivalent unit whether or not they receive University funding to attend. Approval to attend
such activities shall not be unreasonably denied.

        (b)      Faculty members must initiate a Travel Authorization Request (TAR) and receive
their chair’s approval prior to any business-related travel.

        (c)      Allocations of travel funds to department faculty members shall be determined
by the chair in accordance with posted written policies jointly developed and agreed to by the
chair and department faculty (by a majority vote).

16.2     Reimbursement. The reimbursement rate for expenses in connection with meetings,
conferences, or other professional activities shall as specified by Florida law, up to the amount
of funding available under department policies.

16.3    Travel Advances. To the extent permitted by law, the University shall provide travel
advances, upon request, of up to eighty (80) percent of budgeted expenses for authorized
travel.




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                                     ARTICLE 17
                        SUMMER APPOINTMENTS AND ASSIGNMENTS

17.1  Policy.
      (a)      Summer appointments are separate and distinct from the nine (9)-month
academic year appointment.

       (b)      The summer course schedule shall be developed in light of faculty expertise,
student demand, and program and curricular needs of the department, college, and University.
The chair or designee who schedules summer courses shall consult with faculty members about
which courses they are available to teach.

       (c)      Summer appointments shall be offered not later than five (5) weeks prior to the
beginning of the appointment, if practicable. No nine (9)-month faculty member shall be
required to accept a summer appointment.

      (d)      The offering of summer appointments to faculty members, including the
determination of which faculty members are qualified to teach any particular course, shall be
made by the chair.

17.2     Summer Appointments.
         (a)      The summer instructional appointment includes the normal activities related to
the course, such as appropriate course/instructional preparation, lecturing, supervision,
grading, and appropriate availability for consultations and conferences with students in the
course. The summer instructional appointment does not include other credit-generating
activities (such as thesis or dissertation supervision, directed individual studies, supervised
teaching or research/scholarship/creative activities, or supervision of student interns).

       (b)    Changes in Appointment. When a course is cancelled, the University may offer
a new appointment to a faculty member.

17.3    Compensation.
        (a)     A faculty member’s summer employment contract shall specify the total
compensation provided for the appointment.
               (1)      For each three-credit-hour course appointment during the summer, a
faculty member shall receive 12.50% of the faculty member’s academic year rate of pay.
               (2)      For each four-credit-hour course appointment during the summer, a
faculty member shall receive 16.66% of the faculty member’s academic year rate of pay.
               (3)      Compensation for courses that are other than three (3) or four (4) credit
hours shall be prorated accordingly.
               (4)      Units may elect rates of pay that exceed the above.

       (b)      Other credit-generating activities such as thesis or dissertation supervision,
directed individual studies, supervised teaching or research, or supervision of student interns,

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as well as research or service activities, may be assigned by the University during the summer
term. However, no faculty member shall be required to undertake such assigned other credit-
generating activities, or assigned research or service activities, without compensation for that
specific activity in addition to the compensation provided for the faculty member’s summer
instructional appointment.

       (c)      Compensation for summer pay includes retirement compensation.

       (d)      Any individual directed study courses, supervision of graduate students,
student teacher supervision and off-book courses shall be exempt from the rates above.
Appropriate stipends may be included. These stipends will be reported to UFF-UF as part of the
annual salary report.

        (e)     Payments for low enrollment courses, off-book programs, UF OnLine, and
studio courses shall be determined by each college, upon recommendation of the appropriate
faculty committee and the College.

       (f)       Nine (9)- or ten (10)-month faculty members who, for three (3) or more
consecutive years, derive more than thirty percent (30%) of their income from summer
teaching or employment within their department may apply to convert their position into a
twelve (12)-month appointment. This provision does not apply to PKY faculty members. Such
application is subject to the University’s approval.

17.4     P. K. Yonge. Faculty members with a summer instructional appointment will be paid at
their salaried hourly rate and shall include two (2) days of the pre-summer course planning and
one (1) hour of planning time per instructional day.




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                                 ARTICLE 18
          FACULTY MEMBER PERFORMANCE EVALUATIONS AND EVALUATION FILE

18.1     Performance evaluations are intended to communicate to a faculty member a
qualitative assessment of performance of assigned duties by providing written feedback. Each
faculty member’s performance shall be evaluated annually. Faculty shall be evaluated according
to the approved standards and procedures, provided that those standards and procedures were
in place prior to the beginning of the evaluation period. Exempt from such evaluations are
those whose employment is ending before the next annual evaluation.

18.2     Sources of Evaluation.
         (a)       Faculty Annual Report. Every year, each faculty member shall submit to the
chair a report of the faculty member’s activities in teaching, research/scholarship/creative
activities, service, and other University duties.
                 (1)      The University shall specify the required format and minimum content
of the faculty annual report, consistent with the provisions of Sections 18.5 through 18.7.
                 (2)      The annual report shall include any interpretive comments and/or
supporting data that the faculty member deems appropriate in evaluating the faculty member’s
performance.

        (b)      The person responsible for completing the annual evaluation shall also consider
appropriate information from the following sources: immediate supervisor, peers, students,
faculty member/self, other university officials who have responsibility for supervision of the
faculty member, and individuals to whom the faculty member may be responsible in the course
of a service assignment. Any materials used in the evaluation process submitted by persons
other than the faculty member shall be shown to the faculty member, who may attach a
written response.

       (c)     University Required Student Evaluations. The tabulated results and written
comments of student evaluations of classroom instruction shall be available to the faculty
member no later than thirty (30) days following the end of classes in the semester in which the
evaluation occurred.

18.3    Observation/Visitation. The University may conduct classroom observation or visitation
in connection with the faculty member’s evaluation.
       (a)      The chair shall notify a faculty member at least fifteen (15) days in advance of
the date and time of any direct classroom observation(s) or visitation(s). If the faculty member
determines that this date is not appropriate because of the nature of the class activities
scheduled for that day, the faculty member may suggest a more appropriate date or dates.

       (b)       Notwithstanding the above, if the chair has received a complaint or other
information that gives rise to immediate concerns about the conduct of the class, the chair may
observe or visit the class at any time without notice to the faculty member.


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        (c)     A written report of the observation/visitation shall be submitted to the faculty
member within two (2) weeks of the observation/visitation. The faculty member shall be
offered the opportunity to discuss the report with the evaluator prior to its being finalized and
placed in the employee’s evaluation file and may submit a written reply, which shall be
attached to the report. If the course involved was assigned to the faculty member with less
than six (6) weeks’ notice, the report shall include this information.

        (d)      Peer Assessment. A faculty member has the right to have a peer or colleague to
observe/visit the faculty member’s teaching and to have an assessment of that
observation/visitation included as part of the faculty member’s annual report. The chair shall
invite the peer evaluator, who may be within the University, a retired colleague, or a colleague
in the same discipline from another university.

18.4     Evaluation Rating Categories. Each faculty member’s performance of assigned duties
shall be evaluated according to rating categories defined by the chair and the faculty of the
department. This definition shall identify for each assignment area some representative
examples of the achievements or performance characteristics that would earn each
performance evaluation rating, consistent with a faculty member’s assigned duties.

18.5     University Criteria for Annual Performance Evaluations. The annual performance
evaluations shall be based upon assigned duties and shall consider the nature of the
assignments and quality of the performance in terms, where applicable, of:
        (a)        Teaching effectiveness, including effectiveness in presenting knowledge,
information, and ideas by means or methods such as lecture, discussion, assignment and
recitation, demonstration, laboratory exercise, practical experience, student evaluations,
assessment of and engagement with student work, supervision of graduate students, and direct
consultation with students. The evaluation shall include consideration of:
                 (1)      Effectiveness in presenting knowledge and skills, and effectiveness in
stimulating students’ critical thinking and/or creative abilities, the development or revision of
curriculum and course structure, and adherence to accepted standards of professional behavior
in meeting responsibilities to students.
                 (2)      Other assigned university teaching-related duties.
                 (3)      Any relevant materials submitted by the faculty member such as class
notes, syllabi, student exams and assignments, a faculty member’s teaching portfolio, results of
peer evaluations of teaching, and any other materials relevant to the faculty member’s
instructional assignment.
                 (4)      All information available in forming an assessment of teaching
effectiveness.

       (b)        Contribution to the discovery of new knowledge, development of new
educational techniques, and other forms of research/scholarship/creative activity.
               (1)       Evidence of research/scholarship/ creative activity, either print or
electronic, shall include, but not be limited to, published books; chapters in books; articles and
papers in professional journals; musical compositions, paintings, sculpture; works of performing

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art; papers presented at meetings of professional societies; reviews, and research and creative
activity that has not yet resulted in publication, display, or performance.
                (2)      The evaluation shall include consideration of the quality and quantity of
the faculty member’s research/scholarship and other creative programs and contributions
during the evaluation period, and recognition by the academic or professional community of
what has been accomplished.

        (c)      Service within the university and public service that extends professional or
discipline-related contributions to the community; the State, including public schools; and the
national and international community. Such service includes contributions to scholarly and
professional conferences and organizations and unpaid positions on governmental boards,
agencies, and commissions that are beneficial to such groups and individuals.

        (d)    Participation in the governance processes of the institution through significant
service on committees, councils, and senates, and the faculty member’s contributions to the
governance of the institution through participation in regular departmental or college
meetings.

      (e)     Service for UFF may require a significant commitment of time and shall be
acknowledged in the annual evaluation.

        (f)     Other assigned university duties, such as advising, counseling, supervision of
interns, and academic administration, or as described in a position description.

18.6      Department Clarifications of University Criteria for Annual Performance Evaluations.
The chair and the faculty in each department/unit shall develop and maintain written
clarifications of the University criteria for annual performance evaluations, in terms tailored to
the department’s discipline(s), faculty positions (i.e., tenured or tenure-earning, non-tenure-
earning, library faculty), and assigned duties. Such discipline-specific written clarifications shall
be approved according to the provisions of ARTICLE 9, BYLAWS GOVERNING TERMS AND
CONDITIONS OF EMPLOYMENT.
         (a)      These discipline-specific clarifications shall
                (1)       Take into consideration the department’s mission and the reasonable
expectations for the different ranks;
                (2)       Be adaptable to various assigned duties, so that department faculty
have an equitable opportunity to earn merit increases, regardless of their assignments; and
                (3)       Be detailed enough that a reasonable faculty member should not be
uncertain or confused about what performance or accomplishment is sufficient in teaching,
research/scholarship/creative activity, and service to earn each performance evaluation rating.
The clarifications shall identify for each assignment area some representative examples of the
achievements or performance characteristics that would earn each performance evaluation
rating.

       (b)       With respect to research/scholarship/creative activity, each department/unit

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shall develop discipline-specific clarifications that are consistent with the University’s publicly
articulated mission. These discipline-specific clarifications must also address how the
department values various research/scholarship/creative activities and the outlets in which
candidates might be reasonably expected to publish, exhibit, or perform.

       (c)      The departmental clarifications for the annual evaluation rating categories shall
assume that the period over which a faculty member’s performance is evaluated is the
preceding year. However, the department chair and faculty member may agree to an
evaluation period for research/scholarship/creative activity of up to three (3) years.

      (d)      The discipline-specific clarifications must be consistent with the criteria and
procedures described in Sections 18.2 through 18.5.

       (e)       The procedures, criteria, and clarifications described in Sections 18.2 through
18.6 shall be the sole basis for the annual faculty performance evaluation.

18.7     Annual Evaluation Process. The annual evaluation assesses an employee’s performance
of assigned duties consistent with the criteria specified in Section 18.5 and in departmental by-
laws.
        (a)     The annual evaluation shall be conducted in the Spring semester, and shall
include evaluation of assigned duties for the Fall and Spring semesters of the current academic
year and the preceding Summer terms, if the faculty member had an appointment in a summer
term.

      (b)       The chair shall provide to his/her department faculty the form or format for
submission of a faculty member’s annual report no later than January 15.

       (c)       Each faculty member shall submit to the chair the faculty member’s annual
report no later than April 15.

       (d)      Faculty committees or other individuals submitting evaluative data that may be
relevant to the annual evaluation shall report to the chair no later than May 15.

       (e)      The chair’s evaluation shall identify any major performance deficiencies and, if
any such deficiency has been identified, shall provide the faculty member with written feedback
designed to assist the faculty member in improving his/her performance.

       (f)      No later than July 15 the chair shall provide to the faculty member the written
annual evaluation, and shall attach to the annual evaluation a copy of the faculty member’s
annual report. A faculty member may grieve an annual evaluation under the auspices of
ARTICLE 28 any time after the date of presentation but no later than August 31.
               (1)      The faculty member shall be offered the opportunity to discuss the
evaluation with the evaluator prior to its being finalized.
               (2)      The evaluation shall be signed and dated by the person performing the

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evaluation and by the faculty member being evaluated, who may attach a concise comment to
the evaluation.

       (g)     The above deadlines do not apply to P.K. Yonge. P.K. Yonge deadlines shall be in
accordance with state schedules for such.

        (h)     Nothing prohibits the chair from modifying the annual evaluation based on a
faculty member’s written response to the evaluation. A copy of the revised evaluation shall be
provided to the faculty member. The faculty member may append a response to the final
evaluation.

18.8     Sustained Performance Evaluations. Tenured faculty members shall receive a sustained
performance evaluation once every seven (7) years following the award of tenure or their most
recent promotion. The purpose of this process is to evaluate sustained performance during the
previous six (6) years of assigned duties. A faculty member who has received satisfactory annual
evaluations during four (4) or more of the previous six (6) years, including one (1) or more of
the previous two (2) years, shall be rated satisfactory in the sustained performance evaluation.
       (a)       Only tenured faculty and the chair may participate in the development of
applicable procedures. Sustained performance evaluation procedures shall ensure involvement
of peers at the department level.

        (b)     The procedures for the sustained performance evaluation shall be made
available to department faculty and included in the department’s bylaws.

       (c)       The documents contained in the faculty member’s evaluation file shall be the
sole basis for the sustained performance evaluation.

       (d)      A faculty member may attach a concise response to the evaluation.

       (e)       A performance improvement plan resulting from a Sustained Performance
Evaluation shall be developed only for those faculty members whose performance is identified
through the sustained performance evaluation as being consistently unsatisfactory in one (1) or
more areas of assigned duties.

        (f)      The faculty member and their chair shall work in concert to set expectations
and develop strategies for the performance improvement plan. The plan shall include specific
performance targets and a reasonable time period for achieving the targets. If the faculty
member and the chair are unable to reach agreement on a plan, the dean shall resolve the
issues in dispute.
               (1)      With approval of the Dean, the University shall provide specific
resources identified in an approved performance improvement plan.
               (2)      The chair shall meet periodically with the faculty member to review
progress toward meeting the performance targets.
               (3)      It is the responsibility of the faculty member to attain the performance

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targets specified in the performance improvement plan. If the plan identifies specific deadlines
for attaining performance targets and the faculty member fails to attain the targets by the
deadlines, the department/unit has the responsibility to take appropriate actions.

18.9    Proficiency in Spoken English.
        (a)      A chair, who as part of the annual evaluation, or upon receipt of a complaint,
identifies a faculty member to be potentially deficient in English oral language skills, may
require the faculty member to take an English language proficiency test.

      (b)      Faculty may continue to be involved in classroom instruction up to one (1)
semester while enrolled in appropriate English language instruction.

        (c)     Faculty who score below a minimum score specified by the University shall be
assigned appropriate non-classroom duties for the period of oral English language instruction
provided by the University. When such faculty member is eligible to return to classroom
instructional duties the faculty member shall not be disadvantaged by the fact of having been
determined to be deficient in oral English language skills.

        (d)      It is the responsibility of each faculty member who is found, as part of the
annual evaluation, to be deficient in oral English language skills, to take appropriate actions to
correct these deficiencies. To assist the faculty member in this endeavor, the University shall
provide appropriate oral English language instruction without cost to such faculty members for
a period consistent with their length of appointment and not to exceed two (2) consecutive
semesters. The time the faculty member spends in such instruction shall not be considered part
of the individual assignment or time worked, nor shall the faculty member be disadvantaged by
the fact of participation in such instruction.

       (e)      If the University determines, as part of the annual evaluation, that one (1) or
more administrations of a test to determine proficiency in oral English language skills is
necessary, the university shall pay the expenses for up to two (2) administrations of the test.
The faculty member shall pay for additional testing that may be necessary.

18.10 Employee Assistance Program. Neither the fact of a faculty member’s participation in
an employee assistance program nor information generated by participation in the program,
shall be used as evidence of a performance deficiency within the evaluation process described
in this Article, except for information relating to a faculty member’s failure to participate in an
employee assistance program consistent with the terms to which the faculty member and the
University have agreed.

18.11 Evaluation File.
        (a)    Policy. There shall be one (1) official evaluation file, containing a dated copy of
all documents used in the assignment and evaluation process, other than evaluation for tenure
or promotion, except for course materials, publications, public speeches/presentations, or
papers presented at conferences. When evaluations and other personnel decisions are made,

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other than for tenure or promotion, the only documents that shall be considered are those
contained in the official evaluation file, as well as the faculty member’s course materials,
publications, public speeches/presentations, or papers presented at conferences that are
referenced in the official evaluation file.
               (1)       The department chair shall be the custodian of the evaluation file, and a
notice specifying the location of faculty evaluation files shall be posted in each
department/unit.
               (2)       Documents shall be placed in the evaluation file upon receipt. The
faculty member shall be notified when the document is placed in the evaluation file.
               (3)       No adverse employment action shall be taken against the faculty
member based upon material in the faculty member’s evaluation file that has not been
provided to the faculty member or to which the faculty member has not had an opportunity to
attach a response.

        (b)       Access. A faculty member may examine the evaluation file, upon reasonable
advance notice, during the regular business hours of the office in which the file is kept,
normally within the same business day, and under such conditions as are necessary to ensure
its integrity and safekeeping.
                (1)      Upon request, a faculty member may paginate with successive whole
numbers the materials in the file, and may attach a concise statement in response to any item
therein. The University may paginate the materials in the file and shall notify the faculty
member when that pagination will take place.
                (2)      Upon request, a faculty member shall be provided one (1) free copy of
any material in the evaluation file. Additional copies may be obtained by the faculty member
upon the payment of a reasonable fee for photocopying.
                (3)      A person designated by the faculty member may examine that faculty
member’s evaluation file with the written authorization of the faculty member concerned, and
subject to the same limitations on access that are applicable to the faculty member.

       (c)      Indemnification. UFF agrees to indemnify and hold the University harmless from
and against any and all liability for any improper, illegal or unauthorized use by UFF of
information contained in such evaluation files.

        (d)      Anonymous Material. There shall be no anonymous material in the evaluation
file except for numerical summaries of student evaluations that are part of a regular evaluation
procedure of classroom instruction and/or written comments from students obtained as part of
that regular evaluation procedure. If written comments from students in a course are included
in the evaluation file, all of the comments obtained in the same course must be included.

        (e)      Peer Committee Evaluations. The chair and other faculty of a department may
develop a procedure for peers to evaluate the performance of faculty members, consistent with
other provisions of this Agreement. This procedure shall be approved by the chair and other
faculty and included in the department bylaws. The procedure shall identify how faculty will be
involved in the process, how the faculty member will receive feedback on the peer evaluation,

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and whether the evaluation will be included in the faculty member’s official evaluation file.

       (f)       Removal of Contents. Materials shown to be contrary to fact shall be removed
from the file. This section shall not authorize the removal of materials from the evaluation file
when there is a dispute concerning a matter of judgment or opinion rather than fact. Materials
may also be removed pursuant to the resolution of a grievance. Materials removed from the
evaluation pursuant to this section shall be placed in a separate file with the notation of the
reason for removal from the evaluation files.

       (g)      Use of Evaluative Material.
               (1)       Information reflecting the evaluation of a faculty member’s
performance shall be available for inspection only by the faculty member, the faculty member’s
representative, university officials who use the information in carrying out their responsibilities,
peer committees responsible for evaluating the faculty member’s performance, and arbitrators
or others engaged by the parties to resolve disputes, or others by court order. Such limited
access status shall not, however, apply to summary data, by course, for the common “core”
items contained in student course evaluations that have been made available to the public on a
regular basis.
               (2)       In the event a grievance is filed, the University, UFF grievance
representatives, the arbitrator, and the grievant shall have the right to use, in the grievance
proceedings, copies of materials from the grievant’s evaluation file.




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                                         ARTICLE 19
                                   TENURE AND PROMOTION

19.1      Definition and Policy. Tenure and promotion are critical decisions for the University
and for faculty members. In some instances, such as assistant professors seeking tenure
and promotion to associate professor, the reviews occur simultaneously. In other
instances, only one review (tenure or promotion) occurs. This Article covers the processes,
procedures, and criteria used in making the decisions on tenure and/or promotion.
        (a)       Tenure is one of the principal means by which the quality of the University is
developed and maintained. Tenure is attained by the faculty member through distinction in
teaching, research/scholarship/creative activity, and/or service to the University and the
profession. The granting of tenure is a more critical action than promotion, for it represents a
long-term commitment by the University to the individual. The decision to award tenure
represents a positive evaluation of the faculty member's total value to the University and
potential for the future as evidenced by the faculty member's record.
                 (1)     A faculty member who has been awarded tenure shall have the status of
a permanent member of the faculty and remain in the continuing employment of the University
until the faculty member resigns or retires; is dismissed for cause under the provisions of
ARTICLE 27, DISCIPLINARY ACTION AND JOB ABANDONMENT; or is discontinued from
employment pursuant to the layoff provisions of ARTICLE 30, LAYOFF AND RECALL.
                 (2)     Tenure shall be in an academic department or other appropriate
administrative unit. With the written approval of the University, the tenure of a faculty member
may reside in a center or institute when the research, teaching, and other duties of the faculty
member necessitate such a designation.
                 (3)     The same process and procedure shall be applied in cases involving both
tenure and promotion. In the case of promotion to Associate Professor with tenure the same
criteria shall be applied.
                 (4)     The faculty member's rank, years in rank, or amount of approved leave
taken shall not be considered in determining whether the candidate receives tenure.
                 (5)     If a faculty member is considered for tenure at a time other than the last
year of the tenure probationary period, the expectations of performance shall be identical to
those that would be applicable to that faculty member in the faculty member's last year of the
probationary period unless the criteria for tenure have changed as stipulated in Article 19.6.
                 (6)     Upon nomination by the President or designee and approval by the
Board of Trustees, tenure shall be granted.
                 (7)     Tenure upon Appointment. The Board of Trustees may grant tenure to a
faculty member at the time of initial appointment at the request of the faculty of the affected
department(s), the chair and the dean.
                        a.        Requests for tenure upon appointment shall be submitted to the
President (or designee) with supporting documentation, including the assessment of the
appropriate departmental or unit faculty as stipulated in Article 19.10(c).
                        b.        If the President (or designee) approves the request, the letter of
offer of appointment to the nominee shall address the tenure issue by indicating that the
recommendation for tenure will be sent to the Board of Trustees for its consideration and
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decision. The tenure recommendation shall be acted upon at the first Trustee meeting
immediately following the acceptance of employment.
                (8)      Tenure shall not extend to administrative appointments.
                        a.       Tenured faculty members appointed to administrative positions
shall retain tenure in the faculty rank.
                        b.       If a tenure-accruing faculty member is appointed to serve in
academic-administrative classifications or administrative positions, he or she shall be eligible
for tenure only in the faculty rank.

        (b)      Promotion is the appointment of a faculty member to a higher academic rank in
recognition of distinguished performance. Promotion is attained through distinction in
teaching, research/scholarship/creative activity, and/or service to the University and the
profession.
                (1)      Promotion shall be through an academic department or other
appropriate administrative unit, and faculty members shall carry their rank with them if they
change departments.
                (2)      If there has been no previous promotion at the University, the
promotion decision shall include an assessment of the faculty member’s accomplishments prior
to employment at the University.
                (3)      In promotion cases involving tenured faculty members, the decision
shall be primarily on assessments of the faculty member’s performance since the last
promotion.
                (4)      All of the faculty member's scholarly publications and other
research/scholarship/creative activity shall be appropriate to consider in assessing whether the
faculty member fulfills the criteria.
                (5)      The same criteria shall be applied in making or evaluating
recommendations in both tenure and promotion judgments.
                (6)      The faculty member’s years in rank or amount of approved leave taken
shall not be considered in determining whether the candidate receives a promotion.
                (7)      An eligible faculty member may initiate the application for promotion
whenever the faculty member believes he/she has met the criteria for promotion by notifying
the department chair. Faculty members being considered for promotion may withdraw from
consideration without prejudice.
                (8)      Consideration for promotion during an administrative appointment shall
be based on the faculty duties and shall not be based on the administrative portion of the
assignment.
                (9)      No promotion decision shall be based on an assessment that employs
factors not identified in, or standards conflicting with, the established written criteria specified
by the University and clarified in writing by the faculty of the appropriate department in terms
tailored to the department disciplines .

19.2   Eligibility.
       (a)        Faculty members with the rank of Assistant Professor, Associate Professor,
Professor, Assistant Librarian, Associate Librarian, Librarian, Assistant Curator, Associate

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Curator, or Curator shall be eligible for tenure. The University may designate other positions as
tenure-accruing.

         (b)    Faculty members with the rank of Assistant Professor, Associate Professor,
Clinical Assistant Professor, Clinical Associate Professor, Assistant Librarian, Associate Librarian,
Assistant Curator, Associate Curator, University School Instructor, University School Assistant
Professor, University School Associate Professor, Lecturer, Senior Lecturer, Assistant Engineer,
Associate Engineer, Assistant Scholar, Associate Scholar, Assistant Scientist, and Associate
Scientist shall be eligible for promotion.

       (c)      Faculty members with the rank of Assistant In               and Associate In
                may apply for promotion. For this title series, the Dean makes the final decision
on promotion.

19.3   Tenure Probationary Period.
       (a)     A faculty member in a tenure-accruing position shall be considered and
recommended for tenure or given notice of non-renewal by the end of the tenure probationary
period pursuant to the non-renewal provisions of this Agreement.

       (b)      "Tenure probationary period" is defined as that period of academic service in a
tenure-accruing position at the University of Florida by the end of which the faculty member
must be recommended for tenure or given notice of non-renewal. The tenure probationary
period for each faculty member in a college shall be as follows:

       College of The Arts—7 years
       College of Business Administration—7 years
       College of Design, Construction and Planning—7 years
       College of Education—6 years
       College of Engineering—6 years
       College of Health and Human Performance—7 years
       College of Journalism and Communications—6 years
       College of Liberal Arts and Sciences—7 years
       Florida Museum of Natural History—6 years
       University Libraries—7 years

       (c)      No faculty member shall be required to apply for tenure earlier than the end of
the probationary period, although any faculty member may apply as soon as the faculty
member has met the criteria for tenure. A faculty member must request to be nominated for
tenure no later than July 1 of the last year of the tenure probationary period.

       (d)    Definition of Qualifying Service.
             (1)      One (1) year of academic service for those on academic year
appointments shall mean employment at 1.0 FTE during academic year beginning with the Fall
term. Employment for one semester shall constitute one-half year of academic service for those

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on academic-year appointments. One (1) year of service for those on twelve (12)-month
appointments shall mean employment at 1.0 FTE for the year. A twelve (12)-month faculty
member should be employed by November 7 for the employment to count as one (1) year of
eligibility.
               (2)      Faculty members on a less than 1.0 FTE appointment shall earn credit
toward tenure and/or qualifying service on a pro-rated basis.
               (3)      Time spent under joint appointment or exchange, on a duly established
personnel exchange program, or on a special assignment for the benefit of the University, shall
be considered a part of the tenure probationary period, unless there is an agreement to the
contrary between the faculty member and the University prior to the commencement of the
joint appointment, exchange, or special assignment.
               (4)      A semester in which a faculty member is on a leave of absence shall not
be considered a part of the tenure probationary period unless the primary purpose of the leave
is to conduct research or there is an agreement to the contrary in writing between the faculty
member and the Office of the Provost prior to the commencement of the leave.
               (5)      A semester in which a faculty member is on reduced full-time equivalent
(FTE) compensated leave shall not be considered a part of the tenure probationary period
unless the primary purpose of the leave is to conduct research or there is an agreement to the
contrary in writing between the faculty member and the Office of the Provost prior to the
commencement of the leave.
               (6)      Except as noted above, a faculty member on unpaid leave for ten (10) or
more business days during a semester shall not have that semester counted toward the tenure
probationary period, unless mutually agreed otherwise by the faculty member and the
University.

         (e)    Faculty appointed to a tenure-accruing position at less than 1.00 full-time
equivalent (FTE) shall be awarded tenure at the percentage of FTE assigned at the time of the
initial appointment in the tenure-accruing position.

19.4   Extension of the Probationary Period.
       (a)       A one (1)-year extension of the probationary period shall be granted when:
                         (1)     The faculty member becomes a biological or adoptive parent, or
otherwise has significant care responsibilities for a newborn, a newly adopted child, or a child
received into a licensed family foster home or any other situation in which a faculty member,
domestic partner, or spouse becomes a legal guardian of a child; or
                         (2)     The faculty member cares for an "immediate family member"
who is seriously ill for an extended period and for whom the faculty member has significant
care responsibilities.

       (b)     Any faculty member requesting an extension of the probationary period must
make such request in writing to the faculty member's department chair. The submission may be
made at any time, but no later than March 1 prior to the final year of the probationary period.
The written request must set forth the circumstances and include appropriate supporting
documentation. Recommendations from the department and college level must indicate

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agreement or disagreement with the request and shall be forwarded to the Provost who has
final authority to approve or disapprove the request, but a request made under Section 19.4(a)
shall be disapproved only if the requirements of Section 19.4(a) are not met or if appropriate
documentation is not furnished if requested.

       (c)       In addition to the above, in exceptional circumstances a faculty member may
request a one (1)-year extension of the probationary period to allow the candidate to
demonstrate professional excellence and capacity for future academic productivity. Such
application shall be made before the President’s final decision on the tenure nomination.

       (d)     The maximum extension of the probationary period that a faculty member can
obtain under Section 19.4(a) is two (2) years.

19.5      Criteria. The awarding of tenure or promotion shall be a result of meritorious
performance and shall be based on established written criteria specified by the University and
clarified in writing by the faculty of the appropriate department in terms tailored to the
department disciplines.
        (a)       The criteria for the granting of tenure or promotion shall be relevant to the
performance of the work that the faculty member has been assigned to do and to the faculty
member's responsibilities as a member of the University community.

       (b)      These criteria recognize three (3) broad categories of academic service as
follows:
                (1)     Instruction, including regular classroom teaching, laboratory, field,
clinical, and performance instruction, serving on or directing thesis or dissertation committees,
and other instructional activities;
                (2)     Research or other creative activities, including scholarly publications;
and
                (3)     Professional or public service.

        (c)       In most cases, tenure or promotion requires distinction in two (2) of the three
(3) categories, one of which shall be the one designated as the faculty member's primary
responsibility. In the case in which a non-tenure accruing faculty member's assignment is
exclusively or almost exclusively in one category, distinction must be demonstrated in this
category alone. "Distinction" in the categories shall be defined by each college and clarified in
writing by the faculty of the appropriate department in terms tailored to the department
disciplines and consistent with University standards.

       (d)     Department Clarifications of University Criteria. The chair and the faculty in
each department shall develop and maintain written clarifications of the University's tenure
and promotion criteria in terms tailored to the department's discipline(s) and assigned duties
and consistent with University standards. Such discipline-specific written clarifications shall be
approved according to the provisions of ARTICLE 9, BYLAWS GOVERNING TERMS AND
CONDITIONS OF EMPLOYMENT.

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               (1)        These discipline-specific clarifications shall
                         a.       Be adaptable to various assigned duties;
                         b.       Be detailed enough that a reasonable faculty member should be
informed about the performance or accomplishment expectations necessary to earn tenure or
promotion, assuming that the accomplishments are of sufficient quality; and
                         c.       Identify some representative examples of the achievements or
performance characteristics that would qualify for tenure or promotion if the requirement of
distinction were met.
                 (2)      With respect to research/scholarship/creative activity, these discipline-
specific clarifications shall address how the department values these activities and the outlets
in which candidates might be reasonably expected to publish, exhibit, or perform.

        (e)      In assessing whether the faculty member has satisfied the criteria, the quality
of the faculty member's performance shall be evaluated by the procedures outlined in this
Article and Article 18.5 related to Faculty Member Performance Evaluations and Evaluation File.
The decision shall take into account annual assignments and annual performance evaluations.

       (f)     These criteria shall be available in the department and college offices and
posted on the department and college websites. All such criteria shall also be provided to UFF.

19.6      Changes in Criteria for Tenure and Promotion. The University may modify the criteria
for tenure and promotion so long as UFF has been notified of the proposed changes and
offered an opportunity to bargain such changes.
        (a)       Changes to discipline-specific departmental clarifications of the University
criteria shall be developed and approved according to the BYLAWS Article.

       (b)       Changes in criteria, including the discipline-specific departmental clarifications
of those criteria, shall not become effective until one (1) year following adoption of the
changes, unless mutually agreed to in writing by UFF President and the University. The date of
adoption shall be the date on which the University President or designee approves the changes.

       (c)      Effect on Faculty Members. If a faculty member has at least three (3) years of
tenure-earning credit as of the date on which the new tenure and promotion criteria are
adopted, the faculty member shall be evaluated under the criteria as they existed prior to
modification, unless the faculty member notifies the University prior to commencement of the
tenure or promotion consideration that the faculty member chooses to be evaluated under the
modified criteria.

19.7    Progress Toward Tenure. Midterm Review Assessing Progress Toward Tenure. A special
midterm review shall be conducted for faculty members during the third year of the tenure
probationary period. The purpose of this appraisal shall be to assess the faculty member's
progress toward meeting the criteria for tenure and to provide assessments, suggestions, and
guidance to assist the faculty member in fulfilling the University's tenure criteria.
       (a)      Faculty members of each department shall develop a procedure for conducting

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the review. This procedure must:
               (1)      Identify how the tenured faculty members of the department will be
involved in the appraisal and how the faculty member will be provided feedback regarding the
analysis of progress toward tenure; and
               (2)      Include an evaluation by the department chair and the dean of the
faculty member's progress toward meeting the criteria for tenure.

        (b)      The faculty member under review shall compile an appraisal dossier containing
the same kind of information as would be in a tenure dossier but without letters of evaluation.
The department chair shall provide to the faculty member the following materials for inclusion
in the dossier:
                (1)       Annual Assigned Activity, including the proportions of the faculty
member's assignments, reported on the annual activities report that have been devoted to
teaching, scholarship and service;
                (2)       Tenure Criteria for the University and the department's written
discipline-specific clarifications of those criteria;
                (3)       Peer evaluations; and
                (4)       The faculty member's Annual Evaluations.

       (c)      Tenured faculty members of the appropriate department shall review the
appraisal dossier and meet with the department chair to assess whether the faculty member
under review is making satisfactory progress toward tenure, according to the kinds of
expectations and indications of success that are appropriate at this point in the tenure
probationary period.

        (d)      No later than the end of the semester, the results of the review shall be shared
with the faculty member. These results shall include any recommendations about how the
faculty member might improve his/her performance and tenure dossier and what assistance
might be available in the department, college, and University to address candidate needs and
improve performance. Upon request, the faculty member shall be provided the opportunity to
meet with the chair and/or the dean to discuss the review.

       (e)       The appraisal process shall be confidential to the extent permitted by law and
internal to the department and the college office. Consequently, the appraisal shall not be
placed in the faculty member's evaluation file and shall not be included in the faculty member's
subsequent tenure dossier.

19.8     Non-Tenure Track Progress Toward Promotion. While there is no probationary period
for promotion within the non-tenure accruing ranks, progress through the ranks for non-tenure
track faculty should generally follow the same period of academic service in a position at the
University of Florida as for tenure-track faculty.
        (a)     Criteria for Promotion. All departments that employ non-tenure track faculty
members shall develop criteria for promotion specific to non-tenure track faculty within that
department. These criteria shall be incorporated into the department’s bylaws and comply with

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relevant promotion guidelines outlined in this Article. Non-tenure track faculty shall be
permitted to vote on these criteria for promotion, regardless of their voting rights in other
departmental matters.

        (b)     Progress-to-Promotion (PtP) Review: All departments that employ non-tenure
track faculty shall develop a progress-to-promotion (PtP) review process. A description of this
process shall be incorporated into the department’s bylaws and comply with relevant review
guidelines outlined in this Article. Non-tenure track faculty shall be permitted to vote on this
process, regardless of their voting rights in other departmental matters.
                (1)    The purpose of this appraisal shall be to assess the faculty member's
progress toward meeting the criteria for promotion and to provide assessments, suggestions,
and guidance to assist the faculty member in fulfilling the University's, College’s, and
Department’s criteria. A faculty member who declines to be reviewed under this PtP process
must do so in writing by submitting a letter to their chair/director by January 10th.
                (2)    The faculty member under review shall compile an appraisal dossier
containing the same kind of information as would be included in the promotion dossier minus
external letters of evaluation. The department chair shall provide to the faculty member the
following materials for inclusion in the dossier:
                       a.      Annual Assigned Activity, including the proportions of the faculty
member's assignments, reported on the annual activities report that have been devoted to
teaching, scholarship, and service;
                       b.      Departmental criteria for promotion;
                       c.      Peer evaluations; and
                       d.      The faculty member's Annual Evaluations.
                (3)    The PtP review process must:
                       a.      Identify, when applicable, how the tenured faculty members of
the department will be involved in the appraisal of non-tenure track faculty members and how
the faculty member under review will be provided feedback regarding progress toward
promotion; and
                       b.      Include an evaluation by the faculty member’s department chair
and dean concerning their progress toward meeting promotion criteria.
                (4)    Faculty members senior in rank (including both tenure-track and non-
tenure track faculty) and eligible to vote on promotion within the appropriate department shall
review the appraisal dossier and meet with the department chair to assess whether the faculty
member under review is making satisfactory progress toward promotion, according to the kinds
of expectations and indications of success that are appropriate at this point in faculty service.
                (5)    The results of the review shall be shared with the faculty member no
later than six months after the start of the process. These results shall include any
recommendations about how the faculty member might improve their performance and
promotion dossier and what assistance might be available in the department, college, and
University to address candidate needs and improve performance. Upon request, the faculty
member shall be provided the opportunity to meet with the chair and/or the dean to discuss
the review.
                (6)    The appraisal process shall be confidential to the extent permitted by law

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and internal to the department and the college office. Consequently, the appraisal shall not be
placed in the faculty member's evaluation file and shall not be included in the faculty member's
subsequent promotion dossier.

19.9   Initiation of the Tenure or Promotion Review Process.
        (a)      The department chair shall initiate the tenure or promotion nomination upon
written request. A faculty member shall apply no later than July 1 for tenure or promotion
consideration.

       (b)       The process begins when the appropriate department chair notifies the faculty
member of his/her nomination or the faculty member provides the department chair with
written notification of candidacy.

       (c)      Faculty eligible for tenure or promotion shall be provided with the URL of the
department's written clarifications of the University criteria, "The University's Guidelines and
Information Regarding the Tenure, Permanent Status and Promotion Process," and other
materials, information, and forms that are used in the preparation of the dossier.

       (d)      The department chair shall inform the nominated faculty member about
deadlines in the review process.

        (e)       Outside Letters of Evaluation. The University shall solicit evaluation of the
candidate's research/scholarship/creative activities from qualified scholars in pertinent
disciplines outside the University.
                 (1)       The candidate shall submit a list of names to the chair. The chair shall be
responsible for choosing the individuals who will be requested to submit letters of evaluation,
provided that at least one-half of the evaluators who agree to write letters come from the
candidate's list. If an insufficient number of individuals agree to serve as evaluators, the
candidate shall submit additional names, as necessary.
                 (2)       The chair shall send the same standard solicitation letter to the qualified
scholars as necessary. The letter shall have appended to it the University criteria and the
department's written discipline-specific clarifications. The evaluators will be asked to assess the
candidate's research performance in order to determine whether it
                         a.         Satisfies the University criteria for tenure or promotion as
clarified in writing by the candidate's department;
                         b.         Represents a significant contribution to the field; and
                         c.         Is comparable to the research performance of successful tenure
or promotion candidates at the same stage in their careers at comparable public research
universities.
                 (3)       All solicited letters that have been received must be included in the
tenure dossier.
                 (4)       Candidates must, in writing, either waive or decline to waive the right to
view the letters of evaluation before such letters are solicited. Letters of evaluation must be
available to the candidate for review unless the candidate executes a written waiver of her/his

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right to view the solicited letters of evaluation. No candidate shall be penalized for declining to
waive this right.
                 (5)     The evaluators also shall be notified whether the candidate has or has
not waived the right to view the letters.
                 (6)     While the standard number of letters is not fewer than five (5), nor
more than six (6), a college may elect to require a different number of outside letters, provided
that all of the following conditions are met:
                        a.       Any change in the number of required outside letters must be
voted on in a publicly noticed meeting and approved by a two-thirds majority of the tenured
and tenure-accruing faculty in the college.
                        b.       The range in the new number of required outside letters must
remain no more than one (1), e.g., "no fewer than three and no more than four." The number
of names submitted by the candidate shall be adjusted to be one (1) more than the top of the
range.

       (f)       Tenure or Promotion Dossier.
                (1)      The only documents, information, or materials that shall be considered
in making a tenure or promotion recommendation are those included in the dossier.
                (2)      The department chair shall advise the candidate in the preparation of
the dossier. However, it shall be the responsibility of the faculty member to see that the dossier
is complete and contains all the information that the faculty member believes is pertinent to
the nomination.
                (3)      The dossier shall consist of the following stipulated materials, plus any
other evidence the candidate chooses to present to support the candidacy. The candidate shall
ensure that the dossier includes all of the materials required in this subsection and that the
materials are in the following format, which may be further specified in the "Guidelines and
Information Regarding the Tenure, Permanent Status and Promotion Process" provided that
such specifications are consistent with the provisions of this Agreement:
                       1.       Nominee information cover page;
                       2.       Brief description of job duties;
                       3.       Areas of specialization;
                       4.       Assigned activity;
                       5.       Educational background;
                       6.       Employment;
                       7.       Year tenure was awarded;
                       8.       The university's tenure criteria, the college's clarification of those
criteria, and the appropriate department's applicable written discipline-specific clarifications of
those criteria;
                       9.       Teaching, advising, and instructional accomplishments;
                       10.      Teaching evaluations;
                       11.      Educational portfolio;
                       12.      Graduate committee activities;
                       13.      Contribution to discipline narrative;
                       14.      Creative works or activities;

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                        15.      Patents and copyrights;
                        16.      Publications;
                        17.      Lectures, speeches, or posters presented at professional
conferences/meetings;
                        18.      Contracts and grants;
                        19.      Service Narrative;
                        20.      University governance and service;
                        21.      Consultations outside the university;
                        22.      Editor of a scholarly journal, service on an editorial advisory
board, or reviewer for a scholarly journal;
                        23.      International activities;
                        24.      Extension program;
                        25.      Clinical service or clinical activities;
                        26.      Service to schools;
                        27.      Membership and activities in the profession;
                        28.      Honors;
                        29.      Chair's/director's letter;
                        30.      Dean's letter;
                        31.      Sample letter to evaluators and bio-sketches of individuals
writing solicited letters of evaluation;
                        32.      Letters of evaluation;
                        33.      Copies of the last five annual letters of evaluation, where
applicable; and
                        34.      Further information (any additional materials that the candidate
believes is pertinent).
                (4)       Any documents that have been added to the dossier after the
commencement of consideration shall be appended at the end of the dossier and shall indicate
the individual who requested the additional document, the date the document was added, and
the reasons why the document was included. If the chair or the dean revises his/her letter, the
revised letter replaces the previous one. Only the revised letter is available for subsequent
levels of review, and the candidate may append a response to the revised letter.
                (5)       The contents of the dossier shall be available for inspection only by the
candidate, University officials who use the information in carrying out their responsibilities, the
faculty who are charged with the responsibility of evaluating the candidate's performance, and
pursuant to Florida law.

        (g)      Candidate's Verification of the Dossier. Before there can be a consideration of a
candidacy for tenure or promotion, the candidate must review the dossier to ensure that it is
complete and contains all the information that the candidate believes is pertinent to the
candidacy, and certify completeness in the online system.
                (1)     Prior to the review of the nomination and at any point in the review
process, the candidate shall have the right to review the contents of the dossier and may attach
a concise written response to any material in it. If the candidate has waived the right to review
the letters of evaluation, these shall not be made available to the faculty member.

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                (2)      The candidate shall verify (electronically) the completeness of the
dossier prior to the department review.
                (3)      After the verifying statement(s) have been signed, a copy of the
completed dossier shall be available to the candidate, except that if the candidate has waived
the right to see letters of evaluation such letters will not be available to the candidate.

       (h)        Alterations to the Dossier.
                (1)       After the candidate's verification of the dossier, no materials shall be
added to, deleted from, or changed in the dossier without the candidate's consent, except for:
                        a.        Information as specified above, which may have been
inadvertently omitted or incorrectly entered;
                        b.        The written assessments and recommendations of faculty
committees and administrators who are charged with making recommendations regarding the
candidate's application, and the candidate's response to these, if any; and
                        c.        Clarification, documentation or validation of assertions made by
the candidate, when requested in writing by official reviewing faculty committees and
administrators.
                 (2)      Candidates shall not be required to provide additional information or
materials clarifying areas that are not referenced in Sections 19.9(f) and 19.9(h)(1), above, nor
shall candidates be penalized or disadvantaged for refusing to provide such unrequired
information or materials.
                (3)       The candidate may add, delete, or change materials that directly pertain
to the dossier by supplying a copy to the appropriate administrator, provided that after any
such alteration the dossier contains all of the required materials. The date of inclusion or
alteration in dossier shall be recorded in the dossier.
                (4)       If any material is added to, deleted from, or changed in the dossier by
anyone other than the candidate after the commencement of the consideration process,
including results of the assessments and copies of both the chair's and the dean's letters, a copy
of any such additions, deletions, or changes, other than letters of evaluation to which the
faculty member has waived the right to review, shall be available to the candidate as soon as
entered into the on-line system. Within ten (l0) days of receipt of the material, the candidate
may supply a concise response, which shall be added to the tenure dossier. The dossier shall
not be forwarded until either the candidate submits a response, indicates in writing that he/she
will not be making a response, or until ten (10) days have elapsed from the date of the
candidate's receipt of additional or changed material, whichever occurs first.
                (5)       Except by consent of the candidate, there shall be no anonymous
material in the dossier except for numerical summaries of student evaluations that are part of
the regular evaluation procedure of classroom instruction and/or written comments from
students obtained as part of that regular evaluation procedure. If written comments from
students in a course are included in the dossier, all of the comments obtained in the same
course must be included.
                (6)       Materials in the file shown to be contrary to fact shall be corrected
before a review of the file can continue. This section shall not authorize the alteration of
materials in the evaluation file when there is a dispute concerning a matter of judgment or

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opinion.

19.10 Tenure or Promotion Review and Recommendation Procedures. Recommendations for
the awarding of tenure or promotion shall proceed through the following levels of review:
eligible department faculty, department chair, college Tenure and Promotion Committee, dean
(or director in the case of the Florida Museum of Natural History), and the University Academic
Personnel Board, and President or designee. At all levels the participants shall be provided with
the University criteria, clarifications of the criteria by the College, and departmental discipline-
specific clarifications of the criteria. Recommendations by the President or designee to grant
tenure shall be forwarded to the Board of Trustees for final decision. All recommendations in
this process, along with any candidate responses to those recommendations, shall be included
in the dossier prior to the dossier being forwarded to the next review step.
        (a)       Faculty and administrators participating in a review are advised to consult the
TENURE AND PROMOTION Article. The administrator at each level shall be responsible for
ensuring that the review at that level is conducted in a manner consistent with the provisions of
the TENURE AND PROMOTION Article.

       (b)      The dossier must be forwarded to each level of review unless the candidate
withdraws.

       (c)        Review and Assessment by Department Faculty.
                 (1)     If a department uses a committee to provide a written assessment of
the candidate's qualifications for tenure or promotion, the department committee shall submit
its written assessment to the department chair, who shall give a copy to the candidate. The
candidate shall have seven (7) days from receipt of the written assessment to append a written
response. The chair shall share the committee’s written assessment and the candidate’s written
response with the faculty before they meet to discuss and provide an assessment, by secret
poll, of whether or not the candidate meets the criteria for tenure or promotion.
                 (2)     The eligible faculty members of the department shall review the dossier
and any materials referenced in it and shall meet to discuss the nomination. After the
discussion, eligible departmental faculty must provide an assessment, by secret poll, of whether
or not the candidate meets the criteria for tenure or promotion. In tenure cases, only tenured
faculty members may register an assessment; in promotion cases, only those with a rank above
the candidate may register an assessment. The chair shall not participate in the secret poll. The
chair’s evaluative letter of 19.10(c)(4) and 19.10(d) serves as her/his vote.
                 (3)     If department policy provides for input from another unit in which the
candidate holds an appointment, whether it is in the form of written comments or assessments
by secret poll, that input shall be advisory only.
                 (4)     The chair shall report the departmental assessments on the Nominee
Information Cover Sheet of the dossier (i.e., for, against, abstaining, and absent). The number
of faculty providing assessments for, against, abstaining, and absent shall equal the total
number of faculty members of the department eligible to participate in this process according
to this collective bargaining agreement.


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         (d)      Department Chair's Review and Recommendation. After reviewing the
candidate's dossier, the department chair shall submit an evaluative letter assessing the
candidate's qualifications with reference to the department's written discipline-specific
clarifications of the University's tenure criteria and make a positive or a negative
recommendation. The chair's letter may explain or clarify such issues as exceptional
assignments, unique contributions or unusual assessments.
                 (1)     The candidate shall have ten (10) days from receipt of the department
chair's letter to submit a written response before the dossier moves to the next level.
                 (2)     The candidate's dossier shall be forwarded to the College Tenure and
Promotion Committee for consideration.

       (e)         Review by the College Tenure and Promotion Committee.
                (1)      The Committee shall be comprised of tenured faculty members in the
college. No less than one-half of the committee members shall be elected by the tenured
faculty members of the college. Only those with a rank above the candidate may vote in
promotion cases.
                (2)      The College Tenure and Promotion Committee shall review the
candidate's dossier and report on its strengths and weaknesses of the record in terms of the
University's criteria and the appropriate department's applicable written discipline-specific
clarifications of those criteria.
                (3)      Evaluations of a candidate's performance shall be based on the
candidate's assigned duties.
                (4)      If there are questions about a dossier, the Committee through its
secretary shall notify the chair and the candidate, so they may respond.
                (5)      The Committee shall provide recorded individual assessments to the
dean as part of its fact-finding and consultative role.
                        a.        An individual assessment shall consist of a committee member's
indicating whether or not the candidate meets the University standards for tenure or
promotion in terms of the College's clarifications of those standards, and the appropriate
department's applicable written discipline-specific clarifications of those standards as approved
by the College.
                        b.       The individual faculty members making the assessment shall not
be identified.
                (6)     After reviewing each candidate's dossier, including the written
assessments and recommendations of the department chair, members of the College Tenure
and Promotion Committee shall meet with the dean to share their assessments.

       (h)       Dean's Review and Recommendation.
                (1)       After reviewing the candidate's dossier the dean shall submit an
evaluative letter assessing the candidate's qualifications for tenure or promotion in terms of the
University's criteria, the College's clarification of those criteria, and the department's written
discipline-specific clarifications of those criteria and make a positive or a negative
recommendation. The dean's letter shall explain or clarify such issues as exceptional
assignments, unique contributions, or unusual assessments.

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               (2)      The dean shall enter the letter into the online promotion and tenure
system, which will make it immediately available to the candidate and the chair.
               (3)      The candidate shall have ten (10) days from receipt of the dean's letter
to request a meeting with the dean or submit a written response.
               (4)      The dean shall not forward the dossier until either the candidate
submits a response, indicates in writing that he/she will not be making a response, or the ten
(10) day period for responding expires, whichever occurs first. The dean must sign the
nomination indicating endorsement or lack of endorsement for the nomination before it can be
forwarded to the University Academic Personnel Board.

       (i)        Review by the University Academic Personnel Board.
                (1)      The Academic Personnel Board shall serve in a fact-finding and
consultative role. It shall assess the candidate’s dossier according to the criteria and report its
assessment to the President or designee.
                (2)      If there are questions about a dossier, the Academic Personnel Board
shall notify electronically those affected.
                (3)      The candidate's dossier shall be forwarded to the President or designee
for consideration.

       (j)      President's Review and Recommendation.
              (1)       After reviewing the candidate's dossier and consulting with the
Academic Personnel Board, the President or designee shall make a final determination
regarding whether to nominate the candidate for tenure to the Board of Trustees.
              (2)       After reviewing the candidate’s dossier and consulting with the
Academic Personnel Board, the President or designee shall make the final decision regarding
whether to promote a candidate.
              (3)       The President or designee shall notify the dean of a potential negative
decision, who shall notify the department chair and the candidate not less than ten (l0) days
before the President's or designee’s official notification of the decision on tenure or promotion.

19.11 Tenure and/or Promotion Decisions.
        (a)      Tenure. By the end of the tenure probationary period, a faculty member shall
be awarded tenure, be given notice that further employment will not be offered pursuant to
the non-renewal provisions of this Agreement, or resign. The Board of Trustees shall make the
final decision to award tenure. Faculty members who withdraw from consideration during the
last year of the probationary period will be non-renewed unless the chair concurs in a
resignation.

       (b)     Promotion. The President or designee shall make the final decision whether to
promote a candidate, except for those in the Assistant In        series, which shall be
decided by the dean.

       (c)      Faculty members being considered for tenure or promotion may withdraw from
consideration provided that the withdrawal is made before the President's official notification

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of the decision. Except for candidates in their final year of the probationary period, such
withdrawal shall be without prejudice.

       (d)      Tenure decisions shall normally be made at the June Trustees meeting, and
tenure or promotion will be effective on July 1 for twelve (12)-month faculty members and at
the beginning of the academic year for nine (9)- and ten (10)-month (academic-year) faculty
members.

       (e)     Decisions on tenure as a condition of employment shall normally be made at
the Trustees meeting immediately following the acceptance of employment.

       (f)     Explanation for denial. The faculty member shall be notified in writing, by the
President or designee immediately, or as soon thereafter as possible, of the final action taken
on the nomination for promotion. If the faculty member is denied promotion, the notice shall
include an explanation of the reason(s) for the denial. This “explanation” shall be defined using
the standard dictionary definition: “a statement or account that makes something clear.”

        (g)       Promotion and Tenure Materials and Discussions. All records reflecting
evaluations of employee performance compiled for promotion and/or tenure, including records
of any discussions of these evaluations, shall be regarded as “limited access records” (see FS
1012.91 Personnel records for reference) and shall be made known only to those individuals
who are required to participate in making recommendations or making the decision unless
otherwise required by law. All such discussions shall be considered confidential. If witness to a
potential violation (whether a violation of a University regulation or policy, a CBA provision,
state or federal law, or other violation), that individual shall not be subject to discipline for
reporting potential violations to the appropriate body (including but not limited to HR, UFF,
EEOC, ADA office). This language shall not be construed as a waiver of any bargaining unit
member’s right to grant access to their personnel records to a representative of their choosing
(e.g., UFF, legal counsel).




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                                     ARTICLE 20
                SABBATICALS AND PROFESSIONAL DEVELOPMENT PROGRAMS

20.1     Sabbaticals. The parties agree that research and development programs are intended
to advance the abilities of faculty members and to strengthen the university as well. Such
programs contribute significantly to the quality and success of research universities. Sabbaticals
are granted to tenured faculty members to permit them to engage in intensive programs of
research and/or study. Sabbaticals constitute a research assignment and are granted to faculty
members to enable them to further their research or other creative activities, to improve
teaching skills, to enhance the university’s distinction and a faculty member’s value to the
university. Sabbaticals are granted in a process described in this Article.

20.2       Sabbatical Eligibility. Full-time tenured faculty members with at least six (6) years of
full- time service at the University who have not taken a sabbatical within the last six (6) years
are eligible for sabbaticals. A faculty member may apply for a sabbatical in the year prior to
eligibility, provided that the faculty member is eligible when the sabbatical is taken.

20.3   Sabbatical Allocations.
       (a)       The University will allocate one hundred forty (140) semester units of
sabbatical each fiscal year. The University will distribute this sabbatical allocation to each of the
colleges in proportion to the number of eligible faculty. The University shall notify UFF at the
same time as the colleges of the allocation of the sabbatical units.

       (b)      All applications shall be for a one (1)-semester sabbatical.

       (c)      In limited circumstances, a second sabbatical semester shall be awarded, from
those allocated, for exceptional projects if approved by the dean.

       (d)      A candidate may make a separate case for an additional semester in the initial
application by describing the specific value the additional semester of sabbatical research
would add to the proposed project, and how it would benefit the department and the
University.

       (e)      If there are additional available semester allocations after the one-semester
sabbaticals have been awarded, recommended second-semester sabbaticals shall be awarded if
approved by the dean.

20.4     Applications for sabbaticals shall be submitted to the faculty member’s department
chair by October 15. Final decisions shall be made by January 15. The application and
description of sabbatical research shall include the following:
        (a)    applicant’s name; applicant’s department;

       (b)     number of years of full-time service at the University;


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       (c)     semester(s) that the sabbatical is requested for;

       (d)     dates of previous sabbaticals, including any deferred sabbaticals;

        (e)     a statement of no more than 750 words describing the planned activities,
specific results anticipated from the sabbatical, and any anticipated income, particularly if the
proposed research plan involves appointment at another academic institution.

20.5    Process for Review of Sabbatical Applications and Descriptions of Proposed Research
Plan
       (a)      The department chair or director shall make a recommendation on whether the
university should award a proposed sabbatical. The chair or director shall also make a
recommendation on an additional semester of sabbatical research for an exceptional project if
they determine it adds sufficient value and benefit to the department and the University.

        (b)     The college committee (described in Section 20.6 below) shall make a
recommendation to the dean on whether the university should award a proposed sabbatical. If
there are sabbatical allocations remaining after all one-semester sabbaticals are awarded, the
committee shall also make a recommendation on an additional semester of sabbatical research
for an exceptional project if they determine it adds sufficient value and benefit to the
department and the University.

        (c)     The dean may fund a proposed sabbatical, refer it back to the faculty member
for re-submission, or deny. Before denying a proposed sabbatical that has been supported by
both the chair and the college committee, the dean shall consult with the chair and the
committee. The dean shall notify the faculty member in writing of the denial for the sabbatical,
with reasons.

       (d)      A faculty member denied a sabbatical is free to submit a new application the
following year.

       (e)      Any College allocation not used because a dean denied a proposal shall be
added to the following year, unless otherwise allocated.

        (f)      If there are more recommended sabbaticals than available allocations, those
individuals with the most years of service since a previous sabbatical shall be granted the
sabbatical. In the event that the seniority provision requires a decision between those with
identical seniority, the college committee shall rank order only those applications.

      (g)       At its discretion, the University may award more than one hundred forty (140)
semester units in a given year.

20.6    College Committees on Sabbaticals. Each College shall have a sabbatical committee
elected by and from the fulltime tenured faculty members in the College. Its primary

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responsibility is to assess whether proposed research plans meet the standards.

20.7    Terms and conditions of sabbaticals. The following terms and conditions apply:
        (a)      A faculty member and the University may agree to a different schedule than the
traditional one (1)- or two (2) semester sabbatical during a single academic year. Included
options are sabbaticals spread over two (2) academic years or a sabbatical at half pay. A one
(1)- semester sabbatical, for example, may be at half pay, spread over two (2) semesters.

        (b)     A faculty member must notify the chair and the dean by January 31 that the
faculty member accepts or declines the awarded sabbatical. The faculty member may re-
submit at a later time without prejudice.

         (c)       A sabbatical may be postponed for a semester or a year, either at the request
of the faculty member or by the University. The period of postponement shall be credited for
eligibility for a subsequent sabbatical.
                  (1)     Staffing problems may, on occasion, require the University to postpone
an awarded sabbatical. In such instances the faculty member will be provided with his/her
sabbatical the following semester or year, or another time agreed to by the faculty member
and the University.
                  (2)     When a faculty member requests the postponement, the faculty
member does not reapply but simply takes the sabbatical at a time approved by the chair and
dean.

       (d)       A faculty member compensated through a contract or grant may receive a
sabbatical if the contract or grant allows such and the faculty member meets all other eligibility
requirements.

        (e)      A faculty member must return to the University for at least one (1) academic
year following the completed sabbatical. Return to the University of salary received during the
sabbatical is required if the faculty member fails to meet this obligation. The University may
waive this requirement.

        (f)      Contributions to retirement shall be continued on a basis proportional to the
salary received.

       (g)     Contributions made to employee insurance programs and any other employee
benefit programs shall be continued during the sabbatical.

        (h)      While on sabbatical, a faculty member shall be permitted to receive funds for
travel and living expenses, and other sabbatical-related expenses from sources other than the
University such as fellowships, grants-in-aid, and contracts and grants, to assist in
accomplishing the purposes of the sabbatical. Receipt of funds for such purposes shall not
result in reduction of the faculty member’s University salary.


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       (i)     Grants for such financial assistance from other sources may or may not be
administered through the University.

       (j)       If financial assistance is received in the form of salary, the University salary shall
normally be reduced by the amount necessary to bring the total income of the sabbatical
period to a level comparable to the faculty member’s current year salary rate. In certain
instances, the University may waive this requirement because of special costs associated with
the sabbatical.

        (k)     Employment unrelated to the purpose of the sabbatical is governed by the
provisions of ARTICLE 26, OUTSIDE ACTIVITY AND CONFLICT OF INTEREST.

        (l)     Upon completion of the sabbatical, a faculty member shall provide the
University with a written report addressing the results of the sabbatical. Accruing eligibility for a
future sabbatical will not begin until appropriate report has been submitted.

20.7    Professional Development Program. The University will provide professional
development awards for those not eligible for sabbaticals. Such awards are for professional
renewal, study, formal education, certification, research, teaching improvement, or other
experiences of professional value.

20.8     Professional Development Program Eligibility. Full-time faculty members with six (6) or
more years of service at the University shall be eligible for the professional development
program, except those members who are serving in tenure-accruing or tenured positions. All
PKY faculty members are included in this group. Once eligible, faculty members may receive a
professional development award once every six (6) years of fulltime service.

20.9       Each year, the University shall make available awards for one (1) semester at full pay or
a mutually acceptable alternative for each twenty (20) eligible faculty members, subject to the
eligibility, application, and selection criteria set forth in this Article. Professional Development
Awards shall be divided among the colleges according to their proportion of eligible faculty.

20.10 Professional development assignments normally are one (1) semester in length, but
individuals may propose alternative approaches (a summer stipend, support for other
professional development activities that do not fit a standard semester schedule, internship
support).

20.11 Applications for the professional development program shall be submitted to the
faculty member’s department chair by October 15. Final decisions shall be made by January 15.
Each application shall include the following:
        (a)    applicant’s name; applicant’s department;

       (b)     semester(s) that the award is requested for; dates of previous awards;


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        (c)     a statement of no more than 750 words describing the planned activities,
specific results anticipated, and any anticipated income.

20.12 Process for Review of Proposals.
       (a)     The department chair shall make a recommendation on whether the university
should support the proposal.

     (b)     The college committee (described in 20.14 below) shall make its
recommendations on whether the university should grant the award.

        (c)     The dean will make decisions on which proposals to approve and which to
deny.

        (d)     A faculty member denied for whatever reason is free to submit a new proposal
the following year.

20.13 Terms and conditions. The terms and conditions for the professional development
programs shall be the same as for sabbaticals as specified in Section 20.7.

20.14 College Committees on Professional Development Program. Each college shall have
professional development program committee elected by and from the fulltime faculty
members in the College. Its primary responsibility is to make recommendations on proposals. A
college may have a single committee for both sabbaticals and professional development leaves,
provided that in considering professional development leaves there are members from that
employee group.

20.15 Study Leave for those not tenured or in tenure-accruing positions.
        (a)     Job-Required. A faculty member required to take academic course work as part
of assigned duties shall not be required to charge time spent attending classes during the work
day to accrued leave.

       (b)       Job-Related. A faculty member may, at the discretion of the University, be
permitted to attend up to six (6) credits of course work per semester during work, provided
that:
                (1)    That the absence will not interfere with the proper operation of the work
unit.
                (2)    The course work would improve the productivity of the department; and
                (3)    The faculty member’s work schedule can be adjusted to accommodate
such job-related study without reduction in the total number of work hours required per pay
period, or the faculty member uses accrued leave or takes approved leave without pay for the
hours of absence.

20.16 Annual Report. Not later than April 30 of each year, the University shall provide a
report, by college, of the sabbatical and professional development program results. The report

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shall include the following information (separated into sabbaticals and professional
development awards):
        (a) Number of faculty members eligible;

       (b) Number of applications;

       (c) Number of one (1)- and two (2)- semester sabbaticals awarded;

       (d) Number accepted;

       (e) Number accepted but deferred; and

       (f) Number recommended by faculty committee and chair and denied by dean.




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                                          ARTICLE 21
                                         OTHER LEAVES

21.1    Policy.
       (a)     Faculty members will have legitimate reasons to take leave and shall not be
penalized or disadvantaged for having taken leave.
               (1)     The duration of a leave may vary from a few hours to a year or more (if
extended by the University).
               (2)     Leaves may be with pay or without pay or a combination of the two
through the intermittent use of accrued leave.
               (3)     Leaves include paid time off , approved worker’s compensation leave,
FMLA qualifying leave, and service-related disability leave. They may be taken as needed but
must be reported to and, where applicable, approved by the appropriate supervisor and
entered as leave into the time reporting system.

       (b)    Retirement and Contributions and Credits During Paid Leaves.
              (1)      Contributions to the faculty member’s retirement programs shall be
continued on a basis proportional to the University salary received during paid leaves.
              (2)      During an approved leave of absence for parental, medical (including
family medical), or military reasons, an employee may use accrued paid leave in order to
continue the contributions to employee benefits and other payroll-deducted expenses.
              (3)      Faculty members who participate in the Florida Retirement System shall
have full-month service credit during the months they are in pay status.

        (c)   Employer Contributions to Benefit Plans. Contributions made by the University
to the employee insurance programs and other employee benefits shall be continued during
paid leaves.

      (d)    No faculty member on paid leave may be employed simultaneously by another
employer unless the faculty member complies with requirements in State law and this
Agreement for extra compensation, outside employment/activities, and conflict of interest.

     (e)     All other leaves are granted at the discretion of the appropriate administrator.
However, permission shall not be unreasonably withheld.

21.2    Holidays.
       (a)    A faculty member shall be entitled to observe all official holidays designated in
accordance with University regulations.

        (b)    Faculty members shall also be entitled to use accrued paid time off or unpaid
leave to observe the religious holidays of their respective faiths.




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       (c)     A faculty member required to perform duties on holidays shall have the faculty
member’s schedule adjusted to provide equivalent time off, up to a maximum of eight (8) hours
for each holiday worked.

        (d)    If a faculty member who has performed duties on a holiday terminates
employment prior to being given time off, the faculty member shall be paid, upon termination,
for the holiday hours worked within the previous twelve (12) month period at the faculty
member’s last regular pay rate.

21.3     Requests for a Leave or Extension of Leave of One (1) Semester or More.
       (a)     For a leave of one (1) semester or more, a faculty member shall make a written
request. The request shall be made not less than one hundred twenty (120) days prior to the
beginning of the proposed leave, or in the case of twelve-month faculty, six (6) months prior to
the date the leave is requested.

      (b)     For an extension of a leave of one (1) semester or more, a faculty member shall
make a written request not less than sixty (60) days before the end of the leave.

       (c)     The University shall approve or deny such request in writing not later than thirty
(30) days after receipt of the request.

21.4    Accrual during Leave with Pay.
      (a)     Faculty members on sabbatical or professional development leaves shall accrue
normal leave credits.

       (b)     In all other instances, faculty members on paid leave shall accrue leave in
proportion to the pay status.

       (c)     Accrued leave shall be credited on the last day of each pay period.

21.5     Return from Leave.
        (a)    A faculty member who returns from an approved leave of absence shall be
returned to the same or equivalent position in the same class and work location, including the
same shift or equivalent schedule, unless the University and the faculty member agree in
writing to other terms and conditions.

        (b)    The salary of the faculty member shall be adjusted to reflect all non-
discretionary increases distributed during the period of leave.

21.6    Family and Medical Leave Entitlements.
       (a)     The Family and Medical Leave Act of 1993 is a federal law designed to provide
protected leave to eligible employees when leave is required due to qualifying events or
conditions for either themselves or an immediate family member.


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                 (1)    Definitions. An “immediate family member” shall be defined as a faculty
member’s spouse, domestic partner, great-grandparent, grandparent, parent, brother, sister,
child, grandchild, great-grandchild, or the great-grandparent, grandparent, parent, brother,
sister, child, grandchild, or great-grandchild, of the faculty member’s spouse or domestic
partner, or the spouse or domestic partner of any of them. An “immediate family member”
shall also include an individual for whom the faculty member, domestic partner, or spouse is
the current legal guardian or holds medical power-of-attorney, or other dependent or relative
who lives in the faculty member’s household. A “parent” shall be defined as the biological,
adoptive, step or foster parent of a faculty member or an individual who stood in loco parentis
to a faculty member when the faculty member was a child. A “child” shall be defined as a
biological, adopted, or foster child, a stepchild, a legal ward, or a child of a person standing in
loco parentis. The term “seriously ill” or “serious health condition” shall be defined as an injury,
impairment, or physical or mental condition that involves inpatient care in a hospital, hospice,
or residential medical care facility; or continuing treatment by a health care provider.

       (b)    The University complies with the federally mandated Family Medical Leave Act
of 1993 enacted by the Department of Labor, which is referenced in Regulation 1.201 and the
University FMLA policy.

        (c)     If any provision of Section 21.6 is inconsistent with or in contravention of the
Family Medical Leave Act of 1993 then such provision shall be superseded by the laws or
regulations referenced above, except to the extent that the collective bargaining agreement or
any employee benefit program or plan provides greater family, parental, or medical leave rights
to an eligible faculty member.

21.7     Parental Leave.
        (a)     A faculty member shall be granted a parental leave not to exceed six (6) months
when the faculty member becomes a biological parent or a child is placed in the faculty
member’s home pending adoption, or the faculty member otherwise has significant care
responsibilities for a newborn, a newly adopted child, or a child received into a licensed family
foster home or any other situation in which a faculty member, domestic partner, or spouse
becomes a legal guardian.

         (b)     Paid Parental Leave Program. Effective January 1, 2021, a faculty member shall
be provided with up to eight (8) weeks of paid parental leave for the birth or adoption of a child
or the initial placement of a child in the foster care of the employee. Employees may also use
their personal accrued leave, unpaid leave, or a combination of paid and unpaid leave so long
as the total parental leave period, including the paid parental leave does not exceed a total of
six (6) calendar months. For faculty within their first twelve (12) months of employment, they
may use up to 8 weeks of additional advanced leave if they have fewer than 320 hours of
accrued paid time off. Faculty are immediately eligible for these paid parental leave benefits.
They must be used within twelve (12) months of the birth or placement of a child and can only
be used once every twenty-four (24) months. Faculty who have an advanced leave balance


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associated with the previous parental leave policy will have the remainder of their advanced
leave balance forgiven.

       (c)     The period of parental leave shall be determined by the faculty member in
consultation with the University. Upon approval by the University, the dates and other
conditions of the leave shall be provided to the faculty member in writing.

       (d)     At the end of the approved parental leave, a faculty member may request a part-
time leave for one (1) year. The University shall grant such request, unless it determines that
granting such leave would be inconsistent with the best interests of the University. If a faculty
member plans to use a combination of accrued paid leave and unpaid leave, such request shall
include the specific periods for each type of leave requested.

       (e)    Any illness caused or contributed to by pregnancy shall be treated as a
temporary disability, and the faculty member shall be allowed to use accrued paid time off or
medical leave account time when such temporary disability is certified by a health care
provider.

       (f)     During the terms of this agreement, either party may elect to re-open article
21.7(b) for negotiations.

21.8    Leaves Due to Illness or Injury. Illness or injury is defined as any physical or mental
impairment of health, including such an impairment proximately resulting from pregnancy,
which does not allow a faculty member to fully and properly perform the duties of the faculty
member position. When a faculty member’s illness or injury may be covered by the Americans
with Disabilities Act, the provisions of Public Law 101-336 shall apply.

21.9     Paid Time Off (PTO). PTO is provided to leave accruing faculty to help balance work and
personal life. PTO must be accrued before being taken.
        (a)     Accrual of Paid Time Off (PTO)
                (1)    A full-time 10 and 12-month faculty member shall accrue ten (10) hours
of PTO for each biweekly pay period, or the number of hours directly proportionate to the
number of days worked during less than a full-pay period. A maximum of 480 PTO hours may be
accrued. Any hours in excess of 480 shall be transferred to the employee’s medical leave
account bi-weekly. A part-time 10 and 12-month faculty member shall accrue PTO at a rate
directly proportionate to their FTE.
                (2)    A full-time 9-month faculty member and P.K. Yonge Developmental
Research School faculty member shall accrue four (4) hours of PTO for each biweekly pay
period, or the number of hours directly proportionate to the number of days worked during less
than a full-pay period. A maximum of 480 PTO hours may be accrued. Any hours in excess of
480 shall be transferred to the employee’s medical leave account bi-weekly. A part-time 9-
month faculty member and P.K. Yonge Developmental Research School faculty member shall
accrue PTO at a rate directly proportionate to their FTE.


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               (3)    PTO leave-accruing faculty must accurately reflect hours worked and type
of leave used. Employees must report all leave used, to include leave without pay, within the
pay period in which the leave was used. If an employee is not able to report time within the pay
period in which the leave is used, the leave must be reported before the end of the following
pay period.

       (b)   Types of Paid Time Off (PTO).
             (1)     Planned PTO is scheduled leave that is taken after approval is received
from the employee’s immediate supervisor.
             (2)     Unplanned PTO is unscheduled or unexpected leave that is not pre-
approved.

         (c)    A continuous period of PTO commences with the first day of absence and
includes all subsequent days until the faculty member returns to work. Saturdays, Sundays, and
official holidays observed by the State shall not be counted unless the faculty member is
scheduled to perform services on such days. During any seven (7) day period, the maximum
number of days of PTO charged against any faculty member shall be five (5).

       (d)     Certification. Employees may be required to submit documentation from a
health care provider:
               (1)     For four (4) or more consecutive unplanned workdays.
               (2)     When employees call in sick after they have requested and been denied
Planned PTO.
               (3)     When a pattern of absences is documented and the faculty member is
absent without the supervisor’s knowledge or approval.

       (e)      Transfer of Credits.
                (1)    The University maintains reciprocal arrangements with certain
universities and state agencies that permit new faculty members to transfer up to 80 hours of
paid time off. Such election shall be made within thirty-one (31) days of employment.

       (f)      Payment for Unused Paid Time Off (PTO).
                (1)    Upon termination from a 10 and 12-month faculty position, the
University shall pay the faculty member for up to a lifetime maximum of three hundred fifty-
two (352) hours of unused paid time off at the calendar-year rate the faculty member was
accruing as of the faculty member’s last day of work.
                (2)    Upon entering into the Deferred Retirement Optional Program (DROP),
available to faculty enrolled in the State of Florida Pension Plan, a 10 and 12-month faculty
member may elect to be paid up to the maximum payment allowed for the faculty member’s
unused paid time off. Such payment, along with any additional payment to be received upon
separating from the University (end of DROP), shall not exceed the maximum payment
associated with the faculty member’s established pay plan upon entering DROP.
                (3)    Upon layoff, a 10 and 12-month faculty member shall be paid for up to
three hundred fifty- two (352) hours of unused paid time off. For faculty members who are re-

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employed by the University within three hundred sixty-five (365) days after a formal layoff, all
unused vacation leave PTO shall be restored to the faculty member, provided the faculty
member requests such action in writing and repays the full amount of any leave payment
received at the time of layoff.
               (4)     In the event of the death of a 10 and 12-month faculty member, payment
for all unused PTO at the time of death shall be made to the faculty member’s estate.

21.10 Medical Leave Account. The medical leave account is designed to provide employees
with access to leave for extended use in the event of a serious medical condition as defined by
the Family Medical Leave Act of 1993.
       (a)     Effective January 1, 2021, all hours currently in the employee’s sick leave
account will be converted to the medical leave account with the exception of eighty (80) hours
which will be transferred into the employee’s paid time off account.

       (b)     Uses of Medical Leave Account:
               (1)     Subsequent time away from work following the eight (8) weeks of
parental leave, up to a total away of six (6) months.
               (2)     To care for employee’s own serious medical condition or the serious
medical condition of an immediate family member.

       (c)      Medical Certification. Medical certification from a health care provider will be
required if an employee is accessing their medical leave account for their own serious medical
condition or the serious medical condition of an immediate family member. The University
reserves the right to request a second opinion from a healthcare provider if there is reason to
doubt the validity of the medical certification.

       (d)     Payment for Unused Medical Leave Account Time.
               (1)      Upon separation, a faculty member with ten (10) or more years of
creditable service who was hired prior to April 1, 2010, shall be paid for one-fourth of unused
medical leave account time up to a total of four hundred eighty (480) hours. A faculty member
hired on or after April 1, 2010, shall not be paid for any unused medical leave account time
upon separation and such leave shall be forfeited.
               (2)      Upon layoff, a faculty member with ten (10) or more years of State
service who was hired prior to April 1, 2010, shall be paid for unused medical leave account
time as described above. For a faculty member who is re-employed by the university in a leave-
accruing position within three hundred sixty- five (365) days following layoff, all unused medical
leave account time shall be restored to the faculty member, provided the faculty member
requests such action in writing and repays the full amount of any lump sum leave payments
received at the time of layoff.
               (3)      All payments for unused medical leave account time shall be made in
lump sum and shall not be used in determining the average final compensation of a faculty
member in any State administered retirement system. A faculty member shall not be carried on
the payroll beyond the last official day of employment.


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                (4)   In the event of the death of a faculty member with ten (10) or more years
of State service who was hired prior to April 1, 2010, one-fourth of unused medical leave
account time up to a total of four hundred eighty (480) hours shall be paid to the faculty
member’s estate.

21.11     Other Types of Medical Leaves.
        (a)     Additional Medical Leave. Up to six (6) months of leave may be granted to an
eligible faculty member for the faculty member’s serious personal health condition or when the
faculty member needs to care for an immediate family member with a serious health condition
as defined by the FMLA. Medical certification must be provided.
                (1)    Paid Medical Leave. After 12 months of continuous service, a faculty
member is eligible for eight (8) weeks of paid medical leave. Prior to accessing the paid medical
leave, the faculty member must first use eighty (80) hours of PTO. This leave may be used in
one-week increments and is available once every twenty-four (24) months.
                       a.      During the terms of this agreement, either party may elect to re-
open article 21.11(a) for negotiations.
                (2)    The faculty member shall use accrued paid leave during any additional
medical leave. Thereafter, the medical leave shall be unpaid leave. This leave may be extended
up to one (1) year for extenuating circumstances.

        (b)     Workplace Injury Leave under the Workers’ Compensation Law. Workplace
injury leave is a benefit available to leave-accruing employees only and shall be used to
compensate these employees for a portion of their wages lost due to work-related illnesses or
injuries compensable under Florida’s Workers Compensation Law. Faculty members will be
provided with the same benefits as other employees. Employees who are unable to work due
to compensable workers’ compensation injuries and are receiving salary indemnification
benefits shall not be eligible for holiday pay or accrual of special compensatory leave.

        (c)      Compulsory Medical Leave.
                 (1)    Placing Faculty Member on Compulsory Medical Leave.
                        a.      If a faculty member is unable to perform assigned duties due to
illness or injury, medical certification may be required to affirm the faculty member’s ability to
carry out one or more of the essential functions of the job within the meaning of the Americans
with Disabilities Act (ADA). The health care provider may be chosen and paid by the University
or chosen and paid by the faculty member as long as such provider is acceptable to the
University. If the University agrees to accept the faculty member’s choice of a health care
provider, it may not then require another University-paid examination.
                        b.      The health care provider shall submit to the University the
appropriate medical certification(s).
                        c.      If the medical examination confirms that the faculty member is
unable to perform assigned duties, the University shall place the faculty member on
compulsory medical leave.
                 (2)    Conditions of Compulsory Medical Leave.


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                        a.      Written notification to the faculty member placing the faculty
member on compulsory medical leave shall include the duration of the compulsory leave period
and the conditions under which the faculty member may return to work. These conditions may
include the requirement of the successful completion of, or participation in, an appropriate
program of rehabilitation or treatment, and follow-up medical certification(s) by the health care
provider, as appropriate.
                        b.      The compulsory medical leave period may be paid leave or unpaid
leave.
                        c.      Unless agreed otherwise, the University shall return the faculty
member to same or equivalent position in the same classification and work location, including
to the faculty member’s previous duties, if possible, or to equivalent duties, upon completion of
the approved leave period and upon receipt of a current medical certification that the faculty
member is able to perform assigned duties.
               (3)      Duration. Compulsory leave shall be for a period not to exceed the
duration of the illness or injury or one (1) year, whichever is less.
               (4)      Failure to Complete Conditions of Compulsory Leave or Inability to Return
to Work. If the faculty member fails to fulfill the terms and conditions of a compulsory leave
and/or is unable to return to work and perform appropriate assigned duties at the end of a
leave period, the University shall advise the faculty member, as appropriate, of the Florida
Retirement System’s disability provisions and application process, and may, based upon the
University’s needs:
                        a.      offer the faculty member part-time employment or modified
duties;
                        b.      place the faculty member in unpaid leave status in accordance
with Section 21.12 or extend such status; or
                        c.      release the faculty member from employment, notwithstanding
any other provisions of this Agreement.

21.12 Administrative Leaves. Faculty members provided paid administrative leave shall not
exceed forty (40) hours during the work week. Administrative leave shall not be accrued and
shall also not affect accrued leave balances.
         (a)    Jury Duty and Court Appearances.
                (1)     A faculty member who is summoned as a member of a jury panel or
subpoenaed as a witness in a matter not involving the faculty member’s personal interests,
shall be granted leave with pay and any jury or witness fees shall be retained by the faculty
member; leave granted hereunder shall not affect a faculty member’s PTO balance.
                (2)     An appearance as an expert witness for which a faculty member receives
professional compensation falls under ARTICLE 26, OUTSIDE ACTIVITY AND CONFLICT OF
INTEREST, relative to outside employment and conflict of interest. Such an appearance may
necessitate the faculty member requesting PTO or may necessitate the faculty member seeking
an adjustment of the work schedule.
                (3)     If a faculty member is required, as a direct result of the faculty member’s
employment, to appear as an official witness to testify in the course of any action as defined in


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Section 92.142(2), Florida Statutes, such duty shall be considered a part of the faculty
member’s job assignment, and the faculty member shall be paid per diem and travel expenses.
              (4)      A faculty member involved in personal litigation during work hours must
request PTO or must seek an adjustment to the work schedule.

        (b)    Leave Pending Investigation. The Office of Human Resource Services in
conjunction with the Office of the Provost may place a faculty member on leave pending
investigation when there is reason to believe that a faculty member’s actions or presence on
the job would adversely affect the orderly conduct and processes of the University and/or
jeopardize the safety or welfare of the faculty member, colleagues, other employees or
students. The leave pending investigation shall commence when the faculty member is
provided with a written notice. The leave shall be with pay, with no reduction of accrued leave.

       (c)     Leaves for military service, Florida Disaster Volunteer, Civil disorder or disaster,
disabled veterans, athletic competition and Official Emergency Closings shall be in accordance
with University of Florida regulations and policies and federal and state law.

21.13    Personal Leave.
        (a)    P.K. Yonge Faculty Members. A faculty member employed at the P.K. Yonge
Developmental Research School may be granted five (5) days (non-cumulative) of leave per
year for emergencies or for other personal reasons.
               (1)     Except in the case of emergency, the faculty member shall provide at
least two (2) days’ notice of the intended leave.
               (2)     Faculty members shall not be required to give reasons for personal leave
except that the leave is for personal reasons.
               (3)     One (1) day shall be administrative leave and four (4) days shall be taken
from PTO.
               (4)     If a faculty member requests personal leave on a day immediately
preceding or following a holiday or vacation period, they must request leave at least ten (10)
days in advance.
                       a.       Administration will determine if coverage is available for a
requested leave date immediately preceding or following a holiday or vacation period.
                       b.       If the day preceding or following a holiday or vacation period is
categorized as a Teacher Workday, faculty may submit a request to use a personal leave day
pending approval from administration. If a leave day is used during a Teacher Workday, faculty
are expected to meet the published deadlines for grade entry and parent conferences.

       (b)      Twelve-month Faculty Members. Faculty members who are normally employed
under fully scheduled workdays shall earn four (4) personal leave days in proportion to their
FTEs per fiscal year in addition to the University holidays.
                (1)     Such personal leave days shall be credited to eligible faculty members on
December 1 of each year.



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               (2)     Personal leave days must be taken in full-day increments (that is, as an 8-
hour day for full-time faculty members, as a 4-hour day for .50 FTE faculty members) on
business days between the dates December 26 and December 31, inclusive.
               (3)     Essential personnel who are required to work between December 26 and
December 31 shall have their schedules adjusted to provide equivalent paid leave time within
December 2 and June 30 of the current fiscal year based on departmental need.
               (4)     Cash payment is not provided for unused personal leave days. Any
unused personal leave days expire at the end of each fiscal year.

21.14    Unpaid Leave.
        (a)    Granting. Upon request of a faculty member by completing the Extended Leave
of Absence form, the University shall grant a leave without pay for a period not to exceed one
(1) year unless the University determines that granting such leave would be inconsistent with
the best interests of the University. Such leave may be extended upon mutual agreement.

      (b)     Retirement Credit. Retirement credit for such periods of unpaid leave shall be
governed by the rules and regulations of the Division of Retirement and the provisions of
Chapter 121, Florida Statutes.

        (c)     Accrual of Leave and Holiday Pay. While on unpaid leave, the faculty member
shall retain accumulated PTO, but shall not accrue PTO nor be entitled to holiday pay.

       (d)      Benefit Premiums. Faculty members on unpaid leave will be responsible for the
delivery of the entire cost of the employee portion of benefit premiums to the vendors unless
they use accrued paid leave as provided in subsection 21.14(e) below.

        (e)    A faculty member may combine unpaid and paid leave as follows:
               (1)     Notwithstanding the provisions of Section 21.9 regarding the use of PTO,
a faculty member may use any type of accrued paid leave in an amount necessary to cover the
faculty member’s contribution to the State insurance program, other UF-sponsored insurance
programs, and for other expenses.
               (2)     Normally the use of accrued paid leave during a period of unpaid leave
for medical reasons shall be approved for up to six (6) months, but may be approved for up to
one (1) year for the serious health condition of the faculty member or a member of the faculty
member’s immediate family.
               (3)     The employer contribution to the State insurance program shall continue
for the corresponding payroll periods.
               (4)     A faculty member’s request for the use of accrued paid leave during a
period of unpaid leave shall be made at the time of the faculty member request for the leave.
Such request shall include the amount of accrued paid leave the faculty member wishes to use
during the approved period of unpaid leave. If circumstances arise during the approved leave
that causes the faculty member to reconsider the combination of leave with and without pay,
the faculty member may request approval of revisions to the original approval.


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        (f)     Salary Adjustment. While on such leave, a faculty member shall also be eligible
to participate in any special salary incentive programs. The salary of a faculty member returning
from unpaid leave shall be adjusted to reflect all non-discretionary increases distributed during
the period of leave as well as any increases earned from salary incentive programs.

21.15 Compensatory Leave. Regular compensatory leave shall not be transferred to an
employee transferring to a faculty position. As a result, each supervisor shall make a reasonable
effort, whenever practical, to allow an employee to use regular compensatory leave credits as
requested before that employee transfers to a faculty position.




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                                          ARTICLE 22
                                    INTELLECTUAL PROPERTY

22.1   Definitions. The following definitions shall apply in ARTICLE 22:
       (a)      “Intellectual property” means any work or invention.

       (b)      “Faculty member” or “creator” means a member of the bargaining unit who
creates a work or invention. “Creator” shall also mean other University personnel who create a
work or invention.

       (c)       A “work” means any copyrightable material, that is, any material fixed in a
tangible medium of expression from which it can be perceived, reproduced, or otherwise
communicated, either directly or with the aid of a machine or device. Such copyrightable
material includes, but is not limited to, such things as printed material, computer software or
databases, audio and visual material, circuit diagrams, architectural and engineering drawings,
lectures, musical or dramatic compositions, choreographic works, pictorial or graphic works,
and sculptural works. Instructional material, as defined in Section 22.1(f), below, is included in
the definition of a “work.” A “work” does not include any patentable material, which
patentable material is encompassed within the definition of an “invention” in Section 22.1(d),
below.

        (d)      An “invention” means any discovery, invention, process, composition of matter,
article of manufacture, design, model, technological development, biological material, strain,
variety, culture of any organism, or portion, modification, translation, or extension of these
items, and any mark and/or directly related know-how used in connection with these items. It
includes, but is not limited to, such things as new or improved devices, systems, circuits,
chemical compounds, or mixtures and directly related know-how.

        (e)     “Instructional technology,” as used in this Article, means the form of an
“invention” that is substantially new technology and is used to deliver instructional material, as
distinct from the application of existing technology to deliver such instructional material.

        (f)      “Instructional material,” as used in this Article, means the form of a “work” (i.e.,
copyrightable) that includes materials delivered through the use of existing or new technology
such as video and audio recordings, motion pictures, film strips, photographic and other similar
visual materials, live video and audio transmissions, computer programs, computer-assisted
instructional course work, programmed instructional materials, three-dimensional materials
and exhibits, web pages, and combinations of the above materials that are prepared or
produced in whole or in part by a faculty member and that are used to assist or enhance
instruction.

       (g)       “Independent efforts” with regard to a work means that the ideas for the work
came from the faculty member and the work was not made with the use of University support.
The University is not liable for any opinions expressed in such works.

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       (h)      “University support” means the use of University funds or more than the
incidental use of University personnel, facilities, equipment, materials, or technological
information in the creation of a work or invention and includes such support provided by
outside sponsors when it is arranged, administered, or controlled by the University.

       (i)      “Distance learning” means learning in a course that is rarely or never conducted
with the instructor and the student in the same general physical space simultaneously.

        (j)      “Gross revenue” means (1) proceeds from the sale, lease, transfer, or other
conveyance of any interest in an invention or work owned by the University and (2) license
issue fees, option fees, running royalties, minimum royalties, equity and other ownership
interests, and any other remuneration paid to the University by a licensee of an invention or
work, except that such equity or other ownership interests, or portion thereof, shall not be
considered “gross revenue” unless and until the equity or other ownership interests, or portion
thereof, are sold or liquidated by the University.

       (k)      “Development expenses” means all monies paid by the University and UFRF for
goods and services to protect, develop, and/or enhance the marketability or any other aspect
of a work or invention, including, but not limited to, patent-filing fees, intellectual property
protection and patent enforcement and defense expenses, marketing expenses, patent
maintenance, consulting fees, prosecution expenses, expenses incurred in dealing with equity
and other ownership interests, travel, attorneys’ fees, commercialization expenses, and
research costs. Not included as development expenses are salaries and general operating
expenses of University administrative personnel.

        (l)    “Net adjusted income” means gross revenues less any foreseeable
development expenses University deems necessary to defend or maintain a work or invention
and its improvements.

       (m)     “Program” means the specific University research program within which an
invention or work was developed.

        (n)      “Office of Technology Licensing” or “OTL” means the designee responsible for
all matters relating to patents, trademarks, and copyrights as related to the identification,
protection, and commercialization of works and inventions owned by the University.

       (o)      “UFRF” means the University of Florida Research Foundation, Inc., a direct
support, not-for-profit organization authorized by the Trustees to promote, encourage and
provide assistance to the research activities of University faculty, staff, and students, primarily
through the facilitation of technology transfer.

       (p)      “Sponsored agreement” means any award from an outside sponsor to support

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research or any other University activity, whether such support is through a grant, contract,
cooperative agreement, or any other means.

22.2    Policy.
        (a)      Statement of Principles. Research is undertaken to create new knowledge, to
stimulate a spirit of inquiry, to solve problems, and to educate students. Adequate recognition
of and incentive to potential inventors through the sharing of the financial benefits resulting
from the transfer and development of patentable inventions and other marketable forms of
intellectual property encourages the creation of such intellectual property and serves the public
interest. The research and teaching missions of the University always take precedence over
patent considerations. While the University recognizes the benefits of patent development, it is
most important that the direction of University research not be established or unduly
influenced by patent considerations or personal financial interests.

       (b)       Authority and Responsibilities. Section 1004.23, Florida Statutes, and the Board
of Governors’ delegation to the University of Florida Board of Trustees, authorizes the
University to establish regulations and procedures regarding the works and inventions of its
personnel, including regulations and procedures regarding patents, copyrights, and trademarks.
The University has the authority to agree to the terms of this Article, and any regulations and
procedures applied to in-unit faculty shall be consistent with the terms of this Article.

        (c)      Faculty Authority and Responsibilities. Intellectual property created, made, or
originated by a faculty member shall be governed by the terms of this Agreement, including but
not limited to this Article and ARTICLE 26, OUTSIDE ACTIVITY AND CONFLICT OF INTEREST. The
faculty member shall also be governed by the University implementing procedures concerning
works and inventions of University personnel unless the procedure is inconsistent with the
terms of this Agreement.

         (d)      When a faculty member is acting in the capacity of Principal Investigator of a
research project, the faculty member shall be granted the right, within the conditions set forth
in this Article and in any applicable sponsored agreement and federal and state laws and
regulations and with the proper administrative approval, to raise resources from sponsors, shall
be responsible for properly utilizing the resources obtained from the sponsors, and for
executing the sponsored research.

22.3    Rights to Working Papers. Except as otherwise required by the Florida Sunshine Law
and other applicable federal and state laws, federal and state regulations, or the terms of any
applicable sponsored agreements, faculty members shall have the right to control of their
personal correspondence, notes, unpublished drafts, and other working papers.

22.4    Works.
        (a)     Faculty Exclusive Ownership Rights.
               (1)     A work made in the course of independent efforts is the property of the
faculty member, who has the right to determine the disposition of such work and the revenue

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derived from such work.
                (2)      In accordance with academic tradition, and unless required by federal
and state laws, federal and state regulations, or the terms of any applicable sponsored
agreements, the University shall not assert rights to the following works:
                        a.       Scholarly or artistic works, regardless of their form of expression,
for which the intended purpose is to disseminate the results of academic research, scholarly
study, or artistic expression, such as books, monographs, articles, bibliographies, poems,
novels, dramatic works, pictorial or sculptural works, films, videotapes, musical compositions,
or other scholarly or artistic expressions in any medium;
                        b.       Instructional material, except if the University either (1)
expressly commissioned the faculty member in writing to produce, or participate in the
production of, the work with University funds for a specific University purpose; or (2) expressly
assigned the faculty member in writing to produce, or participate in the production of, the
work. The University may grant a non-exclusive license to the faculty member who is the author
of instructional materials for the use of that portion of the materials. The non-exclusive license
must be negotiated as set forth in writing and must be limited to noncommercial educational
uses. That such a license is not granted shall not be deemed a violation of this Collective
Bargaining Agreement.
                        c.       Works made without University support, as defined in Section
22.1(h), above. If the terms of a sponsored agreement or applicable federal and state laws and
federal and state regulations require publication of articles in specified ways or in specified
places, the terms of this subsection 22.4(a)(2) shall not be construed to relieve the faculty
member of these publication obligations.

        (b)      Works Owned by the University. The following works are owned by the
University. The faculty member shall share in the proceeds from such works, pursuant to
Section 22.7(a):
                (1)      Instructional material if the University has either (a) expressly
commissioned the faculty member in writing to produce, or participate in the production of,
the work with University funds for a specific University purpose; or (b) expressly assigned the
faculty member in writing to produce, or participate in the production of, the work. The
creation, use, and revision of such works shall be governed by Section 22.4(f).
                (2)      Works whose authorship cannot be attributed to one or a discrete
number of authors but rather result from simultaneous or sequential contributions over time
by multiple faculty, staff, and/or students, such as software tools developed and improved over
time by multiple faculty, staff, and/or students. However, the mere fact that multiple
individuals have contributed to the creation of a work shall not cause the work to become a
work owned by the University.
                (3)      Any other works made with University support, as defined in Section
22.1(h), above.

       (c)     Disclosure. Upon the creation of a work and prior to any publication, the faculty
member shall disclose to the Office of Technology Licensing any work that was made in the
course of University-supported efforts, together with an outline of the project and the

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conditions under which it was done. However, consistent with the provisions of Section
22.4(a)(2), faculty members need not disclose works referenced in subsections 22.4(a)(2)a–
22.4(a)(2)c, immediately below, unless the work raises a possible conflict of interest pursuant
to ARTICLE 26:
                (1)      Books, monographs, articles, bibliographies, poems, novels, dramatic
works, pictorial or sculptural works, films, videotapes, musical compositions, or other scholarly
or artistic expressions in any medium; and similar works, the intended purpose of which is to
disseminate the results of academic research or scholarly work;
                (2)      Instructional material except for works described in Section 22.4(b)(1);
or
                (3)      Works made without University support, as defined in Section 22.1(h),
above.
                (4)      Exception: Even if a work is not required to be disclosed under this
Article, the work must still be disclosed pursuant to ARTICLE 26 if its production, dissemination,
or use raises a possible conflict of interest.

        (d)      Review. The Office of Technology Licensing shall assess the relative equities of
the faculty member and the University in the work. If the University wishes to assert its interest
in the work, the Office of Technology Licensing shall inform the faculty member as soon as
practicable but in no case later than sixty (60) days after disclosure to the OTL.

        (e)      The allocation of proceeds resulting from works owned by the University shall
be as set forth in Section 22.7(a) below.

        (f)       Creation, Use, and Revision of Certain Works Owned by the University. With
respect to any work that represents instructional materials owned by the University pursuant to
Section 22.4(b)(1), the terms of any agreement entered into by the University concerning the
work must be consistent with the terms of any sponsored agreement supporting the creation of
the work and applicable laws.
                 (1)      The University shall make reasonable efforts to negotiate the terms
listed as a, b, and c below in any agreement concerning the work with any third party, including
but not limited to any licensee, assignee, or publisher of the work, insofar as such terms are
consonant with the terms of any sponsored agreement supporting the creation of the work and
applicable laws. That any or all of these terms are not included in the agreement with the third
party shall not be deemed a violation of this Collective Bargaining Agreement.
                        a.       That the faculty member be identified as an author of the work,
including, if the work is materially altered at the time of its assignment, initial licensing, or initial
publication, the right to decide whether to allow the author’s name to be displayed in
association with the work;
                        b.        That the faculty member may freely reproduce the work
without paying any licensing fees to use in academic teaching, research, or university service
whether at the University of Florida or another tax-exempt academic or research institution;
and
                        c.       That the faculty member may freely use the work in pursuit of

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one’s profession, such as during expert witness testimony or in consulting.
               (2)       Other rights and protections for the faculty member may be agreed to
by mutual consent of the faculty member and the University, provided that they are consonant
with the terms of the UFBOT-UFF Collective Bargaining Agreement, any sponsored agreement
supporting the creation of the work, any agreement, license, assignment, publishing or other
agreement entered into by the University concerning the work, and applicable laws. Such rights
granted to the faculty member may include:
                       a.       borrowing portions of the work for use in compilations, other
composite works, or new projects;
                       b.       making derivative works, such as translations, videotaped
versions, and film scripts;
                       c.       adding to the work or updating the content of the work; and
                       d.       approving decisions related to the publishing or display of new
versions of the creator’s work or new works based on the creator’s work.

       (g)      Release of Rights. The faculty member shall assist the University in obtaining
releases from persons appearing in, or giving financial or creative support to, the development
or use of works in which the University has asserted an interest.

       (h)      Reconveyance of Copyright to the Faculty Member.
               (1)       When copyright is assigned to the University in full or in part because of
the provisions of this Article, the creator of the copyrighted material may request of the
Director of the Office of Technology Licensing that ownership be returned to the faculty
member.
               (2)       Such request may be granted if it does not
                       a.         violate any legal obligations of or to the University;
                       b.         limit appropriate uses of the materials by the University;
                       c.         create a conflict of interest for the faculty member; or
                       d.         otherwise conflict with specific goals of the University.
               (3)       Such request shall also be granted if the faculty member establishes that
the University has willfully misrepresented to the faculty member’s substantial detriment the
necessity or cost of development expenses.

22.5    Instructional Technology and Related Instructional Materials.
        (a)      The University and UFF recognize the increasing development and use of
technology, and related instructional materials, such as videotapes, interactive television, and
computer software, to support teaching and learning and to enhance the fundamental
relationship between the faculty member and the student.
                (1)     Instructional technology may be used to deliver distance learning.
                (2)     The University and UFF affirm that instructional technology and related
instructional materials should be used to the mutual benefit of the University and the faculty
member.
                (3)     Development of new technology for use in delivering instructional
material is an invention covered by Section 22.6, and is distinguished from the use of existing or

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new technology to deliver instructional material, which are works covered by Section 22.4.

        (b)      When the University assigns a faculty member to develop or provide instruction
through the use of instructional technology or instructional material specifically designed to be
used with such instructional technology, including but not limited to distance learning, the
University shall provide to such faculty member:
               (1)      Training and resources to support the assignment for adaptation of
instructional material to instructional technology; and
               (2)      Additional compensation if the assignment is an overload assignment
and/or adjustment in a faculty member’s assignment.

        (c)       Property Rights and Releases. Provisions governing the intellectual property
rights of faculty and releases to be obtained when the University has asserted an interest in
instructional materials constituting a work are contained in Section 22.4, above.

       22.6    Inventions.
       (a)      Faculty Exclusive Ownership Rights.
               (1)      An invention made outside the field or discipline in which the faculty
member conducts research, teaching, and/or service activities for the University (which shall
include any enhancements, adaptations, or improvements of inventions previously disclosed, or
that were required to be disclosed, hereunder) and for which no University support has been
used is the property of the faculty member, who has the right to determine the disposition of
such invention and revenue derived from it.
               (2)      However, the faculty member and the University may agree that the
patent for such invention be pursued by the University and the proceeds shared.

        (b)     University-Supported Efforts. An invention that is made by using University
support, as defined in Section 22.1(h), is the property of the University. In addition, an
invention made within the field or discipline in which the faculty member conducts research,
teaching, and/or service activities for the University (which shall include any enhancements,
adaptations, and improvements of inventions previously disclosed or that were required to be
disclosed hereunder) is the property of the University. The faculty member shall share in the
proceeds from any invention that is the property of the University pursuant to this Article.

       (c)      Disclosure.
               (1)      A faculty member shall fully disclose to the Office of Technology
Licensing any invention that the faculty member develops, makes or reduces to practice while a
faculty member of the University of Florida.
                       a.       The disclosure shall include an outline of the project and the
conditions under which it was conducted.
                       b.       If the faculty member wants the University to attempt to patent
the invention, the faculty member shall explain why it has sufficient commercial potential to
warrant the University investment in the patent process.
               (2)      With respect to inventions made during the course of an approved

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outside activity when the University has specifically waived its rights to any inventions as part of
their approval of the outside activity under Article 26.4, the faculty member may delay such
disclosure, when necessary to protect the outside employer’s interests, until the outside
employer has made the decision whether to seek a patent.

       (d)       Review.
                (1)      If the University wishes to assert its interest in the invention, the Office
of Technology Licensing shall inform the faculty member in writing as soon as practicable but in
no case later than one hundred twenty (120) days after the faculty member’s disclosure to the
OTL.
                        a.       If the faculty member desires a preliminary, non-binding
assessment of the University interest, the faculty member shall make a written request for such
assessment at the time of filing the disclosure.
                        b.       Such preliminary assessment shall be provided within sixty (60)
days, and such assessment shall not be binding upon OTL or the University.
                (2)      The OTL shall conduct an investigation that shall assess the respective
equities of the faculty member and the University in the invention, and determine its
importance and the extent to which the University should be involved in its protection,
development, and promotion.
                (3)      The OTL shall determine whether sponsored agreements require the
University to take ownership of the invention.

        (e)       If the University asserts an interest in an invention and the faculty member
disputes the University interest, the faculty member may seek to resolve the matter pursuant
to ARTICLE 28, GRIEVANCE PROCEDURE AND ARBITRATION. During the pendency of the
grievance, the invention will be assigned to the University which will take appropriate steps to
protect it. If the grievance and any appeal or other legal proceedings end with a determination
that the faculty member is the owner of the invention, the University shall transfer ownership
of the invention to the faculty member and none of the costs incurred by the University in the
dispute or for the protection of the invention prior to the transfer shall be assessed against the
faculty member.

       (f)       Release of Rights.
                (1)      In the event a sponsor under a sponsored agreement has been offered
the option to apply for the patent to an invention or other rights in an invention, the University
will use its good offices in an effort to obtain the sponsor’s decision regarding the exercise of
such rights within the period set forth in the sponsored agreement.
                (2)      At any stage of making the patent applications, or in the commercial
application of an invention, if the University has not otherwise assigned to a third party the
right to pursue its interests, the University may elect to withdraw from further involvement in
the protection or commercial application of the invention. At the request of the faculty
member in such case, and subject to any applicable sponsored agreement or law, the University
shall transfer the invention rights to the faculty member, in which case the invention shall be
the faculty member’s property and none of the costs incurred by the University shall be

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assessed against the faculty member unless they are development expenses deducted from
gross revenues received by the University prior to the transfer.
                (3)       All assignments or releases of inventions, including patent rights, by the
University to the faculty member shall contain the provision that such invention, if patented by
the faculty member, shall be available royalty-free for governmental purposes of the State of
Florida and in connection with federally-sponsored research, the United States, and for
teaching and research purposes for all tax-exempt educational and research institutions, unless
otherwise agreed in writing by the University.
                (4)       If the University ownership interest in an invention is waived, the
creator must disclose the potential conflict of interest created by the creator’s ownership of the
invention when proposing research to be conducted using University resources that could
reasonably appear to influence the financial value of the invention. In such case the University
through the creator and appropriate administrators, may establish the means to manage any
conflict of interest that exists in conducting the research.

        (g)      It is the policy of the University that in general research results should be
publishable, and publication of such results in appropriate venues is encouraged. However, if
the publication of research results may reveal an invention in which the University has an
interest, faculty members must ask OTL for advice on how and when to publish the results in
order that patent protection for the invention is not compromised.

        (h)       Voluntary Surrender of Patent Interests. A faculty member and the University
may agree to surrender any interests that the faculty member and the University might have to
any part of any prospective invention to any outside organization, if the faculty member and
the University deem such surrender to be in the best interests of the University and if such
surrender is allowable under applicable law and sponsored agreements and such surrender
does not impair the intellectual property rights of other employees, students, and other third
parties. All faculty members and other University employees involved must agree to the
surrender of the patent rights subject to the concurrence of the University in each case.

22.7    Division of Proceeds.
        (a)      With regard to any work or invention owned by the University and subject to
the requirements of any applicable sponsored agreements, the net adjusted income shall be
distributed as follows:
                (1)     Schedule A: Up to $500,000:
                              40% to the individual creator(s) 10% to the University program(s)
                              7.5% to the creator(s)’s department
                              7.5% to the creator(s)’s college
                              35% to the University
                (2)     Schedule B: $500,000 or over:
                              25% to the individual creator(s)
                              10% to the University program(s)
                              10% to the creator(s)’s department
                              10% to the creator(s)’s college

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                                45% to the University
                 (3)      Notwithstanding the above, all net adjusted income from the University
sale or liquidation of equity or other ownership interests originally paid to the University by a
licensee in lieu of cash royalties or license fees shall be distributed according to Schedule B. The
decision as to when to sell, exchange or convert equity interests resides with the University in
its sole discretion.
         (4)              The division of proceeds set forth in this Section 22.7(a) does not apply
to any works or inventions that are the subject matter of any license agreement or other
transaction entered into by the University or UFRF before July 15, 1997, and the proceeds in
such cases shall continue to be distributed pursuant to the University of Florida Patent Policy
dated February 1993 or any previous agreement entered into by the creator and the University.

        (b)      Distributions of income shall be made semiannually on or before June 1 and
December 1 of each year.
                (1)      The University may, at its sole judgment, withhold or delay distribution
of any income if there is a foreseeable development expense yet to be incurred.
                (2)      In instances where funds are held because of foreseeable development
expenses or where expenses exceed revenue, an accounting of such shall be sent to the
creator’s department and college indicating the amounts received for the current six-month
period and the amount of the anticipated expense or deficit.
                (3)      Once expenses are known with certainty, any excess withholding shall
be distributed.

        (c)      Payments of the portion allocated to the creator(s) must be made to creator(s)
individually and cannot be assigned by the creator(s) to other parties or entities. The only
exception shall be that after a creator’s death, appropriate notification by the personal
representative of the creator’s estate, and court approval, if necessary, payment shall be made
to the creator’s heirs or devisees.

        (d)      In the event there are multiple creators for an invention or work, the creators’
share shall be divided equally among all creators unless the creators agree among themselves
to a different division.
                (1)       If the creators agree among themselves to a different split, OTL must be
notified in writing at least one month prior to the date of the first income distribution as to the
agreed upon division of income.
                (2)       The portions distributed to the academic units, which are the academic
units of the creator(s) at the time of the creation of the invention or work, shall be pro-rated
when more than one unit is involved.
                (3)        The University shall make the final decisions on the pro-ration of such
portions to academic units.

       (e)      In the case of licenses or other transactions involving multiple inventions or
works, the University shall resolve any potential conflicts concerning the applicable distribution
schedules after reviewing the technologies involved.

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        (f)      That portion allocated to the program (or programs) remains under the control
of the University. If there is more than one program in which the invention or work was
developed, the program portion will be pro-rated as determined by the University. If a creator
should leave the University, the portion allocated to the creator’s program shall be allocated to
that program as long as the program exists and consists of research in the same area as that
conducted by the creator prior to leaving the University. If the program ends, the portion
allocated to the program shall be allocated to the University. Any determinations regarding the
distribution of the program portion of net income shall be at the sole discretion of the
University.

22.8    Other Requirements.
        (a)      A faculty member and the University shall not commit any act that would tend
to defeat the University’s or the faculty member’s interest in a work or invention. The
University shall neither require nor pressure a faculty member to waive the faculty member’s
intellectual property rights, nor shall the University retaliate against a faculty member who
declines to waive or otherwise exercises intellectual property rights in accordance with this
Agreement as long as the intellectual property rights of the University, other employees of the
University, students, and other third parties are unimpaired or not at risk of impairment. Any
such waiver shall be in writing and signed by the faculty member.

        (b)       In accordance with recognized scientific research procedures and sponsored
agreement requirements, faculty members are required to record all research data and
information accurately and clearly and to keep all such data in a permanent and retrievable
form. In addition, with regard to a patentable invention, original laboratory data must be kept
for the life of the patent.

       (c)      Faculty members must securely store tangible property (such as biological
materials, chemical compounds, and computer discs) related to an invention or work to which
the University has asserted or may assert ownership rights.

       (d)     Faculty members who leave the University shall be permitted to copy their
laboratory notebooks and take the copies with them, or take samples of tangible property with
them, although they are required to maintain the confidentiality of the data contained within
the notebooks or the tangible property. The original notebooks and other research data will
remain at the University.

       (e)       The University and the faculty member shall document the terms of any such
transfer of tangible property.

22.9    Execution of Documents. Upon employment the faculty member shall be provided with
a copy of this Article and shall sign an agreement recognizing the terms of this Article.



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                                         ARTICLE 23
                                OTHER FACULTY MEMBER RIGHTS

23.1     Constitutional Rights of Faculty. Nothing in this Agreement shall be understood to
diminish the constitutional rights faculty members have as citizens of the United States or the
State of Florida, or to diminish the right of such faculty member to exercise those rights. Any
alleged violation of such rights shall not be subject to the grievance and arbitration procedure
of this Agreement, but shall be subject to vindication only by a court of competent jurisdiction.

23.2    Limitation on Personal Liability.
        (a)      If a faculty member is sued for an act, event, or omission which may fall within
the scope of Section 768.28, Florida Statutes, the faculty member should notify the General
Counsel’s office as soon as possible after receipt of the summons commencing the action in
order that the University may fulfill its obligation. Failure to notify the University promptly may
affect the rights of the parties.

       (b)       For information purposes, the pertinent language of Section 768.28(9), Florida
Statutes, is reproduced below, as follows:

No officer, employee, or agent of the State or of any of its sub-divisions shall be held personally
liable in tort or named as a party defendant in any action for any injury or damage suffered as a
result of any act, event or omission of action in the scope of her or his employment or function,
unless such officer, employee or agent acted in bad faith or with malicious purpose or in a
manner exhibiting wanton or willful disregard of human rights, safety or property.

23.3    Free University Courses.
        (a)      Full-time faculty members may enroll for up to six (6) credit hours of instruction
at the University per term (Fall, Spring, or Summer) without payment of tuition or fees, subject
only to the restrictions listed in subsections 23.3(a)(1) through 23.3(a)(4), below. Visiting faculty
members are excluded under this section, but faculty members who are on sabbaticals or on
professional development or grants-in-aid leave are included.
                (1)      To qualify for this benefit, the faculty member must have completed six
(6) months of continuous employment and be employed by the University on the date the
course begins. Faculty members with a principal place of employment outside of Alachua
County are eligible to apply for enrollment in up to six (6) hours of instruction per semester at
the state university in Florida closest to the place of employment.
                (2)      The following types of courses are excluded: thesis, dissertation,
internships, directed individual study, individual performance courses, non-credit courses, and
sponsored credit programs, off-book programs, and some distance education course offerings.
                (3)      If a faculty member enrolls for a course that meets during hours of the
faculty member’s regularly scheduled duties, all time taken during that period, including time
taken in traveling to and from classes, shall be charged to annual or compensatory leave or
leave without pay, unless the work schedule has been adjusted to accommodate the class,
subject to approval by the appropriate supervisor. Supervisors shall endeavor to rearrange the

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teaching schedules of faculty members who wish to take a class.
              (4)      In order for a course to qualify under this provision, the faculty member
must complete all required forms.

        (b)      A faculty member may attend any University course on a non-credit and space
available basis, subject to the instructor’s permission.

       (c)       The benefits under this section shall not be treated in accordance with the
University’s section 127 Plan.

23.4     The University shall provide faculty the same benefits it provides to all employees for:
tuition exchange benefits, parking, and bus service. The University shall consult with UFF prior
to making changes in these benefits.




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                                           ARTICLE 24
                                            SALARIES

24.1    Policy. The University and UFF agree that salary is an important factor in the
recruitment and retention of faculty members and an incentive for meritorious performance in
research/scholarship/creative activity, teaching, and service.

24.2     Effective Date. All salary increases and adjustments referenced in this Article shall
become effective retroactive to the beginning of the faculty member’s annual appointment,
unless otherwise specified below.

24.3      Promotion Increases. Promotions made to the rank of Associate Professor, Clinical
Associate Professor, Associate Curator, Senior Lecturer, Associate in             , Associate
Scholar, Associate Scientist, Associate Engineer, Associate University Librarian, Professor,
Clinical Professor, Curator, Master Lecturer, Senior Associate in            , Scholar, Scientist,
Engineer, or University Librarian shall be in accordance with the provisions of ARTICLE 19.
Promoted faculty shall receive a promotion salary increase of nine percent (9.0%) of their base
salary.

24.4   General Salary Increases.
       (a)     General salary increases are effective October 1.

        (b)    In each year of this agreement the University shall provide a raise pool
allocated between merit and across- the-board as follows:

                                         Merit           Across-the-board
                       2021-2022         TBD             TBD
                       2022-2023         TBD             TBD
                       2023-2024         TBD             TBD

       (c)      Such increases, if any, are applied after a promotion increase.

        (d)      Faculty who have been appointed to the University Term Professorship shall
finish their appointed terms and receive the full $15,000 amount associated with the program.
Should the program be reinstated, faculty in the bargaining unit shall be eligible.

      (e)       The parties agree to re-openers of Articles 24.4, 24.5, and 24.7 for 2021-2022,
2022-2023, and 2023-2024 in accordance with the provisions of ARTICLE 33, at a time mutually
agreeable to the parties.

       (f)      Salaries for P.K. Yonge faculty are addressed in 24.7.

       (g)      With respect to the merit portion of any raises:
               (1)     In any year in which a merit raise is provided each department or

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equivalent unit shall be allocated a merit pool using the base salaries of all bargaining unit
faculty members in the unit as of May 15. Chairs or equivalent supervisors who are in the
bargaining unit are excluded from those eligible. The chairs (by college) shall form a separate
merit pool, and the dean shall make merit raise decisions for the chairs.
                (2)       Eligibility. To be eligible, the employee must have, at a minimum, a
satisfactory evaluation and been employed by the University for at least one (1) semester.
Visiting faculty members or faculty members who have been issued a notice of non-renewal or
layoff in accordance with this Agreement or who have resigned for any reason are not eligible.
                (3)       Qualifying Criteria for Merit Increases. Merit increases must be
determined using existing criteria which have been established by the faculty, chair, and dean
of each unit, consistent with the terms and provisions of this Agreement.
                        a.         Merit salary increases shall be distributed to faculty members
who qualify under the unit’s criteria. In determining who receives a merit increase, the chair or
equivalent supervisor shall consult with the unit’s committee responsible for merit pay
considerations.
                        b.         The number of merit increases shall not be limited by any quota.
                        c.         The chair and the merit pay committee shall attach the unit’s
merit criteria and distribution system to the determined list of merit increases that are
forwarded to the dean.
                        d.         The dean shall review the unit’s merit increase decisions to
ensure that they are consistent with the unit’s criteria for merit salary increases. The dean may
send the proposal back to the department for reconsideration, along with the noted concerns
where there appears to be an inconsistency between the criteria and the recommendations.
                        e.         Notwithstanding other provisions of this agreement, department
merit procedures and tenure and promotion criteria shall be used for merit raises. In addition,
notwithstanding other provisions of this agreement, all activities in research, teaching, and
service for the three (3) previous years shall be considered for merit pay raises.

24.5     Administrative Discretionary Salary Adjustments. Subject to any qualifying provisions
specified below, the University may in appropriate circumstances adjust the salary of a
bargaining unit member for merit, market equity adjustments, verified counteroffers, salary
compression/inversion, increased duties and responsibilities, special achievements, and similar
special circumstances. These increases may occur at any time.
        (a)     The parties agree that the total funds for such salary adjustments shall be not
more than one percent (1.0%) annually, based on the total base salary rate of members of the
bargaining unit as of August 30.

        (b)      Salary Increases for Increased Duties and Responsibilities. Faculty members in
the bargaining unit who are assigned administrative duties and responsibilities, such as
department chairs, center directors, program directors, heads of equivalent administrative
units, or department graduate or undergraduate coordinators, may receive a discretionary
salary increase or supplement for the length of their administrative appointment.

       (c)      Report of Discretionary Salary Adjustments. On July 30 of each year the

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University shall provide the UFF with an electronic copy of the total list of salary increases
under Section 24.5 that the University has implemented during the previous fiscal year ending
June 30. These lists shall provide the name, rank, and department of the faculty member, the
amount of the increase, and the reason for the increase.

24.6     Salary Increases Funded Through Contracts, Grants, or Auxiliary Budgets. The funds
available for salary increases to faculty members on contracts, grants, or auxiliary budgets, as a
percentage of their collective base salary rate, shall be equivalent to the funds available for
salary increases to faculty on Educational and General (E&G) funding, as a percentage of their
collective base salary rate, provided that such salary increases are permitted by the terms of
the contract or grant.

24.7     Salary Increases for P. K. Yonge faculty members.
       (a)       Promotions made to the rank of University School Assistant Professor,
University School Associate Professor, or University School Professor, shall be in accordance
with the provisions of ARTICLE 19. Promoted faculty shall receive a promotion salary increase of
nine percent (9.0%) of the faculty member’s previous year’s base salary plus degree
supplement.

        (b)       Full-time faculty members who have received a satisfactory annual evaluation
and are not in layoff or non-renewal status shall be eligible for salary increases consistent with
state policies. In accordance with the provisions of ARTICLE 33, the University and UFF agree to
re-open negotiations each year of the contract for the purpose of determining appropriate
raises consistent with state regulations and policies. The current framework for a salary
schedule is found in APPENDIX E. The difference between the performance adjustments and
any general raise shall be paid across the board.

        (c)     Salary Supplements. Faculty members shall receive salary supplements for
additional duties assigned by the director and as specified in APPENDIX F, under the following
conditions:
               (1)      Salary supplements may be included for the purposes of calculating
retirement benefits but shall not to be included in the base salary rate upon which future salary
increases are calculated.
               (2)      If the faculty member resigns or is otherwise unable to complete
additional duties, the salary supplement will be prorated for the portion of additional duties
actually performed.

24.8    Salary Increase Notification.
       (a)      Faculty members shall be notified of any merit and market equity salary
increases that will be implemented under this Article prior to submission to the payroll
department. Upon request, a faculty member shall have the opportunity to consult with the
person or committee that makes the recommendation.

       (b)      Faculty members shall receive written notice of any salary increase within four

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(4) weeks of implementation, including a description of the reason for the raise.

24.9     Notice to UFF.
       (a)       Not later than thirty (30) days after the first pay period in which the general
merit or across the board salary increases provided in this Article are reflected, the Office of
Human Resource Services shall provide the UFF with a salary report in Excel spreadsheet
format, listing all in-unit faculty members.

        (b)     This report shall include the following information for each faculty member:
               (1)      name;
               (2)      department and college;
               (3)      rank or position including the titles such as “visitor”;
               (4)      position code;
               (5)      percentage FTE appointment;
               (6)      annual appointment (9-mo, 10-mo, or 12-mo);
               (7)      date of hiring;
               (8)      date of most recent promotion;
               (9)      years in current rank;
               (10)     the faculty member’s base salary before this year’s salary increases;
               (11)     the amount the faculty member received from each salary increase
category, including any promotion increase or any other adjustments; and
               (12)     the new base salary rate after the salary increases described above.

       (c)    A copy of the annual salary increases referenced in this Article shall
simultaneously be available to all faculty.

       (d)      Upon notification to UFF, all faculty within the bargaining unit will be provided
with digital access by the University and notified that the report is available for their review.

24.10   Type of Payment for Assigned Duties.
       (a)     Duties and responsibilities assigned by the University to a faculty member that
do not exceed the available established FTE for the position shall be compensated through the
payment of Salary, not OPS.

        (b)      Duties and responsibilities assigned by the University to a faculty member that
are in addition to the available established FTE for the position shall be compensated through
OPS, not Salary.

24.11     Grievability.
        (a)      Except for grievances alleging discrimination under the NONDISCRIMINATION
Article, the only issue to be addressed in a grievance alleging violations of this Article is whether
the University properly applied the procedures set forth in this Article. If an arbitrator finds that
the procedures have not been properly applied, the arbitrator shall identify the failure and
remand the matter to the University for proper application of the procedures and recalculation

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of the salary increase or salary level.

        (b)      If a faculty member seeks redress of an alleged violation of this Article by filing
a grievance under the provisions of ARTICLE 28, GRIEVANCE PROCEDURE AND ARBITRATION,
the faculty member must file a grievance within forty-five (45) days after the first paycheck that
is affected by the alleged violation.

24.12 Other Faculty Award Programs. The University shall continue to provide one-time
awards, which do not increase the faculty member’s base salary, under the same programs and
on the same basis as in the past.




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                                           ARTICLE 25
                                            BENEFITS

25.1    The State of Florida administers both retirement and health insurance programs for
state employees, including University of Florida faculty. The University shall provide to faculty
members both retirement and insurance programs under the provisions of State law.

25.2     With respect to retirement programs, both the Optional Retirement Program and the
Florida Retirement System shall be available in accordance with state law.

25.3    In addition to the State insurance programs, the University offers domestic partners
health coverage. Bargaining unit faculty members are eligible to elect this option on the same
terms and conditions available to other University employees.

25.4     Neither the University nor UFF shall interpret the provisions in Section 25.1 as waiving,
nor shall they in any way be deemed to waive, any rights either party may have to bargain with
respect to the impact of any change in state program offerings.

25.5     New program offerings or the reduction or elimination of existing programs by the
University that affect members of the bargaining unit shall be the subject of collective
bargaining.

25.6     The University recognizes that faculty members may wish to adjust their workload as
they near retirement, and that individual faculty member needs may vary. Any phased
retirement proposal requested by a faculty member may not contravene other provisions of
the collective bargaining agreement and is subject to written approval by the respective dean.

25.7    The University may offer retirement incentives. The University shall consult with UFF
before implementing any such incentives.

25.8     Retirement Credit. Retirement credit for faculty members who are authorized by the
University to take uncompensated or partially compensated leaves of absence shall be granted
in accordance with State law that exists at the time leave is granted.

25.9    Benefits for Retired Faculty members.
        (a)       Subject to University policies, faculty members who retire from the University
shall be eligible on the same basis as bargaining unit faculty members to receive the following
benefits:
                 (1)    Retired employee identification card;
                 (2)    Use of the University library (i.e., public rooms, lending and research
service);
                 (3)    Listing in the University directory;
                 (4)    Placement on designated University mailing lists;


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                (5)     A University parking decal;
                (6)     Use of University recreational facilities (retired faculty members may be
charged fees lower than those charged to bargaining unit faculty members for the use of such
facilities);
                (7)     The right to enroll in courses without payment of fees, on a space
available basis;
                (8)     A mailbox in the department/unit from which the faculty member
retired, subject to space availability;
                (9)     University e-mail address;
                (10)    A Gatorlink account; and
                (11)    All eligible retirees may elect to continue to participate in the State
administered insurance plans. Retired faculty members of any State-administered retirement
system are entitled to health insurance subsidy payments in accordance applicable state laws
with the exception of retirees who participated in the Optional Retirement Program.
                (12)    Faculty members who have Graduate Faculty status may keep that
status upon retirement and may participate in accordance with department and graduate
school policies.

         (b)       Health Insurance Premiums. At retirement, faculty members have the option of
remaining in the health insurance plans offered by the University after retirement governed by
eligibility criteria from the State of Florida.

25.10 Pre-tax Programs. To the extent permissible by federal or state law the University shall
continue to provide pre-tax programs for faculty members.

25.11 Employee Assistance Program. If the University considers revisions to the EAP, it shall
consult with UFF




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                                         ARTICLE 26
                         OUTSIDE ACTIVITY AND CONFLICT OF INTEREST

26.1      Policy.
         (a)     When properly approved and managed, the University of Florida and UFF-UF
agree that Outside Activities may support faculty professional growth and reputation, create
and disseminate new knowledge and ideas, and further the University’s mission of excellence in
education, research, and service. A faculty member’s primary professional obligations are to
maintain the highest ethical and professional standards and, as an agent of the University, act
in its best interests. Faculty members may engage in approved Outside Activity, including
employment, and hold Financial Interests as long as the activities and interests are in
accordance with the law and do not conflict with their University duties and responsibilities.

        (b)     All employees of the University are bound to observe, in all official acts, the
standards of ethics set out in the Code of Ethics for Public Officers and Employees of the State
of Florida (Chapter 112, Part III, Florida Statutes) and the advisory opinions rendered with
respect thereto. Other provisions of laws and regulations of the State of Florida govern
obligations and responsibilities of faculty members who receive State compensation in addition
to their annual salary. It is prohibited to use a proxy to engage in actions that a faculty member
is prohibited from engaging in under the laws and other authorities referenced in this
paragraph.

        (c)    This Article shall not be used to deny or retaliate against the legitimate exercise
of rights protected by this Agreement, including but not limited to the rights protected by
ARTICLE 10, ACADEMIC FREEDOM AND RESPONSIBILITY and ARTICLE 22, INTELLECTUAL
PROPERTY.

       (d)     Requirements for reporting of Outside Activities in any form or context, including
any requirements for reporting of Outside Activities undertaken during leaves, shall follow the
general provisions of this Article and applicable state law. Modifications to reporting
requirements may be necessitated from time to time to conform to state and federal laws.
Refinements to UF’s bargained policies shall follow ARTICLE 8, UNIVERSITY OF FLORIDA
REGULATIONS AND POLICIES of this agreement.

26.2     Definitions.
        (a)     “Inside Activity” shall mean any activity a faculty member does as part of their
assigned research, clinical, teaching, or service responsibilities including University activities
that form the basis for supervisory assessment of their University job performance.

        (b)      “Outside Activity” is any activity undertaken by the faculty member that is not an
Inside Activity.

         (c)    “Institutional Expertise” shall mean a faculty member’s teaching, research or
clinical expertise in their University discipline.

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       (d)     “Reporting Household” shall mean a spouse, domestic partner, dependent child
or stepchild or any Relative (as defined in Florida Statute 112.312) who shares a household with
the faculty member.

        (e)     “Private Interest” is a concrete Financial Interest, or other material or tangible
interest, including compensated or uncompensated relationships, held by or inuring to a faculty
member or Reporting Household member, and arising from the faculty member’s Outside
Activity.

        (f)     “Entity” shall mean any business, company, or other organization, whether
public or private, including without limitation any partnership, corporation, limited liability
corporation, unincorporated association, or other institution or organization, whether for-profit
or not-for-profit.

        (g)     “Conflict of Interest” shall mean a Private Interest, or relationship to a relative,
that would reasonably appear to (a) adversely influence a faculty member's actions, judgement
or decisions, required to carry out Inside Activities or (b) create an unlawful conflict with the
faculty member’s position as a public employee, as decreed by state or federal law, which
includes a situation in which regard for a private interest leads to disregard of a public duty or
interest.
                (1)     A faculty member’s exclusive ownership of Works or Inventions - as
detailed in Article 22.4(a) and 22.6(a) - does not constitute a Conflict of Interest. However, the
exercise of such rights requires disclosure for the purpose of determining a related Conflict of
Interest as detailed in 26.2(k).

        (h)   “Conflict of Commitment” shall mean Outside Activities whose time of
occurrence or duration would hinder the faculty member from carrying out Inside Activities.
              (1)     Outside Activities undertaken entirely during a time when the faculty
member has no Inside Activities shall not constitute Conflicts of Commitment although they
may constitute Conflicts of Interest. Outside Activities that shall not constitute Conflicts of
Commitment include Outside Activities undertaken entirely when the faculty member is not on
appointment or contract with the university, such as Outside Activities undertaken by Faculty
on 9 or 10 month contracts who have no summer appointment under the provisions of ARTICLE
17 or those undertaken when the faculty member is on appointment but conducted during
times or frequencies that do not interfere with the faculty member's Inside Activities.

       (i)    “Financial Interest” shall mean any Private monetary or equity Interest which
would create a Conflict of Interest.

       (j)    An “Investigator” shall mean the principal Investigator, co-principal Investigator,
or any other employee responsible for the design, conduct, or reporting of the proposed or
funded research or educational activities.


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         (k)     “Reportable Outside Activity” shall mean any Financial Interest or Outside
Activity that is required to be disclosed to the University through the UFOLIO system (APPENDIX
G), for the purpose of evaluation of Conflict of Interest, as provided in Items 1 to 11 below.
However, Reportable Outside Activities reported through UFOLIO may additionally be
evaluated for Conflict of Commitment.
                 (1)     Management or Material Interest: An employee must report a
management position (e.g., officer, director, partner, proprietor) held or material interest
(more than a 5% ownership interest) owned by themselves, anyone in the Reporting
Household, and any Relative (as defined in Florida Statute 112.312) whose position or interest
is known to the employee, in an Entity that enters into any agreements or contracts with
University (e.g., service agreements, leases, sales agreements).
                 (2)     Publicly-Traded Entity Payments/Ownership: An employee must report
receipt of payments from or an ownership interest of $5,000 or more (including shares,
partnership stake, or derivative interests such as stock options) in a publicly-traded Entity by
the employee or anyone in the Reporting Household where the payments or ownership interest
reasonably appear to be related to the employee’s Inside Activities or Institutional Expertise.
This does not include an ownership interest managed by a third party, such as a mutual or
retirement fund.
                 (3)     Privately-Held Entity Ownership: An employee must report any
ownership in a privately held Entity by the employee or a member of the Reporting Household,
where the ownership interest reasonably appears to be related to the employee’s Inside
Activities or Institutional Expertise.
                 (4)     Public Office/Candidate: An employee must report if the employee is a
candidate for public office or holds public office.
                 (5)     Outside Teaching Appointments: An employee must report if the
employee has or is seeking approval to hold an additional (to their UF appointment) teaching
appointment with an outside Entity, in the area of their Institutional Expertise that represents a
Private Interest.
                 (6)     Outside Research: An employee must report if the employee oversees or
conducts or is seeking approval to conduct any research in the general area of their Institutional
Expertise at, or receive any research resources or funding from or through, any Entity other
than the University. Research by Investigators conducted at Entities as part of a University
sponsored project or research funding received by the University is subsumed under Inside
Activity and hence does not need to be disclosed in UFOLIO.
                 (7)     Classroom Works: An employee must report if the employee requires or
seeks approval to require students to purchase works to be used in the employee’s classroom
when such works were created, authored or co-authored (e.g., textbook(s), computer software,
electronic or digital media) by the employee or employee’s spouse and for which the employee
or their spouse will receive, or anticipate receiving payment, loan, subscription, advance,
deposit of money or service or anything of monetary value.
                 (8)     Royalties/Copyright/Licensing Income (according to ARTICLE 22 for
faculty in the bargaining unit): An employee must report if the employee receives royalties,
licensing fees, and/or copyright income in the area of their Institutional Expertise of $5,000 or
more, annually from an Entity other than the University.

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                (9)     Expert Witness/Legal Consulting: An employee must report if the
employee serves or seeks approval to serve as an expert witness and/or engage in consulting in
the area of their Institutional Expertise or Inside Activities in a legal matter like a lawsuit or a
potential lawsuit.
                (10) Professional Services Related to Institutional Expertise: An employee
must report if an employee provides or seeks approval to provide professional services to an
outside Entity in the area of the employee’s Inside Activities or Institutional Expertise that
represent a Private Interest.
                (11) Leadership Roles: An employee must report if the employee has a senior
management, administrative, or leadership role, that represents a Private Interest, with an
outside Entity related to the employee’s Inside Activities or Institutional Expertise where the
employee makes executive business and/or financial decisions on behalf of the outside Entity.
                (12) Innovation Inducement Cash Value Prize: An employee must report if
they choose to participate, as an Outside Activity, in a competition, with a prize amount greater
than $5000, in the area of their Institutional Expertise.

        (l)    “Non-reportable Outside Activities” include, but are not limited to:
               (1)   Any activity that is described as not reportable in APPENDIX G (UFOLIO);
or
               (2)     Reporting for required jury duty; or
               (3)     Serving in the United States Armed Forces or other branches of the
military; or
                 (4)    Participating in scientific or educational conferences, invited colloquia or
other events while representing the University, subsumed under Inside Activities; or
                 (5)    Performing unpaid peer review, conference committee or journal
editorial duties while representing the University, subsumed under Inside Activities;
                 (6)    Research activities approved and coordinated through the University
including research by Investigators conducted at Entities as part of a University sponsored
project or research funding received by the University, subsumed under Inside Activities; or
                 (7)    Reviewing proposals for a federal or state government sponsor or a
domestic non-profit organization, subsumed under Inside Activities; or
                 (8)    Writing or editing activities that are subsumed under Inside Activities; or
                 (9)    Membership in an academic or professional society (however, serving on
the Board or carrying a fiduciary role requires disclosure); or
                 (10) Receiving honors, academic awards, or an honorary degree from a non-
profit institution that are not cash value prizes as set forth in 26.12, subsumed under Inside
Activities; or
                 (11) Taking Sabbatical or Professional Development Leave, subsumed under
Inside Activities; or
                 (12) Serving as a program manager for a federal agency or working on an
assignment through the Intergovernmental Personnel Act or a related federal program,
subsumed under Inside Activities; or
                 (13) Participating in the Fulbright (Scholar) Fellowship program, subsumed
under Inside Activities; or

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             (14) Serving as an external member of a thesis, dissertation, or promotion
committee, subsumed under Inside Activities.

       (m)     “Other Disclosable Activities” shall mean Non-reportable Outside Activities that
taken alone or together could represent a Conflict of Commitment.

        (n)     “Permissible Conflict” shall mean an approved Conflict of Commitment or
Conflict of Interest that must be managed as the faculty member engages in the corresponding
Outside Activity.

26.3     Intellectual Property Conflicts.
        (a)     Faculty Intellectual Property disclosure requirements and the University’s
ownership rights to inventions and works are outlined in this Article and ARTICLE 22.
                (1)     Faculty-Created Course Materials. The University and UFF acknowledge
that under law faculty members may benefit financially from their intellectual property,
including but not limited to instructional materials assigned for use by their students. If, in a
University of Florida course or program, a faculty member requires use of instructional
materials or other resources in which that faculty member or the faculty member’s
spouse/domestic partner or dependent child has a Financial Interest, the following conditions
shall apply:

        (b)     The faculty member shall report the required use of books, supplies, or other
instructional resources at the University when there is a financial benefit to the faculty member
or the faculty member’s spouse or domestic partner or minor child. Such required materials or
resources must be
                (1)    Selected for academic reasons independent of any financial gains for the
individual faculty member;
                (2)    The original work of the faculty member and not solely a collection of the
works of others;
                (3)    Offered at the fair market price;
                (4)    Under copyright, patent, or trademark, and published or produced by an
incorporated or registered publisher, company, or Entity and their use does not require the
user to waive any intellectual property rights; and
                (5)    Adopted consistent with the Florida Code of Ethics for Public Officers and
Employees and the Board of Governors Regulation 8.003.

       (c)    Such required materials or resources also must not include sale, separate from
the textbook or workbook, of exams, quizzes, required assignments, extra-credit assignments,
and other general course information and evaluative materials that are customarily available in
the textbook or workbook or are customarily made available to students free of charge.

       (d)     The faculty member or Reporting Household may receive no financial benefit
from instructional materials and other resources the faculty member assigns that have not


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been adopted for use in the national higher education market unless the use of the materials
best serves the academic interests of the class under the circumstances.

        (e)    All students must be provided with a free copy of the course syllabus at
http://syllabus.ufl.edu/ that includes an accurate description of the course materials and clearly
indicates which materials are required and which are recommended for the course as well as
details about exams and other assignments, how grades will be assigned, and any attendance
policy.

        (f)    If, upon the disclosure by the faculty member, the conditions in Sections 26.3(a)–
26.3(c), above, are satisfied, then the required use of instructional materials in which the
faculty member has a Financial Interest shall not be interpreted to be an Impermissible Conflict
of Interest.

26.4     Reporting, Review, and Communication Timeline and Procedure for Reportable Outside
Activities.
        (a)    Faculty must disclose Reportable Outside Activities through the UFOLIO system.
Faculty must receive approval through the UFOLIO System prior to commencing such activities.
UFOLIO, including FAQ and other information, can be accessed here:
https://compliance.ufl.edu/ufolio/ Reportable Outside Activities must be disclosed through
UFOLIO at the following times:
               (1)    Upon initial hiring or engagement with the University;
               (2)    Prior to acquiring, prior to engaging in, prior to committing to engage in,
or implementing a material change to a Reportable Outside Activity; a faculty member may
resubmit a Reportable Outside Activity in UFOLIO even if it was previously denied, provided the
reason for denial was based on insufficient disclosure, or there is a change in the faculty
member’s Inside Activities or Institutional Expertise.
               (3)    Prior to entering a relationship, including a familial relationship, which
could reasonably be perceived as creating a Conflict of Interest; and
               (4)    At least annually, when requested by the University, even if attesting to
no change from previous disclosures or no disclosures.

        (b)   The only questions the faculty member must answer in the UFOLIO system can
be found in APPENDIX G of this Collective Bargaining Agreement. However, if the reviewer
cannot make a determination to approve without additional information or clarification and a
faculty member declines or is unable to provide the information or clarification within the
timeframe in 26.4(c), the approver may deny the activity for insufficient disclosure of
information.

        (c)    Once submitted in UFOLIO, disclosures should be reviewed, and a determination
of either approval or denial should be issued within thirty (30) days, along with a written
explanation of a denial. The written explanation should provide a reason for the determination
and indicate whether the denial is based on Insufficient disclosure, or Impermissible Conflict of
Interest or Impermissible Conflict of Commitment. However, requests for clarifications,

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communications between supervisors and the Conflict of Interest Program, approvals for
exemptions from applicable provisions of the Florida Code of Ethics for Public Employees, or
ancillary reviews by other University offices may result in longer review times. Review status is
viewable in UFOLIO at all times. If a decision has not been made by Day 30, a faculty member
may allow the review process to continue or request and will receive a determination regarding
the disclosure within 72 hours.

       (d)   If the expected or estimated compensation for Reportable Outside Activities is
$5,000 or more, the faculty member must report the expected or estimated amount of
compensation and may be required to provide formal documentation of the number of
compensated hours as relevant to the specific Reportable Outside Activity in 26.2(k) and
APPENDIX G.

        (e)    Advisory Opinion. A faculty member may request an advisory opinion from the
Florida Commission on Ethics (http://www.ethics.state.fl.us/) about how Art. II, Sec. 8, Fla.
Constitution or the Florida Code of Ethics applies to the faculty member’s situation.

26.5     Reporting, Review, and Communication Timeline and Procedure for Other Disclosable
Activities.
        (a)     The faculty member shall disclose Other Disclosable Activities to their chair or
director in the manner specified by the chair or director. Such manner must, at a minimum,
require that the chair or director is informed of the full extent of the Other Disclosable Activity
and time commitment prior to approval. Within thirty (30) days of receiving this information,
the chair or director, in consultation with Assistant Vice President for Conflicts, must provide
either a written approval of the activity or provide a written determination of Permissible or
Impermissible Conflict of Commitment, along with a reason for the determination detailing why
the time or duration of the activity could hinder the faculty member from carrying out their
Inside Activities. Failure to provide such a determination shall constitute approval by the
University. However, if the activity results in documented performance deficiencies in the
faculty member’s Inside Activities it may be subsequently disallowed.

      (b)     The faculty member is not required to disclose amounts of compensation but
may be required to provide formal documentation of the number of compensated hours.

26.6     Review and Adjudication Authorities.
        (a)    For Reportable Outside Activities disclosed through UFOLIO the Assistant Vice
President for Conflicts of Interest and, depending upon the type of activity or interest, other
applicable designated University officials will determine whether the activity constitutes a
Permissible Outside Activity with or without an approved Conflicts management plan or is an
Impermissible Conflict of Interest. The direct supervisor will be consulted for determining
Conflict of Commitment.

       (b)    For Other Disclosable Activities, the faculty member’s direct supervisor, in
consultation with Assistant Vice President for Conflicts, will determine whether the activity

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constitutes a Permissible Outside Activity with or without an approved conflicts management
plan or is an Impermissible Conflict or Commitment.

        (c)     Determinations in 26.6(a) and 26.6(b) must be made in accordance with the
definitions of Conflicts of Interest or Conflict of Commitment and may not be arbitrary,
capricious, discriminatory or retaliatory.

       (d)     The faculty member and the University have a shared responsibility to identify
any Permissible or Impermissible Conflict of Commitment and manage the conflict
appropriately according to the provisions of 26.7.

        (e)    Advisory Opinion. A faculty member may request an advisory opinion from the
Florida Commission on Ethics (http://www.ethics.state.fl.us/) about how Art. II, Sec. 8, Fla.
Constitution or the Florida Code of Ethics applies to the faculty member’s situation.

26.7   Resolving Conflicts of Interest and Conflicts of Commitment.
      (a)     Conflicts of Interest or Conflict of Commitment are prohibited unless they are
determined to be Permissible by the University and managed.

        (b)    Faculty must adhere to the highest ethical and professional standards. Potential
conflicts must be disclosed as set forth in this ARTICLE 26. If faculty have questions concerning a
potential Conflict of Interest or Conflict of Commitment, they must first discuss these concerns
with their chair or director.

        (c)    If any questions arise regarding a potential Conflict of Interest or Conflict of
Commitment, the Conflict of Interest Program or immediate supervisor, as applicable, should
bring the matter to the attention of the faculty member involved as soon as possible so that it
can be determined whether and what type of disclosure is required, whether there is a conflict
and if the conflict is permissible.

        (d)     The Assistant Vice President for Conflicts of Interest and, depending upon the
type of activity or interest, other applicable designated University officials and/or direct
supervisor may require a faculty member to enter into a reasonable and appropriate
monitoring plan to allow for a Permissible Conflict of Interest or Permissible Conflict of
Commitment. Immediately following a determination of Permissible Conflict of Interest or
Permissible Conflict of Commitment and adoption of the monitoring plan if applicable, a faculty
member is permitted to engage in the disclosed Outside Activity. The faculty member is
responsible for managing the conflict, working in conjunction with their chair or director.

26.8   Violations.
      (a)     The University may take administrative or progressive disciplinary action
concerning violations of this Article, as set forth in ARTICLE 27, DISCIPLINARY ACTION AND JOB
ABANDONMENT.


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       (b)       Failure to Disclose.
                 (1)     Failure to disclose a Reportable Outside Activity by a respective deadline
shall result in a written notification from the University, with copies to the faculty member’s
chair or director and dean, directing the faculty member to complete the disclosure within ten
(10) business days. Upon receipt of written notification the faculty member must cease the
activity. The faculty may choose to discontinue the activity with no further disclosure or may
seek approval to continue the activity.
                 (2)     Failure to disclose more than ten (10) business days following the receipt
of a delinquency notification shall result in a written reprimand from the University, with copies
to the faculty member’s chair or director and dean, indicating the faculty member must
complete the disclosure within ten (10) business days.
                 (3)     If a faculty member fails to disclose more than ten (10) business days
following receipt of a written reprimand, the University may take additional administrative or
progressive disciplinary action against the faculty member as set forth in ARTICLE 27.
                 (4)     Failure to disclose a Reportable Outside Activity or failure to make a
truthful disclosure of Reportable or Other Disclosable Outside Activity may subject the faculty
member to administrative or progressive disciplinary action as set forth in ARTICLE 27.

        (c)    Faculty commencing a Reportable or Other Disclosable Outside Activity before
receiving approval or determination of Permissible Conflict as required herein may be subject
to administrative or progressive disciplinary action as set forth in ARTICLE 27.

26.9     Grievance Procedure.
        (a)      A faculty member may grieve the University’s determination that a faculty
member failed to disclose an Outside Activity, or the University’s failure to provide a
determination within the timelines set forth in 26.4 and 26.5, or the denial of an Outside
Activity citing insufficient disclosure or Impermissible Conflict, or the monitoring plan required
to manage a Permissible Conflict or any other violation of this Article.
                 (1)     The process and deadline for filing a grievance based on the University’s
determination that a faculty member failed to disclose, or failed to make a truthful disclosure of
an Outside Activity or any other violation of this Article leading to discipline shall be in
accordance with ARTICLE 28.
                 (2)     The process and deadline for filing any other grievance challenging the
denial of an Outside Activity, including for insufficient disclosure, or challenging the monitoring
plan required to manage a Permissible Conflict shall be in accordance with ARTICLE 28 in all
respects, except as follows (in 26.9(a)(2)a - 26.9(a)(2)e), unless mutually agreed otherwise. For
specificity, where an administrator has made a reasonable judgment involving the exercise of
permissible discretion related to an Outside Activity, the arbitrator shall not substitute the
arbitrator’s judgment for that of the administrator.
                         a.      The grievance shall immediately go to Step 3 Grievance Review in
accordance with ARTICLE 28;
                         b.      The hearing shall be by video conference within twenty (20) days
whenever feasible; extensions not to exceed ten (10) additional days shall be granted if the
UFF-UF or the University can demonstrate in writing that the deadline is unfeasible;

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                      c.      No transcript of the hearing shall be made;
                      d.      No post-hearing briefs shall be filed;
                      e.      The arbitrator shall make every effort to render a decision within
ten (10) business days of the hearing

26.10     Use of University Resources.
         (a)     “Incidental Use” of University facilities, equipment or services. Use of university
facilities, equipment or services for personal use and/or use in Outside Activities is prohibited.
The University recognizes that sometimes faculty may incidentally use university facilities,
equipment or services for personal use and does not seek to discipline faculty for incidental
use. Incidental Use must not adversely affect the performance of employee’s university duties
or the university’s operations, must be extremely limited in duration and frequency and must
be restricted to matters that cannot be addressed during non-working time.

       (b)      A faculty member engaging in any Outside Activity shall not make more than
Incidental Use the facilities, equipment, or services of the University in connection with such
Outside Activity without prior approval of the University or designee. Approval for the use of
University facilities, equipment, or services may be conditioned upon reimbursement for such
use.

26.11    No University Affiliation.
        (a)    A faculty member engaging in Outside Activity does so as a private citizen and
shall not represent himself or herself to the outside employer or other recipient of services as
engaging in such Outside Activity as an employee, agent, or spokesperson of the University
except when specifically authorized in writing by the University to do so.

26.12 Cash Value Prizes. "Cash Value Prizes" are awards of cash exceeding $5000 that
recognize work performed in the area of a faculty member’s University expertise. Cash Value
Prizes are distinct from grants, contracts, or gifts that are awarded in advance for proposed
work. Cash Value Prizes generally fall into two main categories: (a) Innovation Inducement
Prizes, which are awarded to winners of competitions including challenge prizes by Federal or
non-profit Agencies requiring the attainment, within a specific time frame, of specific material,
technology translation, or commercialization goals; and (b) all other Cash Value Prizes, including
recognition prizes for research, scholarly or artistic accomplishments such as the Nobel prizes,
the Fields medal, Clay Millennium prize, National book award, or Pulitzer prize.
         (a)     Innovation Inducement Prizes. Faculty wishing to compete for Innovation
Inducement Prizes may do so as one of the following.
                 (1)    An Outside Activity (which requires timely approval as outlined in the
Collective Bargaining Agreement) that does not make more than Incidental Use of University
facilities, equipment, or services including graduate student and research staff time. Pursuit of
an Innovation Inducement Prize within a faculty member’s area of expertise and/or using
results from the faculty member’s previous work at the University does not itself constitute a
Conflict within the meaning of this Article. Monies awarded from the prize competition shall be
the property of the faculty member.

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                 (2)    An Inside Activity. With assigned effort to participate in the prize
competition and approval by the chair/director, a faculty Investigator may use University
facilities, equipment, or services, including graduate students research administration staff
time.
                        a.      If the prize is successfully obtained, the faculty Investigator shall
be given the choice to treat the prize as described below.
                                1.       The Prize amount will be treated as net adjusted income
and paid out in the same ratios as outlined under the terms of Article 22.7(a) but into residual
funds (212). The creator(s) are the prize winners and their share will be paid as a lump sum
additional pay. The “University program” shall be interpreted as the team of faculty who won
the prize, and the funds for the “University program" shall be deposited into the residual
accounts of these faculty.
                                2.       The Award amount will be accounted for as an extramural
award to the University but immediately transferred as: 65.6% to prize winners personal
residual (fund 212) account. The remainder is journaled in the University’s F&A holding project
for return at the end of the fiscal year as all indirect costs are returned each year (10%
additional to the PI/winner, 7.5% to the department, remainder to the college who will pay
RCM to the University). Any allocation of prize funds to the Investigator’s research residual
account must be used for supporting the research mission of the University, i.e., direct research
costs including but not limited to: summer salary, equipment purchases, travel, graduate
student support, or other general research activities.
                        b.      If the Investigator does not win the prize, the Investigator shall
not be held liable for the University resources spent as part of the approved prize-participation
budget.

        (b)    All other Cash Value Prizes. Faculty wishing to pursue or accept such prizes, if not
prohibited by law, do not need to report such activity as an Outside Activity. The full value of
any prize obtained belongs to the faculty Investigator who received the prize.




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                                        ARTICLE 27
                       DISCIPLINARY ACTION AND JOB ABANDONMENT

27.1     Policy. The purpose of this Article is to provide a prompt and equitable procedure for
disciplinary action.
        (a)      Just Cause. No faculty member shall be subject to disciplinary action except for
just cause. Just cause shall be defined as misconduct or incompetency.

        (b)      A faculty member’s activities that fall outside the scope of employment shall
constitute misconduct only if such activities adversely affect the legitimate and compelling
interests of the University.

        (c)      Disciplinary Action Other than Termination. The University retains the right to
impose disciplinary action other than termination including, but not limited to, suspension with
or without pay, provided that the punishment is appropriate to the degree of misconduct. The
degree of discipline may be related to behavior or actions subject to discipline. Admonitions,
oral reprimands, letters of counseling (including recommended or mandatory participation in
an Employee Assistance Program), and similar criticism shall not be considered disciplinary
action and shall not be subject to the grievance procedure.

       (d)       Due Process.
                (1)      Disciplinary action shall be imposed by the University in accordance with
the principles of due process as outlined in this Article and in Article 11.3.
                (2)      No faculty member shall be deprived of pay or benefits resulting from a
disciplinary action until after the grievance process ends with an outcome that allows the
discipline.

        (e)    No provisions in this Article shall be interpreted in a manner that violates a
faculty member’s rights conferred by this Agreement or by law, nor shall a faculty member be
punished for exercising such rights in the performance of University duties.

27.2     Progressive Discipline. Outlined below are the steps for faculty progressive discipline.
        (a)      The University may combine or skip steps depending upon the facts of the
situation, the nature of the conduct, and any documented past incidents.

       (b)     The sanctions for disciplinary actions that may be imposed on a faculty member
may include but are not limited to the following:
              (1)     Written reprimand containing a description of the just cause.
                     a.       Written reprimand is distinguished from an informal written or
                     spoken warning.
                     b.       A written reprimand shall be delivered to the recipient and
                     maintained in the faculty member’s designated personnel file.
              (2)     Suspension with or without pay for a period of time specified in writing.
                     a.       The written statement of suspension shall include the precise

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terms of the suspension. Those terms may include some or all of the following: loss of normal
faculty privileges such as access to University property, participation in departmental
government, voting rights, administration of grants, supervision of graduate students, loss of
parking or library privileges, and use of University administrative staff.
                        b.       Suspension as a disciplinary action is to be distinguished from
administrative leave, which is a precautionary action.
                (3)       Demotion to the next lower rank or step with corresponding reduction
in salary. A faculty member with tenure or with security of employment shall not be demoted
to a lower rank without tenure or security employment.
                (4)       Termination.

27.3     Investigation. The investigation of alleged misconduct shall be conducted in as
confidential a manner as possible, and in the process of the investigation the alleged
misconduct shall be considered in the context of the circumstances.
        (a)      The investigation shall include interviewing the complainant, the accused, any
pertinent witnesses, and reviewing any relevant documentation. The accused faculty must be
informed that the faculty member has a right to union representation during investigatory
questioning that may reasonably be expected to result in disciplinary action. A failure to
provide such notice shall not constitute grounds to reverse a disciplinary action; however, it
may be used as a factor that the arbitrator may consider when determining whether the
disciplinary action imposed is appropriate. The accused shall (1) be informed of the complaint,
the complainant, and the time frame of the alleged incident or actions; (2) be provided any
documents under review in the investigation and redacted as required by law; (3) be informed
within seven (7) days of any expansion of the complaint under review; and (4) have the right to
respond to any report of the investigation.

       (b)      Administrative Leave. In the event that the University has reason to believe that
the faculty member’s actions or presence on the job would adversely affect the orderly conduct
and processes of the university, and/or jeopardize the safety or welfare of the faculty member,
colleagues, other employees, or students, the faculty member may be reassigned or relieved of
duties with pay during the investigation. Administrative leave is not discipline.

27.4     Notice of Intent. When the University has reason to believe that a suspension or
termination should be imposed, the University shall provide the accused faculty member with
written notice of the proposed action and the specific reasons for it.
       (a)      Such notice of intent shall be sent by certified mail, return receipt requested, or
delivered in person with written documentation of receipt obtained.

       (b)      The faculty member shall be given fifteen (15) days from delivery of the notice
in which to respond in writing to the University before the proposed action is taken. The
University then may issue a notice of disciplinary action under Section 27.5.

        (c)      If the University does not issue a notice of disciplinary action, no record of the
allegation or the investigation shall be retained in the faculty member’s personnel file. If an

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applicable law requires the university to keep for a specified period the record of a complaint
that does not result in disciplinary action, once the end of that period is reached the University
shall destroy the record of the complaint.

27.5     Notice of Discipline. If after the investigation and notice of intent process, the
University believes that a suspension or termination should be imposed, University shall
provide the faculty member with a written notice of disciplinary action.
       (a)      All such notices shall be sent certified mail, return receipt requested, or
delivered in person to the faculty member with written documentation of receipt obtained.

         (b)     All notices of disciplinary action shall include a statement of the reasons for the
disciplinary action and a statement advising the faculty member that the action is subject to
ARTICLE 28, GRIEVANCE PROCEDURE AND ARBITRATION.
                (1)      The Notice of Discipline shall:
                        a.       Provide notice to the faculty member of the discipline imposed;
                        b.       Include the date on which the discipline will become effective,
provided that in the case of suspension or termination without pay, such pay and benefits shall
not be denied until the period for filing a grievance has elapsed and the faculty member has not
filed a grievance; and
                        c.       Contain a statement that if the faculty member wishes to
contest the discipline, the faculty member must file a grievance within fifteen (15) days after
receipt of the notice.
                (2)      A copy of the Notice of Discipline and attachments shall be
simultaneously provided to UFF.

27.6    Parameters for Arbitrator’s Decision or Award.
       (a)     A finding for just cause for discipline must be based only on the evidence
presented at the arbitration hearing.

        (b)      If the arbitrator does not find that the disciplinary action was based on just
cause, the discipline imposed shall be annulled. If the arbitrator concludes that just cause for
the disciplinary action has been established but that a different penalty would be more
appropriate, arbitrator shall determine a different penalty, which may be more or less severe.

       (c)      The decision of the arbitrator shall be binding upon the University, UFF, and the
grievant provided that either party may appeal to an appropriate court of law.

        (d)      No Further Jeopardy. Following the decision, the faculty member may not be
disciplined again for charges arising from the same incident unless new facts or evidence
materialize that were not known or reasonably available for discovery prior to the arbitrator’s
decision.

27.7     Waiver of Discipline. Any time between the notice of discipline and the imposition of
any disciplinary action, the University may waive or limit that action on the condition that the

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disciplined faculty member performs some reasonable action(s), which shall be specific in
writing, to address the harm or to prevent future harm.
        (a)      Such actions may include, but are not limited to, monetary restitution,
repayment of misappropriated resources, compliance with a commitment not to repeat the
misconduct, or other action designed to make whole the injury caused by the faculty member’s
professional misconduct or to prevent future misconduct.

       (b)     If the imposition of the disciplinary action is waived, the subsequent failure to
perform the required act or otherwise comply with the conditions of the waiver shall
immediately subject the faculty member to the implementation of the underlying discipline
without an additional hearing.

27.8    Employee Assistance Program.
        (a)     Neither a faculty member’s participation in an Employee Assistance Program
(EAP), nor information generated by participation in the program, shall be used as a reason for
discipline under this Article.

       (b)     However, a faculty member’s failure to cooperate in a mandatory EAP may
serve as ground for disciplinary action.

27.9    Job Abandonment
        (a)      If a faculty member is absent without leave for fifteen (15) or more consecutive
days, the faculty member may be considered to have abandoned the position and voluntarily
resigned from the University. The University will make all good faith efforts to contact the
faculty member.

          (b)      Notwithstanding (a) above, if the faculty member’s absence is for reasons
  beyond the control of the faculty member and the faculty member notifies the University as
soon as practicable, the faculty member will not be considered to have abandoned the position.




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                                       ARTICLE 28
                          GRIEVANCE PROCEDURE AND ARBITRATION

28.1     Policy. The purpose of the Article is to provide for the consideration and resolution of
grievances.
        (a)      The procedures in this Article shall be the sole and exclusive method for
resolving the grievances of faculty members except where explicitly specified elsewhere in this
Agreement. A grievance may have three (3) stages
               (1)      Step 1. Hearing by the dean or designee;
               (2)      Step 2. Review by the Provost or designee; and
               (3)      Step 3. Arbitration.

        (b)      The University and UFF agree that problems should be resolved, whenever
possible, before the filing of a grievance but within the time limits for filing grievances.
Participants are encouraged to informally resolve problems at each step in the grievance
process.

        (c)       Effect of Reclassifications. A faculty member who is reclassified to an out-of-
unit classification shall, until the end of the Fall, Spring, or Summer semester following the
semester in which the reclassification becomes effective, retain the right to file a grievance
consistent with the provisions of this Article for any act or omission that would have given rise
to a grievance had the faculty member remained in the bargaining unit.

      (d)     No resolution of any grievance shall be inconsistent with the terms of this
Agreement, unless agreed to in writing by the University and UFF.

28.2   Definitions.
       (a)       The term “grievance” shall mean a dispute concerning the interpretation or
application of a specific term or provision of this Agreement, subject to specific exclusions
appearing in other articles of this Agreement.

       (b)      The term “grievant” shall mean a faculty member, a group of faculty members,
or UFF, who file a grievance.

       (c)      A grievance filed by UFF shall be initiated at Step 2.

       (d)     The parties may agree to consolidate grievances of a similar nature to expedite
the review process.

28.3    Representation.
        (a)      UFF shall have the right to represent any faculty member in a grievance filed
under this Article, unless a faculty member elects self-representation or to be represented by
legal counsel.


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         (b)      UFF grievance Representatives. UFF shall annually furnish to the Office of the
Provost a list of all persons authorized to act as grievance Representatives and shall update the
list as needed.

        (c)      If a faculty member elects not to be represented by UFF, the University shall
inform the UFF Grievance Chair or designee in writing and attach a copy of the filed grievance
materials.
                (1)       UFF shall have the right to have an observer present at all meetings
called for the purpose of discussing such grievance or pre-grievance dispute with the grievant.
The UFF Grievance Chair shall be notified in writing at the same time as the other parties of the
date, time, and location of all meetings called for the purpose of discussing a grievance dispute.
                (2)       UFF shall be sent copies of all decisions at the same time as they are
sent to the other parties.

28.4   Appearances.
              (a)       The grievant must attend the Grievance Hearing. If the grievant does not
attend and has no legitimate excuse for his/her absence, the grievance shall be deemed to be
withdrawn.

               (b)     If participating in any meetings pursuant to a grievance or arbitration
necessitates rescheduling of the faculty member’s assigned scheduled duties, as defined
pursuant to the ASSIGNMENT OF RESPONSIBILITIES article, the faculty member shall make, with
the concurrence of the chair or supervisor, reasonable arrangements for the performance of
such duties.

28.5  Burden of Proof.
      (a)      In all grievances except grievances involving disciplinary action brought
pursuant to ARTICLE 27 the burden of proof shall be on the faculty member.

       (b)      In grievances involving disciplinary action, the burden of proof shall be on the
University.

28.6     Filing a Grievance. Except as explicitly specified elsewhere in the Agreement, this
grievance procedure shall be the sole review mechanism for resolving disputes regarding rights
or benefits that are provided exclusively by this Agreement. The filing of a grievance constitutes
a waiver of any rights to review pursuant to Chapter 120, Florida Statutes, or to the review of
such actions under University procedures that may otherwise be available to address such
matters.
       (a)        In cases involving disciplinary action, a grievance must be received by the Vice
President for Human Resource Services on the form shown in APPENDIX C within fifteen (15)
days following receipt of the Notice of Discipline. In all other cases, a grievance must be
received no later than forty-five (45) days following the act or omission giving rise to the
grievance, or the date on which the faculty member knew or reasonably should have known of
such act or omission if that date is later. The faculty member will lose all rights to a review of

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the dispute unless the faculty member files a grievance within the time specified. Upon receipt
of the grievance, the University shall advise UFF of the dean or designee who will serve as the
University representative and hearing officer at Step 1. In the case of discipline involving
termination or suspension, any challenge to the university’s decision shall be initiated at the
arbitration level. The University or UFF may request an assessment meeting in an effort to find
a resolution without arbitration. If such assessment meeting is requested, the parties shall
participate in the meeting in a good faith effort to resolve the matter. An assessment meeting
must be scheduled to occur within ten (10) days of the University’s final decision to impose
discipline and shall not extend the deadline to request arbitration. The occurrence or non-
occurrence of an assessment meeting does not prohibit the parties from making informal
attempts to resolve the matter.

       (b)       Forms.
               (1)      Grievance Form. Each grievance must be submitted in writing on the
form shown in APPENDIX C, citing which provisions of the Agreement have been violated and
identifying any designee. The APPENDIX C grievance form shall be signed by the grievant.
               (2)      Arbitration Form. Each notice of arbitration shall be submitted in writing
on the form shown in APPENDIX D.
               (3)      The grievance forms may be filed by means of fax, United States Postal
Service, e-mail, or personal delivery. All grievance forms shall be dated when the grievance is
received. The date of receipt shall be determined by the date on receipt if the grievance is hand
delivered; by the date recorded on the fax if it the grievance is filed by fax; by the date of e-
mail, or postmark if the grievance is mailed by United States Postal Service.
               (4)      Amendment of the APPENDIX C Grievance Form. The grievant may
amend the APPENDIX C form one time prior to the Grievance Hearing.
               (5)      Only those acts or omissions identified at the initial filing, or added as
amendments pursuant to 28.6(b)(4) above, may be considered at arbitration.

       (c)        Deadlines.
                (1)      If any action falls due on a Saturday, Sunday, or Holiday, the action shall
be considered timely if it accomplished by 5:00 p.m. on the following business day.
                (2)      If, after the filing of a grievance, a required action on the grievance falls
during a time period when the faculty member is on approved leaves pursuant to the provisions
of Article 21.6, 21.7, 21.8, 21.12(a)(1), 21.12(a)(3) or 21.12(c), the deadline for such action shall
be extended until fifteen (15) days after the faculty member returns from the leave.
                (3)      Upon failure of the University to provide a grievance decision within the
time limits provided in this Article, the grievant or UFF, where appropriate, may file an appeal
at the next step.
                (4)      Upon the failure of the grievant or UFF, where appropriate, to file an
appeal within the time limits, the grievance shall be deemed to have been resolved by the
decision at the prior step.
                (5)      All time limits contained in this Article may be extended by mutual
agreement of the parties in writing.


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       (d)       Postponements.
               (1)       Except for any grievances alleging in whole or part a violation of ARTICLE
27, the grievant may submit a written request to the hearing officer at the appropriate step for
the postponement of any action in processing the grievance formally for a period of up to
fifteen (15) days. The initial such request shall be granted.
               (2)       Additional extensions may be granted by the hearing officer at the
appropriate step.
               (3)       The grievant shall have the right to representation by UFF during
attempts at informal resolution of a dispute or grievance.
               (4)       The grievant may, at any time, terminate the postponement period by
giving written notice to the hearing officer at the appropriate step.

28.7      Step 1 Grievance Hearing. The dean or designee shall be the hearing officer at Step 1.
The dean or designee shall schedule a Grievance Hearing, which shall take place no later than
fifteen (15) days following receipt of the grievance.
        (a)      The dean or designee shall provide the grievant and UFF with any additional
documents on which the action was based no later than three (3) days prior to the Grievance
Hearing, whenever possible. If additional documents become available after the Grievance
Hearing, the dean or designee shall offer the grievant and designated UFF representative the
opportunity to review and respond to these documents in a continuation of the Grievance
Hearing.

       (b)      The grievant shall have the right to present any evidence in support of the
grievance at the Grievance Hearing.

       (c)      Decision. The dean or designee shall render a written decision, stating the
reasons for the decision, to the grievant, the grievant’s representative, the UFF Grievance Chair,
and the Provost or designee within ten (10) days following the conclusion of the hearing.
               (1)      No documents shall be referred to in the decision that have not been
provided to the grievant and the UFF representative or the grievant’s legal counsel.
               (2)      Any new documents presented at the hearing shall be included in the
University response.

28.8   Step 2 Grievance Review.
       (a)      Review. The Provost or designee shall be hearing officer at Step 2. The deadline
for requesting a Step 2 grievance is twenty (20) days following the issuance of the Step 1
decision. The Provost or designee and the representative of the grievant shall meet for the
purpose of reviewing the matter no later than ten (10) days following the receipt of the
request.

        (b)      Decision. The Provost or designee shall issue a written decision, stating the
reasons for the decision, to the grievant, the grievant’s representative, and UFF Grievance Chair
within ten (10) days following the conclusion of the review meeting.
               (1)       No documents shall be relied upon in the decision that the grievant and

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the UFF representative or the grievant’s legal counsel have not had an opportunity to respond
to.
               (2)     Any new documents presented at the hearing shall be included in the
University response.

       (c)      In the absence of an agreement to extend the period for issuing the Step 2
decision, UFF may proceed to arbitration if the grievant’s Step 2 representative has not
received the written decision by the end of the 10th day following the conclusion of the Step 2
hearing.

28.9    Arbitration.
        (a)      Filing. If the grievance has not been satisfactorily resolved at Step 2, UFF may,
upon the request of the grievant, proceed to arbitration by filing a written notice of the intent
to do so on the form shown in APPENDIX D.
               (1)        Notice of intent to proceed to arbitration must be within forty-five (45)
days after receipt of the Step 2 decision or, in the event of suspension or termination, forty-five
(45) days from the University's act or omission giving rise to the arbitration. The request for
arbitration shall be signed by the grievant and UFF President or designee.
               (2)        The grievance may be withdrawn at any time by the grievant or by UFF.

       (b)        Stipulation to Issues and Arbitrability.
                (1)       The University and UFF shall stipulate to the issue(s) to be arbitrated
prior to the arbitration. Only those acts or omissions identified at the initial grievance filing, or
added as amendments pursuant to 28.6(b)(4) above, may be considered at arbitration. If a
stipulation is not reached, the parties shall provide their recommended issues to the arbitrator,
who shall decide the issue(s) to be arbitrated based upon the submitted evidence.
                (2)       Arbitrability. Issues of arbitrability shall be bifurcated from the
substantive issues(s) and determined by means of a hearing, which may be conducted by
conference call. The arbitrator shall have fifteen (15) days from the hearing to render a decision
on arbitrability.

       (c)        Creation of the Arbitration Panel.
                 (1)      Designees of the University and UFF shall meet within ninety (90) days
after ratification of this Agreement for the purpose of selecting an arbitration panel of no less
than six (6) members.
                 (2)      The panel of six (6) arbitrators shall be determined by the following
process. The University and UFF shall each propose six (6) arbitrators. From this list of the
twelve (12) names, the parties shall alternately strike names until a permanent panel of six (6)
arbitrators has been selected. The right of the first choice to strike from the list shall be
determined by a flip of a coin. Arbitrators shall be asked to serve on a rotational basis, the
sequence to be determined by lot.
                 (3)      If the number of arbitrators willing to serve on the panel falls below six
(6), the University and UFF shall each submit an additional three (3) names for each vacancy.
The striking procedure described above shall be used to bring the total in the panel to six (6),

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except that the right of the first choice to strike from the list shall go to whichever party went
second in the previous panel selection.
               (4)      The arbitration panel shall be operative until a successor Agreement is
implemented.

       (d)       Authority of Arbitrator.
                (1)       The arbitrator shall neither add to, subtract from, modify, nor alter the
terms or provisions of this Agreement.
                (2)       Arbitration shall be confined solely to the application and/or
interpretation of this Agreement and the precise issue(s) submitted for arbitration.
                (3)       The arbitrator shall refrain from issuing any statements of opinion or
conclusions not essential to the determination of the issues submitted. Where an administrator
has made a reasonable judgment involving the exercise of permissible discretion, such as
subjective evaluative decisions regarding tenure or promotion, the arbitrator shall not
substitute the arbitrator’s judgment for that of the administrator. Nor shall the arbitrator
review such decision except for the purpose of determining whether the decision has violated
this Agreement.
                (4)       If the arbitrator determines that the Agreement has been violated, the
arbitrator shall direct the University to take appropriate remedial action.
                (5)       An arbitrator may award back salary and related retirement
contributions where the arbitrator determines that the faculty member is not receiving the
appropriate salary from the University. The arbitrator may not award other monetary damages
or penalties.
                (6)       An arbitrator’s decision awarding employment beyond the tenure
probationary period shall not entitle the faculty member to tenure. In tenure cases in which a
substantive violation of this Agreement has been found, the remedy shall be for the grievant to
be granted an additional year employment and reconsidered for tenure without prejudice at
the earliest opportunity.
                (7)       If notice that further employment will not be offered is not given on
time, the arbitrator may direct the university to renew the appointment only upon finding that
no other remedy is adequate, and the notice was given so late that (a) the employee was
deprived of reasonable opportunity to seek comparable employment, or (b) the employee
actually rejected an offer of comparable employment which the employee otherwise would
have accepted.

       (e)       Scheduling of Hearing.
                (1)      The arbitrator shall hold the hearing in Gainesville unless otherwise
agreed to by the parties. The parties shall provide the arbitrator with the schedules of the
grievant, the grievant’s representative, the UFF grievance representative (if different from the
grievant’s representative), the University representatives, and the desired witnesses. The
hearing shall commence no later than sixty (60) days after the arbitrator’s acceptance of
selection, or as soon thereafter as is practicable.
                (2)      The arbitrator shall notify all parties of the date, time, and place of the
arbitration hearing as soon as possible but in no case later than thirty (30) days before the

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hearing date.

        (f)     Conduct of Hearing. Except as modified by the provisions of this Agreement,
arbitration proceedings shall be conducted in accordance with the rules and procedures of the
American Arbitration Association.

        (g)      Venue. For purposes of venue in any judicial review of an arbitrator’s decision
issued under this Agreement, the parties agree that such an appeal shall be filed in the courts in
Alachua County, Florida, unless both parties specifically agree otherwise in a particular
instance. In an action commenced in Alachua County, neither the University nor UFF will move
for a change in venue based upon the defendant’s residence in fact if other than Alachua
County.

       (h)      Retroactivity. An arbitrator’s award may or may not be retroactive as the
equities of each case may demand, but in no case shall an award be retroactive to a date earlier
than one hundred and twenty (120) days prior to the date the grievance was initially filed.

       (i)        Fees and Expenses.
                (1)      All fees and expenses of the arbitrator shall be divided equally between
the parties. Each party shall bear the cost of preparing and presenting its own case.
                (2)      The party desiring a transcript of the arbitration proceedings shall
provide written notice to the other party of its intention to have a transcript of the arbitration
made at least one (1) week prior to the date of the arbitration.
                        a.       The party desiring such transcript shall be responsible for the
scheduling a stenotype reporter to record the proceedings.
                        b.       The parties shall share equally the appearance fee of the
stenotype reporter and the cost of obtaining an original transcript and one (1) copy for the
party originally requesting a transcript of the proceedings.
                        c.       The requesting party shall, at its expense, photocopy the copy of
the transcript received from the reporter and deliver the photocopy to the other party within
five (5) days after receiving the copy of the transcript from the reporter.

       (j)      Precedent. No complaint informally resolved, or grievance resolved, shall
constitute a precedent for any purpose unless agreed to in writing by the President or designee
and UFF acting through its President or designee.

28.10 Decision of the Arbitrator. The arbitrator shall issue the decision within thirty (30) days
of the close of the hearing or the submission of briefs, whichever is later, unless additional time
is agreed to by the University and UFF.
        (a)      The decision shall be in writing and shall set forth findings of fact, reasoning,
and conclusions on the issues submitted. The decision shall not refer to any documents other
than those presented at the arbitration hearing.

       (b)      The arbitrator shall ensure that copies of the decision are sent to the grievant’s

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representative, the UFF Grievance Chair, and the University's representative.

        (c)     Effect of Decision. The decision or award of the arbitrator shall be final and
binding upon the University, UFF, and grievant, provided that either party may appeal to an
appropriate court of law a decision that was rendered by the arbitrator acting outside of or
beyond the arbitrator’s jurisdiction, pursuant to the Florida Arbitration Code, Chapter 682,
Florida Statutes.

28.11 Records. All written materials created as a result of a grievance, except decisions
resulting from arbitration or settlement, shall be filed in a secure location separate from the
evaluation file of the grievant or witnesses.

28.12 Implementation. Upon resolution of the grievance, the parties shall implement the
remedy within seven (7) days, unless otherwise provided by the award of the arbitrator or by
mutual agreement of the parties.




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                                         ARTICLE 29
                                    ACCESS TO DOCUMENTS

29.1   Board of Trustees and University Documents.
       (a)       UFF may make public records requests of the University, which will be handled
in accordance with the University’s normal public records process, including invoicing where
appropriate. In addition to public records requests, UFF may make a request for records under
this ARTICLE 29 and the University shall provide UFF with an electronic copy of documents
necessary to administer grievances and other provisions of this agreement or otherwise carry
out UFF’s obligations as the certified bargaining agency for the faculty. Alternatively, the
University may provide UFF with the URL address for these materials. The University may
request clarification concerning an ARTICLE 29 request. Any disagreement regarding document
requests made according to this Article shall be subject to the grievance procedure as laid out
in ARTICLE 28, GRIEVANCE PROCEDURE AND ARBITRATION.

       (b)     If not available on a web site, University shall provide UFF with an electronic
copy of the agenda, supporting materials and minutes of public meetings (including public
subcommittee meetings) that bear on the terms and conditions of employment of faculty
members.

        (c)      The University shall ensure that documents below are available by links on the
University web site or in an easily accessible location in Smathers West.
                (1)     agenda and minutes of meetings of the Board of Governors;
                (2)     agenda, supporting materials, and minutes of public meetings of the
Board of Trustees and its committees;
                (3)     University regulations;
                (4)     University operating budget and the previous year’s expenditure
analysis to the extent this is public information;
                (5)     this collective bargaining agreement and all supplements to it;
                (6)     other policies and procedures affecting faculty terms and conditions of
employment;
                (7)    minutes of the DRS Advisory Council; and
                (8)    The DRS operating budget.

29.2      Salary Records Access. On September 30 of each year, the University shall provide UFF
with an electronic copy of faculty employment records reflecting the salary increases for each
in-unit faculty member during the preceding twelve (12) months by each increase category.

29.3    Bargaining Unit Member List. On September 30 of each year, the University shall
provide UFF with an electronic spreadsheet including the name, UFID, percentage FTE
appointment, date of hiring, department/unit, position code, title/rank (which will include
designation as visiting or regular status), date promoted to rank, office location (building
name/number and office number), current year salary rate, in-bargaining unit code, e-mail
address, contact telephone number, and contact mailing address for each member in the

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bargaining unit.

29.4     Not less than annually, UFF shall provide the University’s designee for contract
administration with the names and email addresses of the union officers and the union
representative who is designated to receive documents referred to in this Article. UFF shall
notify the designee of any changes to the list of union officers or designated representatives to
receive documents.

29.5    Costs. All copies of materials and access to materials discussed in this Article shall be
provided without cost.




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                                           ARTICLE 30
                                       LAYOFF AND RECALL

30.1     Layoff.
        (a)      When a layoff is to occur as a result of adverse financial circumstances;
reallocation of resources; reorganization of degree or curriculum offerings or requirements;
reorganization of academic or administrative structures, programs, or functions; or curtailment
or abolition of one (1) or more programs or functions; the University shall notify UFF no less
than thirty (30) days prior to taking such action.

       (b)      Layoff Unit. The layoff unit may be at an organizational level of the university,
such as a college/unit, school, department/unit, area, program, or other level of organization as
the University deems appropriate.

30.2    Layoff Considerations. The selection of employees in the layoff unit to be laid off will
be determined as follows:
       (a)      No tenured or permanent status employee shall be laid off if there are non-
tenured or non-permanent status employees in the layoff unit.

        (b)     No employee in a non-tenured or non-permanent status position in the layoff
unit with more than five (5) years of continuous university service shall be laid off if there are
any such employees with five (5) years or less service.

       (c)      The sole instance in which only one (1) employee will constitute a layoff unit is
when the functions that the employee performs constitute an area, program, or other level of
organization at the university.

       (d)      The provisions of 30.2(a) and 30.2(b) will apply unless the University
determines an Affirmative Action employment program will be adversely affected. When an
Affirmative Action program has been so affected, the University shall notify UFF in writing.

        (e)      Where employees are equally qualified under 30.2(a) and 30.2(b) above, those
employees will be retained who, in the judgment of the University, best will contribute to the
institutional mission and purpose. In making such judgment, the University shall carefully
consider employees' length of continuous university service, and take into account other
appropriate factors, including but not limited to performance evaluation by students, peers,
and supervisors, and the employee's academic training, professional reputation, teaching
effectiveness, research record or quality of the creative activity in which the employee may be
engaged, and service to the profession, community, and public.

      (f)      No tenured or permanent status employee shall be laid off solely for the
purpose of creating a vacancy to be filled by an administrator entering the bargaining unit.

       (g)      The University shall notify UFF in writing regarding the use of adjunct and other

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non-unit faculty in those departments/units where employees have been laid off. The use of
adjunct and other non-unit faculty in departments/units where employees have been laid off
may be the subject of consultation meetings.

30.3     Alternative/Equivalent Employment. The University shall make a reasonable effort to
locate appropriate alternate or equivalent employment for laid-off employees and shall share
the results of the effort with the person affected.

30.4      Notice. Employees should be informed of layoff as soon as practicable and, where
circumstances permit, employees with three (3) or more years of continuous university service
should be provided at least one (1) year's notice; those with less service with at least six (6)
months’ notice. The University shall consider the normal hiring cycle of the employee receiving
the layoff notice in an effort to facilitate successful transition/relocation from the University.
Employees who have received notice of layoff shall be afforded the recall rights granted under
Section 30.5. Formal written notice of layoff is to be sent certified mail, return receipt
requested, or delivered in person to the employee with written documentation of receipt
obtained. The notice shall include effective date of layoff; reason for layoff; reason for
shortened period of notification, if applicable; a statement of recall rights; a statement of
appeal/grievance rights and applicable deadlines for filing; and a statement that the employee
is eligible for consideration for retraining for a period of two (2) years following layoff.

30.5   Re-employment/Recall.
       (a)       For a period of two (2) years following layoff, an employee who has been laid
off and who is not otherwise employed in an equivalent full-time position shall be offered re-
employment in the same or similar position at the University should an opportunity for such re-
employment arise. It shall be the employee’s responsibility to keep the University advised of
the employee’s current address. Any offer of re-employment pursuant to this section must
accepted within fifteen (15) days after the date of the offer. If such offer of re-employment is
not accepted, the employee shall receive no further consideration pursuant to this Article. The
University shall notify UFF of the opportunity for such re-employment and when an offer of re-
employment is issued.

       (b)     An employee who held a tenured or permanent status appointment on the
date of termination by reason of layoff shall resume the tenured or permanent status
appointment upon recall.

        (c)      The employee shall receive the same credit for years of service for purposes of
layoff as held on the date of layoff.

       (d)       Employee Assistance Programs. Consistent with the University’s Employee
Assistance Program, employees participating in an employee assistance program who receive a
notice of layoff may continue to participate in that program for a period of ninety (90) days
following the layoff.


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30.6     Limitations. The provisions of Section 30.2 through 30.5 of this Agreement shall not
apply to employees:
       (a)       On “soft money,” e.g., contracts and grants, sponsored research funds, and
grants and donations trust funds;

       (b)      On fixed multi-year appointments;

       (c)      On visiting appointments;

       (d)      Who have received notice of non-reappointment; or

       (e)      Who are appointed for less than one (1) academic year.




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                                        ARTICLE 31
                                  TOTALITY OF AGREEMENT

31.1     Limitation.
        (a)     The University and UFF acknowledge that during the negotiations that resulted
in the Agreement, the University and UFF had the unlimited right and opportunity to present
demands and proposals with respect to any and all matters lawfully subject to collective
bargaining.

        (b)     The University and UFF further acknowledge that all of the understandings and
agreements arrived at thereby are set forth in this Agreement, and that it shall constitute the
entire and sole Agreement between the parties for its duration.

31.2     Obligation to Bargain Changes. During the term of this Agreement, the University
and UFF agree that neither party shall be obligated to bargain collectively with respect to
any subject or matter covered by this Agreement. Notwithstanding these limitations, if the
University seeks to change a term or condition of employment for faculty, the University
shall be obligated to bargain the impact of such change.




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                                            ARTICLE 32
                                           SEVERABILITY

32.1   Invalidation of a Provision of this Agreement.
       (a)      A provision of this Agreement shall be invalid and have no force or effect, if it:
               (1)      Is found to be invalid or unenforceable by final decision of a tribunal of
competent jurisdiction, or
               (2)      Is rendered invalid by reason of any subsequently enacted legislation, or
               (3)      Has the effect of rendering the University ineligible for state or federal
               funding, or
               (4)      Pursuant to Section 447.309(3), Florida Statutes, can take effect only
               upon the amendment of a law, rule, or regulation and the governmental body
having such amendatory powers fails to take appropriate legislative action.

       (b)     If any provision is invalid for the reasons set forth in 32.1(a), it shall not affect
the remainder of the Agreement, and all other terms and provisions shall continue in full force
and effect.

32.2    Negotiations on Replacement Provisions. If a provision of this Agreement fails for
reasons set forth in Section 32.1(a)(1), 32.1(a)(2), or 32.1(a)(3) above, the parties shall
immediately enter into negotiations for the purpose of arriving at a mutually satisfactory
replacement for such provision.

32.3     Effect of Passage of Law. If any provision of this Agreement is rendered invalid by
subsequently enacted legislation that is later wholly or partially overturned through a final
adjudication by the highest tribunal having jurisdiction over the University, the University
agrees to engage in collective bargaining with UFF regarding the provision with the intent of
restoring it consistent with the final adjudication.

32.4      Authority. Except as set forth above, this Article is not intended to cede authority to
any party to invalidate any provision of this Agreement. UFF does not concede to the
constitutionality of any subsequently enacted legislation that invalidates a term of this
Agreement. The University or UFF may choose, but neither is obligated, to challenge said
legislation.




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                                       ARTICLE 33
                                 AMENDMENT AND DURATION

33.1     Effective Date. The Agreement shall become effective July 1, 2021, and shall remain in
effect through June 30, 2024, unless it is extended by mutual agreement of the parties,
pursuant to the Public Employees Relations Act (Chapter 447, Part II, Florida Statutes).

33.2     At any time during this contract, the parties may agree to re-open specific articles or
sections of articles of the contract. Such re-opener negotiations shall be concluded within
ninety (90) days.

33.3    Successor Agreement. Renegotiations for a successor agreement shall begin no later
than nine (9) months prior to the end of the ratified Agreement.

33.4    Memoranda and Amendments. The parties are authorized to enter into agreements or
understandings that do not need to be submitted for ratification. If an agreement or
understanding amends an express provision of the ratified collective bargaining agreement,
then the agreement or understanding shall become part of this Agreement upon ratification by
both parties.




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                                          ARTICLE 34
                                           COPIES

34.1    Copies.
       (a)   The University shall provide UFF 200 copies of this Agreement at no cost.

       (b)     The University shall make available a print-on-demand feature. The cost of such
printed copies shall be borne by the user.

      (c)    The University shall provide UFF an electronic copy of this Agreement and all
supplements.

       (d)     The University shall provide a link titled “Faculty Collective Bargaining
Agreement,” to a searchable PDF version of the ratified UF BOT-UFF Agreement, on the
University’s Human Resource Services web page.




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                                             ARTICLE 35
                                            DEFINITIONS

The following terms, not otherwise defined in Articles, are used in this agreement:

— “academic year” means a period consisting of a Fall and Spring semester of approximately
thirty-nine (39) consecutive weeks, or approximately forty-two (42) consecutive weeks for the
P. K. Yonge Developmental Research School.

— “semester” means one of the two approximately 19.5-week periods (approximately twenty-
one (21) week period for the P. K. Yonge Developmental Research School) that together
constitute the academic year.

— “year” means a period of twelve (12) consecutive months.

— “fiscal year” is the University fiscal year (July 1-June 30).

— “months” means calendar months.

— “days” means calendar days, unless otherwise indicated.

— “University” means the University of Florida and its Board of Trustees.

— “Agreement” means this Collective Bargaining Agreement between the University of Florida
Board of Trustees and the United Faculty of Florida.

— “Trustees” or “Board of Trustees” or “Board” means the legally responsible governing body
of the University of Florida, established by Florida Statutes, acting through the President
and the rest of the University Administration and staff. “Trustees” is usually intended to mean
the University administration acting on behalf of the Trustees, and an instruction given by a
member of the University Administration shall be understood to be an instruction from the
Trustees.

— “administration” or “University Administration” means administrative staff acting on behalf
of the Board of Trustees or its designees.

— “college” or “college/unit” means a college or a comparable administrative unit generally
equivalent in size and character to a college.

— “dean” means the principal administrator of a college or of a comparable administrative
unit equivalent in size and character to a college.

— “department” or “department/unit” means a department or a comparable administrative
unit generally equivalent in size and character to a department.

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  — “supervisor” means an individual identified by the President or designee as having
  immediate administrative authority over bargaining-unit employees.

  — “faculty member” means a member of the bargaining unit, and “faculty” or “faculty
  members” means all members of the bargaining unit.

  — “bargaining unit” means those employees, collectively, represented for collective
  bargaining purposes by UFF pursuant to the certification of the Florida Public Employees
  Relations Commission.

  — “UFF” means the United Faculty of Florida. However, passages in the Agreement referring
  to notifying or providing documents to UFF, unless otherwise indicated, mean notifying or
  providing documents to the President of the UFF Chapter or designated representative.

  — “UFF Grievance Chair” means the chair of the Grievance Committee of the UFF Chapter.

  — “equitable” means fair and reasonable under the circumstances.

  — “if practicable” means capable of being put into practice and resources are available.

  — “FTE” means “full time equivalent or effort.”

  — “principal place of employment” means the campus location or other University site
  specified on the faculty member’s official employment documents and where most of the
  assignment is performed.

  — “continuous service” means employment uninterrupted by a break in service. For
  academic- year faculty members (9- or 10-month faculty members), one (1) year of continuous
  service is equivalent to the nine (9)- or ten (10)-month employment period.

  — “break in service” means those absences following which the faculty member is treated as
  a new faculty member for purposes of computing seniority and years of service. An absence as
  a result of an approved compensated or uncompensated leave is not considered a “break in
  service.”

— “in writing” shall mean any form of written communication (electronic or hard copy).




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                                        APPENDIX A
                     POSITION CLASSIFICATIONS IN THE BARGAINING UNIT

All employees at the University of Florida in the following positions holding regular, visiting,
provisional, research, affiliate, or joint appointments are included in the bargaining unit (for
convenience, the positions are listed here with the corresponding University of Florida position
classification code, as of May 2007):

        000512 — Eminent Scholar
        000516 — Graduate Research Professor
        000517 — Distinguished Service Professor 000518 — Professor
        000524 — Associate Professor
        000530 — Assistant Professor
        000789 — Clinical Professor
        000790 — Clinical Associate Professor
        000791 — Clinical Assistant Professor
        000534 — Master Lecturer
        000533 — Senior Lecturer
        000531 — Lecturer
        000428 — University Librarian
        000432 — Associate University Librarian
        000436 — Assistant University Librarian
        000431 — University School Professor
        000435 — University School Associate Professor
        000438 — University School Assistant Professor
        000440 — University School Instructor
        000507 — Curator
        000519 — Associate Curator
        000525 — Assistant Curator
        000421 — Research Associate
        001558 — Senior Associate in                                       (a person who is
directly engaged in teaching, researching, student advising, or library-related services requiring
professional knowledge, and is not purely technical support or exercises purely administrative
functions)
        000429 — Associate in                                        (a person who is directly
engaged in teaching, researching, student advising, or library-related services, requiring
professional knowledge, and is not purely technical support or exercises purely administrative
functions)
        000433 — Assistant in                                       (a person who is directly
engaged in teaching, researching, student advising, or library-related services requiring
professional knowledge, and is not purely technical support or exercises purely administrative
functions)
        000508 — Engineer
        000520 — Associate Engineer

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         000526 — Assistant Engineer
         000509 — Scholar
         000521 — Associate Scholar
         000527 — Assistant Scholar
         000510 — Scientist
         000522 — Associate Scientist
         000528 — Assistant Scientist
         001254, 001427, or 001428 — Research Information Co-ordinator
         001245, 001418, or 001419— Broadcasting Coordinator I
         001255 — University Research Associate Director V
         001264 or 001433 — Psychologist III or VI
         001278 — Psychiatrist
         001279 — University Physician
         001280, 001449, or 001471 — Physician’s Assistant
         001294, 001462 — Student Counseling Specialist
         C1 — Chairs or School Director (Chair equivalent) in the following colleges:
                College of Liberal Arts and Sciences
                College of Education
                College of Business Administration
                College of the Arts
                College of Health and Human Performance
         C2 — Associate Chair or Associate School Director (Associate Chair equivalent)
         C3 — Assistant Chair or Assistant School Director (Assistant Chair equivalent)
         G1 — Program Director, or Center Director (with “F” as the third digit of the position
classification code, having duties that are more akin to those of a Chair than those of a Dean);
and
                Program/Center Director (with “7” as the third digit of the occupational code) of
English (Dial Center); Criminology, Law, and Society; Linguistics; Women’s Studies; Dean’s Office
Education (Lastinger Learning Center); and European Studies programs
         N1 — Coordinator

All other employees of the University of Florida Board of Trustees are excluded from this
bargaining unit.




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                                      APPENDIX B
                        UNITED FACULTY OF FLORIDA UFF-FEA-NEA
                    SAMPLE UFF DUES DEDUCTION AUTHORIZATION FORM

Please fill out the form below and return it to:

  [Name] , President, UFF-UF Chapter, P.O. Box 112070, 308 Yon Hall

MEMBERSHIP FORM, UNITED FACULTY OF FLORIDA
Please Print Complete Information


 Social Security Number                            Last Name                First Name      MI


 Home Street Address                               Campus Address & P.O. Box Department


 City                      State      Zip Code     Office Phone                   Home Phone


 E-mail Address – Personal / Home                  Email Address – Office

Please enroll me immediately as a member of the United Faculty of Florida (FEA-NEA-AFT, AFL-
CIO). I hereby authorize my employer to begin bi-weekly payroll deduction of United Faculty of
Florida dues in such amount established from time to time in accordance with the constitution
and bylaws of the UFF and certified in writing to the University Administration. This deduction
authorization shall continue until revoked by me at any time upon thirty (30) days written
notice to the Office of Human Resource Services and to the United Faculty of Florida.



Signature (for payroll deduction authorization)                                 Today’s Date

Return to the UFF State Office, 115 N Calhoun Street, Suite 6, Tallahassee, FL 32301, or to the
UFF-UF Office,
P.O. Box 112070, 308 Yon Hall, UF.

Visit the UFF-UF Chapter Web Site at http://www.uff-uf.org




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                       UNITED FACULTY OF FLORIDA UFF-FEA-NEA
               SAMPLE UFF-PAC PAYROLL DEDUCTION AUTHORIZATION FORM

United Faculty of Florida - Political Action Committee 115 N Calhoun Street, Suite 6
Tallahassee, FL 32301
850-224-8220

Please Print

University/College                            Dept.:

Name:

Address:

City:                                State:                 Zip:

UFF-PAC Payroll Deduction (For University of Florida Faculty)

I authorize the UF Board of Trustees, through the University Administration, to deduct from my
pay contributions to UFF Political Action Committee in the amount of $1 per pay period, and I
direct that the sum so deducted be paid over to UFF. The above deduction authorization shall
continue until revoked by me through written notice to the Office of Human Resource Services
and to UFF.



Signature (for payroll deduction authorization)                               Today’s Date

Return to the UFF State Office listed above, or to the UFF-UF Office, P.O. Box 112070, 308 Yon
Hall, UF.




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                                        APPENDIX C
                                      GRIEVANCE FORM

I.  Date received by the Office of Human Resource Services (as authenticated by receipt,
postmark, or date recorded on fax or email, as applicable)            (must be received within
forty-five (45) days of the date of the act or omission giving rise to the grievance, or within
fifteen (15) days of the Notice of Discipline in grievances involving disciplinary action) by:

          Personal delivery ________
          U. S. Mail ______________
          Fax ___________________
          Email         ______ _____ for email filing use: (to be determined)

     GRIEVANT                                    STEP 1 GRIEVANCE      REPRESENTATIVE

     NAME: _____________________________         NAME: _____________________________
                                   (print)                                     (print)

CAMPUS MAILING ADDRESSES:

     COLLEGE:___________________________         COLLEGE:___________________________

     DEPT:______________________________         DEPT:______________________________

     DEPT ADDRESS:______________________         DEPT ADDRESS:______________________

     ___________________________________         ___________________________________

     PHONE:_____________________________ PHONE:_____________________________

If grievant is represented by UFF or legal counsel, all University communications should go
to the grievant’s representative. Other addresses to which University mailings pertaining to
grievance shall be sent:

_______________________________________________

_______________________________________________

_______________________________________________

II.       GRIEVANCE

Article(s) and Sections(s) of Agreement allegedly violated:

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_______________________________________________

_______________________________________________

Statement of grievance (must include date of acts or omissions complained of):




Remedy Sought:




III.      AUTHORIZATION

I will be represented in this grievance by (check one — representative must sign on the
appropriate line):


                UFF

                Legal Counsel

                Myself


If the grievant elects self-representation or to be represented by legal counsel, the UFF
shall also be notified in writing of the date, time, and place of any meeting or hearing
called for the purpose of discussing the grievance, shall have the right to have an observer
present at all meetings and/or hearings called for the purpose of discussing such grievance,
and shall be sent copies of all decisions at the same time as they are sent to the other
parties. No resolution of any individually processed grievance can be inconsistent with the
terms of this Agreement.

I understand and agree that by filing this grievance, I waive whatever rights I may have

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under chapter 120 of the Florida Statutes with regard to the matters I have raised herein
and under all other University procedures which may be available to address these
matters.



Signature of Grievant                                                      Today’s Date
(Grievant must sign if grievance is to be processed.)

The decision of the hearing officer shall be transmitted, by personal delivery with written
documentation of receipt or by certified mail, return receipt requested, to the grievant, the
grievant’s representative, the UFF Grievance Chair, and the Provost or designee within ten
(10) days following the conclusion of the meeting.

UNIVERSITY OF FLORIDA
Board of Trustees–United Faculty of Florida




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                                        APPENDIX D
                                   NOTICE OF ARBITRATION

This notice was filed with the Office of Human Resource Services (as authenticated by receipt,
postmark, or date recorded on fax or email) on                by (check one):

       Personal delivery ________
       U. S. Mail ______________
       Fax ___________________
       Email       ______ _____ __            for email filing use: (to be determined)

The United Faculty of Florida hereby gives notice of its intent to proceed to arbitration in
connection with the decision of the Trustees dated                               and received by
the UFF Grievance Representative or the Grievant (if not represented by UFF) on
                               in this grievance of:

       NAME:

       BOT FILE NO:

The following statement of issue(s) before the Arbitrator is proposed:




Signature of UFF President or Designee                          Date

I hereby authorize UFF to proceed to arbitration with my grievance. I also authorize UFF and the
Board of Trustees or its representatives to use, during the arbitration proceedings, copies of
any materials in my evaluation file pertinent to this grievance and to furnish copies of the same
to the arbitrator.




Signature of Grievant                                           Date

UNIVERSITY OF FLORIDA
Board of Trustees–United Faculty of Florida




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                                          APPENDIX E
                                 P. K. YONGE SALARY SCHEDULE

The parties acknowledge that salary schedules and systems are subject to change as the
Legislature and the Department of Education work to implement changes resulting from SB
736. What follows became effective for the 2013-14 year based on current understanding of
Legislative intent and technical assistance by the Florida Department of Education. The system
will remain in place for the entire contract, unless Florida statute or state board rules change
the system. If changed, the parties agree to re-open APPENDIX E to modify as appropriate.
The re-opener negotiations shall be in accordance with the provisions of ARTICLE 33.

All raises for P. K. Yonge faculty shall be in accordance with the provisions of Article 24.7.

The state requires two salary schedules: Grandfathered and Performance. They are described
below.

Grandfathered Salary System
   • Limited to fulltime school employees who remain on a permanent status contract
   • Raises for promotions shall be in accordance with the provisions of ARTICLE 24
      o the basis for promotion raises shall be prior year’s salary plus any degree
         supplement
   • Employees are eligible for salary supplements in accordance with APPENDIX F
   • Employees are eligible for advanced degree supplements described below
   • Employees are eligible for career milestone supplements for promotions at the
      University

Grandfathered Salary Schedule
   • Advanced degree supplement
      o With the new salary system(s) advanced degrees are removed from current salary
         and transferred in to a permanent salary supplement
      o The supplements are:
          Masters $2000
          Specialist                $3600
          Doctorate                 $5550
      o Supplements are only awarded for an advanced degree held in an individual’s area of
         certification (for advanced degrees earned after July 1, 2011).
      o Applies only to the highest degree earned
      o The total supplement is adjusted for degrees already earned (that is, an individual
         who has a master’s degree who then earns a Specialist degree would receive an
         additional $1600 when the Specialist degree is awarded)
   • Annual adjustment and evaluation adjustment
      o $500 annual adjustment
      o $200 for Effective/Highly Effective summative evaluation rating (requirement of

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          S.1012.22, F.S.)

Performance Salary System
   • For all instructional personnel on annual contract and permanent status faculty
      members who “opt in” to the Performance Pay System in lieu of permanent status
       once they opt in, they may not return to the Grandfather System nor regain
          permanent status
   • Annual performance adjustments may not be provided for an employee who receives an
      evaluation other than highly effective or effective for the year
   • Raises for promotions shall be in accordance with the provisions of ARTICLE 24
      o the basis for promotion raises shall be prior year’s salary plus any degree supplement
   • Employees are eligible for salary supplements in accordance with APPENDIX F
   • Employees are eligible for advanced degree supplements described below
   • Employees are eligible for career milestone supplements for promotions at the
      University

Performance Salary Schedule
   • Base entry level = $38,000
      o New hires may be credited for documented, effective, full-time equivalent K-12
         teaching
      o Each year of credit is $600 and will be added to the base entry salary level figure
         above
   • Advanced degree supplement
      o With the new salary system(s) advanced degrees are removed from current salary
         and transferred in to a permanent salary supplement
      o The supplements are:
          Masters $2000
          Specialist                $3600
          Doctorate                 $5550
      o Supplements are only awarded for an advanced degree held in an individual’s area of
         certification (for advanced degrees earned after July 1, 2011).
      o Applies only to the highest degree earned
      o The total supplement is adjusted for degrees already earned (that is, an individual
         who has a master’s degree who then earns a Specialist degree would receive an
         additional $1600 when the Specialist degree is awarded)
   • Annual Performance Adjustment
      o Unsatisfactory                             No salary adjustment
      o Developing/Needs Improvement               No salary adjustment
      o Effective                                  $ 600
      o Highly Effective                           $ 775

Note: for both the grandfathered and performance systems, the faculty member’s salary will be
base salary plus any degree supplement plus cumulative annual performance adjustment plus

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any promotion supplement that was awarded after October 1, 2013.




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                                   APPENDIX F
     P. K. YONGE DEVELOPMENTAL RESEARCH SCHOOL FACULTY SALARY SUPPLEMENTS


                             ACTIVITY                  SUPPLEMENT AMOUNT

 Daily Summer Stipend                                  $30/hour; $180/day max
 Teacher on District Administrative Assignment              $1000-$5000
 Drivers Education Trainer                               Based On Collection
 Sixth Period Class                                        20% Of Salary
 Planning for three or more preparations                       $1500
 Teacher Leader                                                $1000
 Learning Community Leader                                     $2000
 Professional Learning Partner – Assigned Year 1               $1200
 Professional Learning Partner – Assigned Year 2                $800
 Professional Learning Partner – Assigned Year 3                $400
 *Teacher Induction Participant                                 $250
 Club, Class, or Student Publication Sponsor                $500-$1500
 Choral Director                                               $1500
 Band Director                                                 $3500
 Spring Arts Festival Show Preparation                          $800


*Payable at end of year as a lump sum.




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                      ATHLETIC COACHES              SUPPLEMENT AMOUNT
Assistant Athletic Director                                          $2886
Baseball Varsity Head Coach                                          $2419
Baseball Varsity Assistant Coach                                     $1168
Baseball JV Head Coach                                               $1381
Baseball JV Assistant Coach                                          $1036
Basketball Varsity Head Coach                                        $3368
Basketball Varsity Assistant Coach                                   $2331
Basketball JV Head Coach                                             $2331
Cheerleading Head Coach                                              $2333
Cheerleading Varsity Assistants/JV Head Coach                        $1500
Cross Country Head Coach                                             $1467
Cross Country Assistant Coach                                         $650
Cross Country JV                                                      $400
Diving Head Coach                                                    $1168
Football Head Coach                                                  $4321
Football Offensive Coordinator                                       $3361
Football Defensive Coordinator                                       $3361
Football Varsity Assistant Coach I                                   $2938
Football Varsity Assistant Coach II & III                            $2938
Football JV Head Coach                                               $1869
Football JV Assistant Coach                                          $1500
Golf Head Coach                                                      $1557
Soccer Varsity Head Coach                                            $1988
Soccer Varsity Assistant Coach                             $1211
Soccer JV Head Coach                                       $1211
Softball Varsity Head Coach                                $2419
Softball Varsity Assistant Coach                           $1168
Softball JV Head Coach                                     $1381
Swimming Head Coach                                        $1815

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 Swimming Assistant Coach                                                   $1168
 Tennis Head Coach                                                          $1800
 Tennis Assistant Coach                                                     $1036
 Track Head Coach                                                           $2419
 Track Assistant Coach I, II, & III                                         $1381
 Volleyball Head Coach                                                      $1988
 Volleyball Varsity Assistant Coach                                         $1168
 Volleyball JV Head Coach                                                   $1211
 Volleyball Freshman Head Coach                                             $1036


(1)    A Faculty member who coaches both genders of the same sport but runs practice at
the same time will receive 1 full stipend and ½ of the other (gender) stipend.

(2)      Ten percent (10%) of current supplement will be awarded to each athletic coach for
advancement to and participation in regional finals. An additional ten percent (10%) of the
current supplement will be awarded to each athletic coach for state play-offs. (Note: This
additional supplement applies ONLY to those athletic coaches receiving a supplement listed
above during regular season play.)




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                                      APPENDIX G
                      UFOLIO ELECTRONIC SYSTEM FOR DISCLOSURE AND
                       REVIEW OF OUTSIDE ACTIVITIES AND INTERESTS

General Remarks
[Note: The “General Remarks” section of APPENDIX G contains information that is specific to
faculty in the UFF-UF bargaining unit. It appears in this appendix as an informational preamble
but will not appear in the UFOLIO system.]

University of Florida faculty are required to disclose certain Outside Activities and Financial
Interests. When properly approved and managed, the University of Florida and UFF-UF agree
that Outside Activities may support faculty professional growth and reputation, create and
disseminate new knowledge and ideas and further the University’s mission of excellence in
education, research and service. A faculty member’s primary professional obligations are to
maintain the highest ethical and professional standards and, as an agent of the University, act
in its best interests. Faculty members may engage in approved Outside Activities, including
employment, and hold Financial Interests as long as the activities and interests are in
accordance with the law and do not conflict with their University duties and responsibilities.

UFOLIO is the University’s electronic system for disclosure and review of Outside Activities and
Financial Interests. The faculty member shall provide responses to the UFOLIO questions listed
below. ARTICLE 26 of the Collective Bargaining Agreement governs such reporting for members
of the UFF-UF bargaining unit. When consistent with the provisions of ARTICLE 26, relevant
University officials may ask a faculty member follow up questions, beyond the UFOLIO
questions, related to the disclosed Outside Activity to gather information helpful to the review
and approval process. Faculty are under no obligation to provide additional information;
however, the University may, under the provisions of Article 26.4(b), disapprove an activity if it
has insufficient information to conduct its review. The University shall not make substantive
changes to these questions in APPENDIX G or the information necessary for disclosure without
bargaining with UFF.

Faculty are advised to review the definitions, terms and conditions of the reporting
requirements defined in ARTICLE 26. By reporting such activities, a faculty member does not
waive his or her constitutional rights and retains the rights and ownership to intellectual
property consistent with ARTICLE 22.




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Basic Information

Welcome to UFOLIO!

UFOLIO will guide you through disclosing your outside interests and activities.

You should gather any documents, such as consulting agreements, appointment letters, and
contracts, which pertain to your Outside Activities and interests. You may need to reference or
submit a copy of these documents on the following pages to determine if you should disclose
your interests and to answer questions.

You may also want to reference the UFOLIO resources on our website, including quickstart
guides, examples of inside/Outside Activities, and other materials are available here.

Please submit separate disclosures for each of your applicable Outside Activities and Financial
Interests.

Please DO NOT disclose activities that your department leadership considers to be part of your
UF role ("Inside Activities"). See example list for additional clarification: Examples of Inside and
Outside Activities.

For faculty in the bargaining unit, please refer to ARTICLE 26, OUTSIDE ACTIVITY AND CONFLICT
OF INTEREST, APPENDIX G, and ARTICLE 22, INTELLECTUAL PROPERTY, especially 22.4(a) with
regard to Faculty exclusive ownership rights) of the Collective Bargaining Agreement to
understand your reporting obligations and the definitions and examples of Inside Activity and
other material terms utilized in UFOLIO.

For all other employees, please refer to the University’s Conflict of Interest policy to understand
your reporting obligations and definitions utilized in UFOLIO.

If you have nothing to disclose, please select that option on the next screen.




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Please select the type of Outside Activity or interest you have to disclose. If you have multiple
disclosures to enter, you will disclose one at a time (e.g., consulting for one outside entity and a
leadership role with a different outside entity). If none of these activities or interests apply to
you, select that option at the bottom of the list.

        (1)     Management or Material Interest: An employee must report a management
position (e.g., officer, director, partner, proprietor) held or material interest (more than a 5%
ownership interest) owned by themselves, anyone in the Reporting Household, and any
Relative (as defined in Florida Statute 112.312) whose position or interest is known to the
employee, in an Entity that enters into any agreements or contracts with University (e.g.,
service agreements, leases, sales agreements).

        (2)    Publicly-Traded Entity Payments/Ownership: An employee must report receipt
of payments from or an ownership interest of $5,000 or more (including shares, partnership
stake, or derivative interests such as stock options) in a publicly-traded Entity by the employee
or anyone in the Reporting Household where the payments or ownership interest reasonably
appear to be related to the employee’s Inside Activities or Institutional Expertise. This does not
include an ownership interest managed by a third party, such as a mutual or retirement fund.

        (3)     Privately-Held Entity Ownership: An employee must report any ownership in a
privately held Entity by the employee or a member of the Reporting Household, where the
ownership interest reasonably appears to be related to the employee’s Inside Activities or
Institutional Expertise.

       (4)     Public Office/Candidate: An employee must report if the employee is a
candidate for public office or holds public office.

        (5)     Outside Teaching Appointments: An employee must report if the employee has
or is seeking approval to hold an additional (to their UF appointment) teaching appointment
with an outside Entity, in the area of their Institutional Expertise that represents a Private
Interest.

        (6)     Outside Research: An employee must report if the employee oversees or
conducts or is seeking approval to conduct any research in the general area of their Institutional
Expertise at, or receive any research resources or funding from or through, any Entity other
than the University. Research by Investigators conducted at Entities as part of a University
sponsored project or research funding received by the University is subsumed under Inside
Activity and hence does not need to be disclosed in UFOLIO.

       (7)     Classroom Works: An employee must report if the employee requires or seeks
approval to require students to purchase works to be used in the employee’s classroom when
such works were created, authored or co-authored (e.g., textbook(s), computer software,
electronic or digital media) by the employee or employee’s spouse and for which the employee


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or their spouse will receive, or anticipate receiving payment, loan, subscription, advance,
deposit of money or service or anything of monetary value.

        (8)    Royalties/Copyright/Licensing Income (according to ARTICLE 22 for faculty in
the bargaining unit): An employee must report if the employee receives royalties, licensing
fees, and/or copyright income in the area of their Institutional Expertise of $5,000 or more,
annually from an Entity other than the University.

        (9)      Expert Witness/Legal Consulting: An employee must report if the employee
serves or seeks approval to serve as an expert witness and/or engage in consulting in the area
of their Institutional Expertise or Inside Activities in a legal matter like a lawsuit or a potential
lawsuit.

        (10) Professional Services Related to Institutional Expertise: An employee must
report if an employee provides or seeks approval to provide professional services to an outside
Entity in the area of the employee’s Inside Activities or Institutional Expertise that represent a
Private Interest.

       (11) Leadership Roles: An employee must report if the employee has a senior
management, administrative, or leadership role, that represents a Private Interest, with an
outside Entity related to the employee’s Inside Activities or Institutional Expertise where the
employee makes executive business and/or financial decisions on behalf of the outside Entity.

       (12) Innovation Inducement Cash Value Prize: An employee must report if they
choose to participate, as an Outside Activity, in a competition, with a prize amount greater than
$5000, in the area of their Institutional Expertise.

       (13) Nothing to Disclose: By selecting this option, the employee is certifying that
none of the statements listed above applies to the employee.




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[Faculty will see this screen first if they indicate an activity in any of the first twelve categories.]

Entity Information

    1. External entity:
           a. If you are unable to find the entity, please enter as text below:
                      i. Is the entity publicly traded?
                     ii. Country:
                    iii. Entity-related documents:
    2. Entity EIN tax number (optional):
    3. Entity website URL (optional):




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[Faculty will see this screen after the Entity screen if they indicate an activity in any of the first
three categories.]

Management, Material Interests and Ownership Interests

    1. Please fully describe the details of this relationship, interest, or activity including your
        role(s) with the entity, a complete description of what you will be doing in simple terms,
        and how it relates to your institutional expertise. Please note, providing sufficient detail
        up front will help expedite the review process for you.
    2. Location of Entity
            a. City:
            b. County:
            c. State:
            d. Country:
    3. Own equity, stock, or stock options in this entity?
            a. Does the ownership interest exceed 5% of the total value of the entity?
    4. Is the expected annual compensation $5,000 or more?
            a. If yes, what is the amount of expected annual compensation? (You may provide
                 additional clarification using #14 below).
    5. Will UF equipment, facilities, services, resources be used (on a more than incidental
        basis), or will staff and/or students be involved in this activity or Financial Interest?
            a. Please describe the use of UF resources and/or involvement of UF staff and/or
                 students:
    6. In your performance of UF responsibilities, do you use products or services from this
        entity?
            a. Explain:
    7. Are you participating in UF research that would affect the disclosed entity (e.g. the
        entity: sponsors the research, makes a drug or device being evaluated in the study,
        options or licenses related technology or is otherwise related to the study)?
    8. Does your contract or agreement with the outside entity include language regarding
        intellectual property, works, patents, inventions or copyrights?
    9. Does the entity sponsor your research at UF?
    10. Does the entity license your technology from UF?
    11. To the best of your knowledge, does this entity do any business whatsoever with UF?
        (e.g. purchasing agreements, research sponsorship, agreements for service, clinical
        trials, etc.)
            a. Do you provide input, make recommendations, influence decisions, or have any
                 involvement whatsoever in any business between the entity and UF? Please
                 explain in detail.




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12. Please upload an agreement with the entity to authenticate your responses to the
    questions in this section. If you do not have a formal agreement, please upload any
    email, correspondence, or document that serves the same purpose.
13. Does this relationship require any of your time (e.g., providing services, attending
    meetings, etc.)?
14. Additional relevant information, if any, that would help clarify this disclosure:
15. Attach any additional supporting documentation, if applicable (descriptive emails,
    letters, etc.):




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[Faculty will see this screen after the Entity screen if they indicate an activity in the fourth
category.]

Public Office

   1. Please fully describe the details of this relationship, interest, or activity including your
      role(s) with the entity, a complete description of what you will be doing in simple terms,
      and how it relates to your institutional expertise. Please note, providing sufficient detail
      up front will help expedite the review process for you.
   2. Location
          a. City:
          b. County:
          c. State:
          d. Country:
   3. Will UF equipment, facilities, services, resources be used (on a more than incidental
      basis), or will staff and/or students be involved in this activity or Financial Interest?
          a. Please describe the use of UF resources and/or involvement of UF staff and/or
              students:
   4. Additional relevant information, if any, that would help clarify this disclosure:
   5. Attach any supporting documentation, if applicable (descriptive emails, letters, etc.):




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[Faculty will see this screen after the Entity screen if they indicate an activity in the fifth
category.]

Outside Teaching Appointments

    1. Please fully describe the details of this relationship, interest, or activity including your
       role(s) with the entity, a complete description of what you will be doing in simple terms,
       and how it relates to your institutional expertise. Please note, providing sufficient detail
       up front will help expedite the review process for you.
    2. Location where you will be teaching
            a. City:
            b. County:
            c. State:
            d. Country:
    3. Is the estimated annual compensation $5,000 or more?
            a. If yes, what is the amount of estimated annual compensation?
    4. Are you participating in UF research that would affect the disclosed entity (e.g. the
       entity: sponsors the research, makes a drug or device being evaluated in the study,
       options or licenses related technology or is otherwise related to the study)?
    5. Does your contract or agreement with the outside entity include language regarding
       intellectual property, patents, inventions works or copyrights ?
    6. Will UF equipment, facilities, services, resources be used (on a more than incidental
       basis), or will staff and/or students be involved in this activity or Financial Interest?
    a. Please describe the use of UF resources and/or involvement of UF staff and/or students:
    7. Please upload an agreement with the entity to authenticate your responses to the
       questions in this section. If you do not have a formal agreement, please upload any
       email, correspondence, or document that serves the same purpose.
    8. Additional relevant information, if any, that would help clarify this disclosure:
    9. Attach any additional supporting documentation, if applicable (descriptive emails,
       letters, etc.):




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[Faculty will see this screen after the Entity screen if they indicate an activity in the sixth
category.]

Outside Research

   1. Please fully describe the details of this relationship, interest, or activity including your
       role(s) with the entity, a complete description of what you will be doing in simple terms,
       and how it relates to your institutional expertise. Please note, providing sufficient detail
       up front will help expedite the review process for you.
   2. Location where you will be conducting the research
           a. City:
           b. County:
           c. State:
           d. Country:
   3. Is the estimated annual compensation $5,000 or more?
           a. If yes, what is the amount of estimated annual compensation?
   4. Are you participating in UF research that would affect the disclosed entity (e.g. the
       entity: sponsors the research, makes a drug or device being evaluated in the study,
       options or licenses related technology or is otherwise related to the study)?
   5. Does your contract or agreement with the outside entity include language regarding
       intellectual property, patents, inventions, works or copyrights ?
   6. Will UF equipment, facilities, services, resources be used (on a more than incidental
       basis), or will staff and/or students be involved in this activity or Financial Interest?
   a. Please describe the use of UF resources and/or involvement of UF staff and/or students:
   7. Does the entity sponsor your research at UF?
   8. Does the entity license your technology from UF?
   9. To the best of your knowledge, does this entity do any business whatsoever with UF?
       (e.g. purchasing agreements, research sponsorship, agreements for service, clinical
       trials, etc.)
           a. Do you provide input, make recommendations, influence decisions, or have any
                involvement whatsoever in any business between the entity and UF? Please
                explain in detail.
   10. Please upload an agreement with the entity to authenticate your responses to the
       questions in this section. If you do not have a formal agreement, please upload any
       email, correspondence, or document that serves the same purpose.
   11. Additional relevant information, if any, that would help clarify this disclosure:
   12. Attach any additional supporting documentation, if applicable (descriptive emails,
       letters, etc.):




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[Faculty will see this screen after the Entity screen if they indicate an activity in the seventh
category.]

Classroom Works

   1. Please fully describe the details of this relationship, interest, or activity including your
      role(s) with the entity, a complete description of what you will be doing in simple terms,
      and how it relates to your institutional expertise. Please note, providing sufficient detail
      up front will help expedite the review process for you.
   2. Is the estimated annual compensation $5,000 or more?
           a. If yes, what is the amount of estimated annual compensation?
   3. For books or other educational resources used in your classroom that you or your
      spouse created or co-authored and receive payments for (e.g., royalties), the work must
      generally meet the following parameters:
           a. The work is selected for academic reasons independent of any financial gain for
              you or your family members;
           b. The work includes original work by you, and is not solely a collection of the
              works of others;
           c. The work is offered at fair market prices;
           d. The work has been adopted for use at other higher education institutions;
           e. The work has been through a peer review process; and
           f. The work is protected by copyright and published/produced by an incorporated
              or registered publisher/entity that does not require users to waive intellectual
              property rights.
           g. Such required materials or resources also must not include sale, separate from
              the textbook or workbook, of exams, quizzes, required assignments, extra-credit
              assignments, and other general course information and evaluative materials that
              are customarily available in the textbook or workbook or are customarily made
              available to students free of charge.
                       i. Does the book/resource meet these criteria?
                      ii. If you answer no to the question above, please explain how the use of
                          the resource best serves the academic interest of the class under the
                          circumstances:
   4. Please upload an agreement with the entity to authenticate your responses to the
      questions in this section. If you do not have a formal agreement, please upload any
      email, correspondence, or document that serves the same purpose.
   5. Additional relevant information, if any, that would help clarify this disclosure:
   6. Attach any additional supporting documentation, if applicable (descriptive emails,
      letters, etc.):




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[Faculty will see this screen after the Entity screen if they indicate an activity in the eighth
category.]

Royalties/Licensing/Copyright Income

   1. Please fully describe the details of this relationship, interest, or activity including your
       role(s) with the entity, a complete description of what you will be doing in simple terms,
       and how it relates to your institutional expertise. Please note, providing sufficient detail
       up front will help expedite the review process for you.
   2. Is the estimated annual compensation $5,000 or more?
           a. If yes, what is the amount of estimated annual compensation?
   3. In your performance of your UF responsibilities, do you use this intellectual property?
           a. Explain:
   4. Are you participating in UF research that would affect the disclosed entity (e.g. the
       entity: sponsors the research, makes a drug or device being evaluated in the study,
       options or licenses related technology or is otherwise related to the study)?
   5. Does the entity sponsor your research at UF?
   6. Does the entity license your technology from UF?
   7. To the best of your knowledge, does this entity do any business whatsoever with UF?
       (e.g. purchasing agreements, research sponsorship, agreements for service, clinical
       trials, etc.)
           a. Do you provide input, make recommendations, influence decisions, or have any
                involvement whatsoever in any business between the entity and UF? Please
                explain in detail.
   8. Please upload an agreement with the entity to authenticate your responses to the
       questions in this section. If you do not have a formal agreement, please upload any
       email, correspondence, or document that serves the same purpose.
   9. Additional relevant information, if any, that would help clarify this disclosure:
   10. Attach any additional supporting documentation, if applicable (descriptive emails,
       letters, etc.):




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[Faculty will see this screen after the Entity screen if they indicate an activity in the seventh
category and further indicate that it relates to a plaintiff in a health-care related matter.]

Legal Consulting (Medical / Plaintiff)

   1. Does this legal consulting/expert witness engagement relate to medical malpractice or
       any healthcare-related matter?
   2. I affirm that I have confirmed with the attorney with whom I will be working that
       neither the medical care or treatment at issue was provided by the University of Florida
       (either in Gainesville or in Jacksonville), the University of South Florida, Florida State
       University, the University of Central Florida, Florida International University, Florida
       Atlantic University, or any of their major affiliates. Should I subsequently learn that care
       or treatment at issue was provided by one of those entities, I will be expected to
       withdraw from participation in the matter.
   3. I affirm that the attorney with whom I will be working understands that my engagement
       in this activity is in my capacity as a private citizen and not as an employee of the
       University of Florida.
   4. Enter Plaintiff(s) name:
           a. Enter full name of Patient (if applicable):
   5. Enter Plaintiff law firm/attorney name:
   6. Enter Defendant(s) name:
   7. Enter Defendant law firm/attorney name:
   8. City/State where the alleged issue occurred or relates to:
           a. Will you be performing an Independent Medical Exam (IME)?
                        i. Where will the exam be conducted?
   9. Is the estimated annual compensation $5,000 or more?
           a. If yes, what is the amount of estimated annual compensation?
   10. Are you participating in UF research that would affect the disclosed entity (e.g. the
       entity: sponsors the research, makes a drug or device being evaluated in the study,
       options or licenses related technology or is otherwise related to the study)?
   11. Will UF equipment, facilities, services, resources be used (on a more than incidental
       basis), or will staff and/or students be involved in this activity or Financial Interest?
           a. Please describe the use of UF resources and/or involvement of UF staff and/or
                students:
   12. Please explain whether you think this activity/case could in any way place you in a
       position that is adverse to the interests of the University of Florida.
   13. Please upload an agreement with the entity to authenticate your responses to the
       questions in this section. If you do not have a formal agreement, please upload any
       email, correspondence, or document that serves the same purpose.
   14. Additional relevant information, if any, that would help clarify this disclosure:


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15. Attach any additional supporting documentation, if applicable (descriptive emails,
    letters, etc.):




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[Faculty will see this screen after the Entity screen if they indicate an activity in the ninth
category and further indicate that it relates to a defendant in a health-care related matter.]

Legal Consulting (Medical / Defendant)

   1. Does this legal consulting/expert witness engagement relate to medical malpractice or
       any healthcare-related matter?
   2. I affirm that the attorney with whom I will be working understands that my engagement
       in this activity is in my capacity as a private citizen and not as an employee of the
       University of Florida.
   3. Enter Plaintiff(s) name:
           a. Enter full name of Patient (if applicable):
   4. Enter Plaintiff law firm/attorney name:
   5. Enter Defendant(s) name:
   6. Enter Defendant law firm/attorney name:
   7. City/State where the alleged issue occurred or relates to:
           a. Will you be performing an Independent Medical Exam (IME)?
                       i. Where will the exam be conducted?
   8. Is the estimated annual compensation $5,000 or more?
           a. If yes, what is the amount of estimated annual compensation?
   9. Are you participating in UF research that would affect the disclosed entity (e.g. the
       entity: sponsors the research, makes a drug or device being evaluated in the study,
       options or licenses related technology or is otherwise related to the study)?
   10. Will UF equipment, facilities, services, resources be used (on a more than incidental
       basis), or will staff and/or students be involved in this activity or Financial Interest?
           a. Please describe the use of UF resources and/or involvement of UF staff and/or
                students:
   11. Please explain whether you think this activity/case could in any way place you in a
       position that is adverse to the interests of the University of Florida.
   12. Please upload an agreement with the entity to authenticate your responses to the
       questions in this section. If you do not have a formal agreement, please upload any
       email, correspondence, or document that serves the same purpose.
   13. Additional relevant information, if any, that would help clarify this disclosure:
   14. Attach any additional supporting documentation, if applicable (descriptive emails,
       letters, etc.):




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[Faculty will see this screen after the Entity screen if they indicate an activity in the ninth
category and further indicate that it does not relate to a health-care related matter.]

Legal Consulting (NON Medical / Government OR Defendant OR Plaintiff)

   1. Does this legal consulting/expert witness engagement relate to a civil, criminal or
       administrative proceeding? Indicate any that apply.
   2. Will you be hired by the Government, Plaintiff or Defendant? Indicate any that apply.
   3. I affirm that the attorney with whom I will be working understands that my engagement
       in this activity is in my capacity as a private citizen and not as an employee of the
       University of Florida.
   4. Enter Plaintiff(s) name:
   5. Enter Plaintiff law firm/attorney name:
   6. Enter Defendant(s) name:
   7. Enter Defendant law firm/attorney name:
   8. City/State where the alleged issue occurred or relates to:
   9. Is the estimated annual compensation $5,000 or more?
           a. If yes, what is the amount of estimated annual compensation?
   10. Are you participating in UF research that would affect the disclosed entity (e.g. the
       entity: sponsors the research, makes a drug or device being evaluated in the study,
       options or licenses related technology or is otherwise related to the study)?
   11. Will UF equipment, facilities, services, resources be used (on a more than incidental
       basis), or will staff and/or students be involved in this activity or Financial Interest?
           a. Please describe the use of UF resources and/or involvement of UF staff and/or
                students:
   12. Please explain whether you think this activity/case could in any way place you in a
       position that is adverse to the interests of the University of Florida.
   13. Please upload an agreement with the entity to authenticate your responses to the
       questions in this section. If you do not have a formal agreement, please upload any
       email, correspondence, or document that serves the same purpose.
   14. Additional relevant information, if any, that would help clarify this disclosure:
   15. Attach any additional supporting documentation, if applicable (descriptive emails,
       letters, etc.):




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[Faculty will see this screen after the Entity screen if they indicate an activity in the tenth
category.]

Professional Services Related to UF Expertise

   1. Please fully describe the details of this relationship, interest, or activity including your
       role(s) with the entity, a complete description of what you will be doing in simple terms,
       and how it relates to your institutional expertise. Please note, providing sufficient detail
       up front will help expedite the review process for you.
   2. Location where you will perform these professional services
           a. City:
           b. County:
           c. State:
           d. Country:
   3. Is the estimated annual compensation $5,000 or more?
       a. If yes, what is the amount of estimated annual compensation?
           (You may provide additional clarification using #13 below).
   4. Are you participating in UF research that would affect the disclosed entity (e.g. the
       entity: sponsors the research, makes a drug or device being evaluated in the study,
       options or licenses related technology or is otherwise related to the study)?
   5. Will UF equipment, facilities, services, resources be used (on a more than incidental
       basis), or will staff and/or students be involved in this activity or Financial Interest?
           a. Please describe the use of UF resources and/or involvement of UF staff and/or
                students:
   6. Does your contract or agreement with the outside entity include language regarding
       intellectual property, patents, inventions, works or copyrights ?
   7. In your performance of your UF responsibilities, do you use products or services from
       this entity?
           a. Explain:
   8. Does the entity sponsor your research at UF?
   9. Does the entity license your technology from UF?
   10. To the best of your knowledge, does this entity do any business whatsoever with UF?
       (e.g. purchasing agreements, research sponsorship, agreements for service, clinical
       trials, etc.)
           a. Do you provide input, make recommendations, influence decisions, or have any
                involvement whatsoever in any business between the entity and UF?
                       i. Please explain in detail.
   11. Please upload an agreement with the entity to authenticate your responses to the
       questions in this section. If you do not have a formal agreement, please upload any
       email, correspondence, or document that serves the same purpose.
   12. Additional relevant information, if any, that would help clarify this disclosure:

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13. Attach any additional supporting documentation, if applicable (descriptive emails,
    letters, etc.):




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[Faculty will see this screen after the Entity screen if they indicate an activity in the twelfth
category.]

Leadership Roles

   1. Please fully describe the details of this relationship, interest, or activity including your
       role(s) with the entity, a complete description of what you will be doing in simple terms,
       and how it relates to your institutional expertise. Please note, providing sufficient detail
       up front will help expedite the review process for you.
   2. Location where you will perform your leadership role
           a. City:
           b. Gainesville
           c. County:
           d. State:
           e. Country:
   3. Is the estimated annual compensation $5,000 or more?
           a. If yes, what is the amount of estimated annual compensation?
           (You may provide additional clarification using #13 below).
   4. Are you participating in UF research that would affect the disclosed entity (e.g. the
       entity: sponsors the research, makes a drug or device being evaluated in the study,
       options or licenses related technology or is otherwise related to the study)?
   5. Will UF equipment, facilities, services, resources be used (on a more than incidental
       basis), or will staff and/or students be involved in this activity or Financial Interest?
           a. Please describe the use of UF resources and/or involvement of UF staff and/or
                students:
   6. In your performance of your UF responsibilities, do you use products or services from
       this entity?
           a. Explain:
   7. Does the entity sponsor your research at UF?
   8. Does the entity license your technology from UF?
   9. To the best of your knowledge, does this entity do any business whatsoever with UF?
       (e.g. purchasing agreements, research sponsorship, agreements for service, clinical
       trials, etc.)
           a. Do you provide input, make recommendations, influence decisions, or have any
                involvement whatsoever in any business between the entity and UF? Please
                explain in detail.
   10. Please upload an agreement with the entity to authenticate your responses to the
       questions in this section. If you do not have a formal agreement, please upload any
       email, correspondence, or document that serves the same purpose.
   11. Additional relevant information, if any, that would help clarify this disclosure:


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12. Attach any additional supporting documentation, if applicable (descriptive emails,
    letters, etc.):




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[Faculty will see this screen after the Entity screen if they indicate an activity in the twelfth
category.]

Innovation Inducement Cash Value Prize

   1. If you choose to participate, as an Outside Activity, in an Innovation Inducement Cash
      Value Prize with prize amount greater than $5000 in the area of your Institutional
      Expertise, please provide a website or announcement that provides the prize details
      including topic and terms of the prize participation, submission deadlines, and prize
      amount. For faculty in the bargaining unit, please refer to Article 26.12(a)(1) of the CBA
      related to this disclosure.




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[Faculty will see this screen at the end of the UFOLIO process if they indicate an activity in any
of the first twelve categories.]

Time Commitment

   1. Approximately how long do you expect this activity or relationship to last in total?
         a. 2 weeks or less
                   i. Estimated start date:
                  ii. Estimated end date:
                 iii. Approximately how many hours in total do you expect to spend on
                       this activity? (Numerical values only, please)
                 iv. Explain any additional information to clarify the dates or time
                       commitment involved:
         b. 3 to 6 weeks
                   i. Estimated start date:
                  ii. Estimated end date:
                 iii. Approximately how many hours per week do you expect to spend on
                       this activity? (Numerical values only, please)
                 iv. Explain any additional information to clarify the dates or time
                       commitment involved:
         c. More than 6 weeks
                   i. Estimated start date:
                  ii. Estimated end date:
                               1. I am not sure of the end date: (checkbox)
                 iii. Approximately how many hours per week do you expect to spend on
                       this activity? (Numerical values only, please)
                 iv. Explain any additional information to clarify the dates or time
                       commitment involved:




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Certification

My initials on this completed electronic disclosure affirm and certify an understanding of and
compliance with UF’s policies on conflicts of interest, Outside Activities, and Financial Interests
as well as the completeness and accuracy of my responses in this disclosure.
I will keep my disclosures up-to-date and accurate, and I confirm I understand and agree with
the above statements. Enter initials here:




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                                         Signature Page

In witness of this Collective Bargaining Agreement, the parties have set their signatures this
30th day of July in 2021.


FOR THE UNIVERSITY OF FLORIDA                 FOR THE UNITED FACULTY OF
BOARD OF TRUSTEES                             FLORIDA




Jodi Gentry                                           Helene Huet
Vice President for                                   Co-Chief Negotiator
Human Resource Services




                                                     William Keegan
                                                     Co-Chief Negotiator




William Connellan                                    Paul Ortiz
Chief Negotiator                                     President
                                                     UFF-UF


                                                     Candi Churchill
Chris Hass
                                                     Sean Trainor
Ryan Fuller
                                                     Martin Sorbille
Kevin Clarke
                                                     Macy Geiger
Olivia Zink Weisman
                                                     John Bourn
Shannon Edwards
                                                     Meera Sitharam
                                                     Oscar Crisalle
                                                     Rosana Resende
                                                     Lisa Scott
                                                     Emily McCann
                                                     Graham Picklesimer
                                                                                                 178
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                        EXHIBIT 2
                 UF REGULATION 1.011
   DISCLOSURE AND REGULATION OF OUTSIDE ACTIVITIES
               AND FINANCIAL INTERESTS
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                                     REGULATIONS OF THE

                                    UNIVERSITY OF FLORIDA



        1.011 Disclosure and Regulation of Outside Activities and Financial Interests.

        (1)       The University of Florida encourages its Faculty and Staff to engage in

activities supporting their professional growth, creating new knowledge and ideas, and furthering

the University’s mission of excellence in education, research, and service. University

employees, however, have an obligation to commit their primary professional time and

intellectual energy to the University and maintain the highest ethical and professional standards.

Further, personal gain from Outside Activities or Financial Interests, as defined in the University

of Florida Policy on Conflicts of Commitment and Interest, must not influence—or create the

appearance of influencing—the decisions or actions of the University.

        (2)   Accordingly, all Faculty and Staff shall adhere to the University of Florida Policy

on Conflicts of Commitment and Interest (the “Policy on Conflicts”) and the Code of Ethics for

Public Officers and Employees (Chapter 112, Part III, Fla. Stat.) 1.

        (3)     The Policy on Conflicts sets forth the Faculty and Staff members’ obligations to

disclose certain Financial Interests, potential Conflicts of Commitment or Interest and the

potential consequences for violating the Policy on Conflicts.

        (4)     The University may take administrative or disciplinary action concerning

violations of this Regulation up to and including termination of employment.


1
 The Policy on Conflicts can be found here:
https://policy.ufl.edu/policy/conflicts-of-commitment-and-conflicts-of-interest/
The Code of Ethics for Public Officers and Employees can be found here:
http://www.leg.state.fl.us/statutes/index.cfm?App_mode=Display_Statute&Search_String=&URL=0100-
0199/0112/0112PARTIIIContentsIndex.html



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       Authority: BOG Regulation 1.001.

       Law Implemented: 112.313, 112.3185, FS.

       History--New 5-28-80, Formerly 6C1-7.391, Amended 3-6-85, Formerly 6C1-1.11,

Amended 3-2-87, 5-21-89, 7-11-94, 4-30-95, 12-12-95, 6-28-98, 6-21-00, 5-22-01, 1-7-03, 7-5-

04, Formerly 6C1-1.011, Amended 3-17-11, 6-8-12, 3-26-20.




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                        EXHIBIT 3
         UF POLICY ON CONFLICTS OF COMMITMENT
               AND CONFLICTS OF INTEREST
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                        EXHIBIT 4
EMAIL FROM PAUL ORTIZ, PRESIDENT, UF CHAPTER OF UFF-UF
     TO UF OFFICE OF GENERAL COUNSEL, OCT. 26, 2021
  Case 1:21-cv-00184-MW-GRJ Document 23-1 Filed 12/01/21 Page 198 of 259


From:           Ortiz,Paul
To:             Fuller,Ryan R
Cc:             Hass, Chris J
Subject:        UF Faculty Research Activities and Voting Rights Research
Date:           Tuesday, October 26, 2021 2:51:09 PM




10/26/21

Dear Ryan and Chris,

On behalf of the United Faculty of Florida, UF, I am writing to protest in the strongest
possible terms the University of Florida's recent disapproval of faculty members' research
activities on behalf of voting rights in Florida. By now, you know that several faculty
members in the Department of Political Science were informed by UF administrators through
the UFOLIO process that their work on behalf of protecting the voting rights of US citizens is
being deemed by UF as a conflict of interest as it is detrimental to the executive branch of the
government of state of Florida.

The union believes that this is a violation of several articles of our 2021-2024 Collective
Bargaining Agreement including Article 10 as well as Article 26. For example, a critical
clause in Article 10 states: “The University recognizes that internal and external forces may
seek at times to restrict academic freedom, and the University shall maintain, encourage,
protect and promote academic freedom.”

The only reason that we are not filing a grievance at this point is that in the interests of our
students and our democracy the impacted faculty have chosen to pursue this violation of their
freedoms in federal court in consultation with civil liberties experts. Rest assured that we will
take all necessary legal measures to protect our rights and liberties as public higher education
faculty to serve the public good and to bring the University of Florida back into compliance
with our Collective Bargaining Agreement.

Sincerely Yours,

Paul Ortiz

UFF-UF Chapter President

--
-----------------
Paul Ortiz
Director, Samuel Proctor Oral History Program
Professor of History,
Elizabeth Wood Dunlevie Honors Term Professor, 2020-2021
University Term Professor, 2019-2022
University of Florida


President, United Faculty of Florida-UF (FEA/NEA/AFT/AFL-CIO)

An Afro-Indigenous History of the United States
Kyle T. Mays in Conversation with Paul Ortiz
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City Lights Books, San Francisco, CA
November 9, 2021
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                        EXHIBIT 5
               PUBLIC STATEMENT ISSUED BY UF
                       OCTOBER 30, 2021
       Case 1:21-cv-00184-MW-GRJ Document 23-1 Filed 12/01/21 Page 201 of 259
October - University Statement on Academic
Freedom and Free Speech - Statements

Recent news reports have indicated the University of Florida denied requests of some faculty
members to participate in a lawsuit over the state of Florida’s new election laws.

The University of Florida has a long track record of supporting free speech and our faculty’s
academic freedom, and we will continue to do so. It is important to note that the university did
not deny the First Amendment rights or academic freedom of professors Dan Smith, Michael
McDonald and Sharon Austin. Rather, the university denied requests of these full-time
employees to undertake outside paid work that is adverse to the university’s interests as a state of
Florida institution.
 Case 1:21-cv-00184-MW-GRJ Document 23-1 Filed 12/01/21 Page 202 of 259




                         EXHIBIT 6
PUBLIC STATEMENT ISSUED BY UF PRESIDENT KENT FUCHS AND
  UF PROVOST AND CHIEF ACADEMIC OFFICER JOE GLOVER
                   NOVEMBER 1, 2021
       Case 1:21-cv-00184-MW-GRJ Document 23-1 Filed 12/01/21 Page 203 of 259
October - Message from President Fuchs and
Provost Glover - Statements

President Kent Fuchs and Provost and Senior Academic Affairs VP Joe Glover
November 1, 2021

Dear campus community,

There have been news reports over the weekend indicating the University of Florida violated the
First Amendment rights of three faculty members by denying their requests to testify in exchange
for payment in a lawsuit over the state of Florida’s new election laws.

First, we would like to be abundantly clear that the University of Florida stands firmly behind its
commitment to uphold our most sacred right as Americans — the right to free speech — and to
faculty members’ right to academic freedom. Nothing is more fundamental to our existence as an
institution of higher learning than these two bedrock principles. Vigorous intellectual discussions
are at the heart of the marketplace of ideas we celebrate and hold so dear.

Second, we are immediately appointing a task force to review the university’s conflict of interest
policy and examine it for consistency and fidelity. While the existing policy was revised just last
year, it is critical to ensure the policy advances the university’s interests while protecting
academic freedom.

Finally, as has already been reported by some news organizations, if the professors wish to testify
pro bono on their own time without using university resources, they are free to do so.
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                        EXHIBIT 7
 PUBLIC STATEMENT ISSUED BY UF PRESIDENT KENT FUCHS
                  NOVEMBER 5, 2021
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MESSAGE FROM PRESIDENT FUCHS - OUTSIDE
ACTIVITIES BY UF EMPLOYEES INVOLVING
LITIGATION IN WHICH THE STATE OF FLORIDA IS A
PARTY
President Kent Fuchs
November 5, 2021

Dear Campus Community,

As shared on Monday, I am forming a task force that will review UF’s practice regarding
requests for approval of outside activities involving potential conﬂicts of interest and
conﬂicts of commitment. In particular, the task force will make a recommendation to
me on how UF should respond when employees request approval to serve as expert
witnesses in litigation in which their employer, the state of Florida, is a party. I’m asking
the task force to provide me with a preliminary recommendation by Monday,
November 29.

The following have agreed to serve on the task force:

    • Joe Glover - Provost and Chief Academic Ofﬁcer, Task Force Chair

    • Katie Vogel Anderson - Clinical Associate Professor, College of Pharmacy (former
    Faculty Senate Chair)

    • Hub Brown - Dean, College of Journalism and Communications

    • Clay Calvert - Professor of Law and Professor of Journalism and
    Communications, Brechner Eminent Scholar and Director, Marion B. Brechner First
    Amendment Project

    • Terra DuBois - Chief Compliance, Ethics, & Privacy Ofﬁcer, UF
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    • John Kraft - Professor and Susan Cameron Chair of International Business,
    Warrington College of Business

    • Laura Rosenbury - Dean, Levin College of Law



Without prejudice regarding the task force recommendations, I have also asked UF’s
Conﬂicts of Interest Ofﬁce to reverse the decisions on recent requests by UF employees
to serve as expert witnesses in litigation in which the state of Florida is a party and to
approve the requests regardless of personal compensation, assuming the activity is on
their own time without using university resources.

I look forward to reporting back on the task force recommendations and my decision
on how UF will apply the Conﬂict of Interest and Conﬂict of Commitment policy in
future requests for approval of similar outside activity.

Warm regards,
Kent

Kent Fuchs
President
University of Florida
Case 1:21-cv-00184-MW-GRJ Document 23-1 Filed 12/01/21 Page 207 of 259




                        EXHIBIT 8
         EMAIL FROM UF PRESIDENT KENT FUCHS TO
                 UF CAMPUS COMMUNITY
                    NOVEMBER 5, 2021
   Case 1:21-cv-00184-MW-GRJ Document 23-1 Filed 12/01/21 Page 208 of 259


From:           it-pmo-crm
To:             Fuller,Ryan R
Subject:        Message from President Fuchs - Outside activities by UF employees involving litigation in which the state of Florida is
                a party
Date:           Friday, November 5, 2021 12:11:04 PM


                                       To view this email as a web page, go here.




    Dear Campus Community,

    As shared on Monday, I am forming a task force that will review UF’s practice
    regarding requests for approval of outside activities involving potential conflicts of
    interest and conflicts of commitment. In particular, the task force will make a
    recommendation to me on how UF should respond when employees request
    approval to serve as expert witnesses in litigation in which their employer, the
    state of Florida, is a party. I’m asking the task force to provide me with a
    preliminary recommendation by Monday, November 29.

    The following have agreed to serve on the task force:

           Joe Glover - Provost and Chief Academic Officer, Task Force Chair
           Katie Vogel Anderson - Clinical Associate Professor, College of Pharmacy
           (former Faculty Senate Chair)
           Hub Brown - Dean, College of Journalism and Communications
           Clay Calvert - Professor of Law and Professor of Journalism and
           Communications, Brechner Eminent Scholar and Director, Marion B.
           Brechner First Amendment Project
           Terra DuBois - Chief Compliance, Ethics, & Privacy Officer, UF
           John Kraft - Professor and Susan Cameron Chair of International Business,
           Warrington College of Business
           Laura Rosenbury - Dean, Levin College of Law

    Without prejudice regarding the task force recommendations, I have also asked
    UF’s Conflicts of Interest Office to reverse the decisions on recent requests by UF
    employees to serve as expert witnesses in litigation in which the state of Florida is
    a party and to approve the requests regardless of personal compensation,
    assuming the activity is on their own time without using university resources.

    I look forward to reporting back on the task force recommendations and my
    decision on how UF will apply the Conflict of Interest and Conflict of Commitment
    policy in future requests for approval of similar outside activity.

    Warm regards,
    Kent

    Kent Fuchs
    President
    University of Florida
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         This email was sent by: University of Florida, Strategic Communications and Marketing
                      PO Box 112099, Gainesville, Florida, 32611 United States
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                        EXHIBIT 9
   EMAIL FROM FOUNDATION FOR INDIVIDUAL RIGHTS IN
     EDUCATION TO UF OFFICE OF GENERAL COUNSEL
                  NOVEMBER 5, 2021
  Case 1:21-cv-00184-MW-GRJ Document 23-1 Filed 12/01/21 Page 211 of 259


From:              Aaron Terr
To:                Fuller,Ryan R
Cc:                Smith,Brande S.; President, University of Florida (Kent Fuchs)
Subject:           Re: Letter from the Foundation for Individual Rights in Education, November 1, 2021
Date:              Friday, November 5, 2021 3:28:53 PM


[External Email]
Dear Mr. Fuller:

Thank you for the update. FIRE is very pleased with UF's decision to allow the professors to
serve as expert witnesses regardless of personal compensation. We look forward to reviewing
the forthcoming recommendation of the task force.

Sincerely,
Aaron Terr

On Fri, Nov 5, 2021 at 12:25 PM Fuller,Ryan R <ryanf@ufl.edu> wrote:

  Mr. Terr,



  Brande Smith is out of the office today. I am responding on her behalf.



  Please see President Fuchs’ statement issued today at the following link:



  http://statements.ufl.edu/statements/2021/november/message-from-president-fuchs---
  outside-activities-by-uf-employees-involving-litigation-in-which-the-state-of-florida-is-a-
  party.html



  Thank you,



  Ryan Fuller

  Associate Vice President & Deputy General Counsel

  University of Florida

  Office of the Vice President and General Counsel

  123 Tigert Hall

  PO Box 113125

  Gainesville, FL 32611-3125
Case 1:21-cv-00184-MW-GRJ Document 23-1 Filed 12/01/21 Page 212 of 259



(352) 392-1358

(352) 392-4387 fax




From: Smith,Brande S. <brande@ufl.edu>
Sent: Tuesday, November 2, 2021 3:10 PM
To: Aaron Terr <aaron.terr@thefire.org>
Cc: President, University of Florida (Kent Fuchs) <president@UFL.EDU>
Subject: RE: Letter from the Foundation for Individual Rights in Education, November 1,
2021



Good afternoon, Mr. Terr,



The University received your letter dated November 1, 2021. Thank you for reaching out to
my office. I will circle back by close of business Friday.



Kind regards,



Brande



Brande S. Smith

Senior Counsel



Office of the Vice President and General Counsel

University of Florida

123 Tigert Hall

PO Box 113125

Gainesville, FL 32611-3125

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Case 1:21-cv-00184-MW-GRJ Document 23-1 Filed 12/01/21 Page 213 of 259


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From: Aaron Terr <aaron.terr@thefire.org>
Sent: Monday, November 1, 2021 4:48 PM
To: President, University of Florida (Kent Fuchs) <president@UFL.EDU>
Cc: Smith,Brande S. <brande@ufl.edu>
Subject: Letter from the Foundation for Individual Rights in Education, November 1, 2021



[External Email]
Dear President Fuchs:




Please see the attached letter from the Foundation for Individual Rights in Education (FIRE). A copy of
this letter was sent via U.S. Mail today.

Sincerely,



Aaron Terr

Program Officer, Individual Rights Defense Program and Public Records

Foundation for Individual Rights in Education (FIRE)

510 Walnut Street, Suite 1250

Philadelphia, PA 19106

(215) 717-3473

aaron.terr@thefire.org
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--
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                       EXHIBIT 10
                       CBS4 NEWS ARTICLE
                        NOVEMBER 3, 2021
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     UF professor says he was denied
     three requests for him to participate
     in court

     Giselle Thomas


     Our team had the opportunity to speak with Dr. Jeffrey Goldhagen, he
     is a professor at UF college in medicine and a chief in the university’s
     pediatrics division in Jacksonville. He says he was denied the chance
     to participate in court pro-bono three times.

     Recently, the university told three professors they could not testify,
     the university then clarified and said the three professors could do so
     if they were not getting paid.

     “I didn’t take it personally but I’ve been in a sense living with a low
     grade simmering anger and frustration, and me personally a degree of
     anxiety as it relates to the trajectory of what’s happening politically,"
     said Goldhagen.

     He was requested to participate in three lawsuits within the state of
     Florida early this fall. He was sought as an expert in cases involving
     masking and children. The first case he was asked to testify, the
     second and third, he was asked to participate as an expert witness and
     serve as a primary declarant.

     “I had no intention at all in any of those cases to receive any
     compensation for my time and I was also prepared in all three cases to
     function as a private citizen and not necessarily as a University of
     Florida faculty. Despite that, I was still rejected,” said Goldhagen.

     Goldhagen said he decided to work with the lawyers on the cases
     anyways.

     “The decision to not allow me to participate was not one that I
     personally or professionally could sustain," said Goldhagen.

     He notes that he didn't want to go public when this happened in early
     Fall, but decided to wait so it didn’t impact the cases. He said that he
     spoke to faculty senate when he initially received the denials to testify.

     “With the other three faculty members being identified, it was clear
     that it was critically important that I add my name to theirs as well.”
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     said Goldhagen.

     He stressed the university’s denial affects it’s integrity and value.

     “If you look at the vision and the mission of the university and the
     college of medicine it states pretty clearly that the role and the
     responsibility of the university is, but those were violated for political
     purposes,” said Goldhagen.

     He has been faculty member for 30 years and has family roots in the
     university.

     “This is not in any way shape or form an attempt to desecrate the
     University of Florida but it is we take a step back," said Goldhagen.

     Our team reached out to UF for a request for comment, and has not
     heard back.

     Note: There are two clips/videos attached for this story
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                       EXHIBIT 11
    TASK FORCE ON OUTSIDE ACTIVITIES: FINAL REPORT
                  NOVEMBER 22, 2021
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       11/22/2021          Task Force on
                           Outside Activities
                           Final Report




                           Submitted to University of Florida President Kent
                           Fuchs
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Introduction.
On November 5, 2021, President Kent Fuchs announced to the university community the formation of a
task force to “review UF’s practice regarding requests for approval of outside activities involving
potential conflicts of interest and conflicts of commitment.” He continued, “In particular, the task force
will make a recommendation to me on how UF should respond when employees request approval to
serve as expert witnesses in litigation in which their employer, the state of Florida, is a party. I’m asking
the task force to provide me with a preliminary recommendation by Monday, November 29.”

In the same memo, he announced the members of the task force:

    •   Joe Glover – Provost and Chief Academic Officer, Task Force Chair
    •   Katie Vogel Anderson – Clinical Associate Professor, College of Pharmacy (former Faculty Senate
        Chair)
    •   Hub Brown – Dean, College of Journalism and Communications
    •   Clay Calvert – Professor of Law and Professor of Journalism and Communications, Brechner
        Eminent Scholar and Director, Marion B. Brechner First Amendment Project
    •   Terra DuBois – Chief Compliance, Ethics & Privacy Officer, UF
    •   John Kraft – Professor and Susan Cameron Chair of International Business, Warrington College
        of Business
    •   Laura Rosenbury – Dean, Levin College of Law

To preserve the historical record, we note that in the same November 5 memo, President Fuchs also
announced: “Without prejudice regarding the task force recommendations, I have also asked UF’s
Conflicts of Interest Office to reverse the decisions on recent requests by UF employees to serve as
expert witnesses in litigation in which the state of Florida is a party and to approve the requests
regardless of person compensation, assuming the activity is on their own time without using university
resources.”

The Task Force Charge.

The Task Force understood its charge to recommend “how UF should respond when employees request
approval to serve as expert witnesses in litigation in which their employer, the state of Florida, is a
party.” Task Force members have focused considerable attention and effort on this charge. In general,
the recommendations contained in this report are narrowly constructed to address the charge as stated.
There are some recommendations that stray beyond the charge, but these arose from
recommendations developed to address the charge that seem to have more general applicability.

In the course of their work, Task Force members became aware that some members of the university
community believe the Task Force was charged with investigating the circumstances that led to its
formation. At no time was this Task Force asked to do any sort of investigation.

When a faculty member wishes to serve as an expert witness in litigation in which their employer, the
State of Florida, is a party, the faculty member is required to disclose that activity to the university. The
disclosure in the UFOLIO system initiates an internal analysis to determine whether the activity poses a
conflict of interest. The Task Force asked two questions about this analysis. First, does the university
policy that underlies and informs this analysis need revision? Thanks largely to the participation of two
legal scholars on the Task Force, we were able to have a nuanced discussion of First Amendment



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principles and how they can and should apply in this context. The Policy Recommendations section
below contains the fruits of that discussion. There was unanimous agreement among the members of
the Task Force to forward these recommendations.

The second question the Task Force asked is the following. Does the university process that underlies
and informs the analysis need revision? The Process Recommendations section below contains several
suggestions for improving the transparency of the process, faculty participation in the process, and the
opportunity to appeal decisions. There was unanimous agreement among the members of the Task
Force to make these recommendations.

Policy Recommendations.

The Task Force recommends adopting a policy that does the following:

    •   Publicly affirms the academic freedom of faculty when performing their duties as teachers and
        scholars;



    •   Publicly affirms the free speech rights of faculty and staff to comment on matters of public
        concern set forth by the First Amendment to the U.S. Constitution and Article I, Section 4 of the
        Florida Constitution;



    •   Clarifies that such comments, including those to the media, are not reportable as outside
        activities when made by faculty and staff in their capacities as individual citizens and not on
        behalf of another person or entity;



    •   Emphasizes that comments on matters of public concern become reportable outside activities,
        subject to university review for potential conflicts of interest or conflicts of commitment, as
        defined in UF policy and the Collective Bargaining Agreement between the UF Board of Trustees
        and the United Faculty of Florida, when faculty and staff seek to testify as expert witnesses on
        behalf of a party in litigation;



    •   Establishes a strong presumption that the university will approve faculty or staff requests to
        testify as expert witnesses, in their capacities as private citizens, in all litigation in which the
        State of Florida is a party, regardless of the viewpoint of the faculty or staff member’s testimony
        and regardless of whether the faculty or staff member is compensated for such testimony. This
        presumption is particularly important in cases that challenge the constitutionality, legality, or
        application of a Florida law;



    •   Imposes a heavy burden on the university to overcome the strong presumption set forth above,
        such that requests to serve as expert witnesses in litigation in which the State of Florida is a



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        party may be denied only when clear and convincing evidence establishes that such testimony
        would conflict with an important and particularized interest of the university, which the
        university must set forth and explain in writing. A general assertion that such testimony is a
        conflict of interest is insufficient to rebut the strong presumption in favor of such testimony.
        Additionally, an undifferentiated fear or apprehension of harm resulting from a conflict is
        insufficient to rebut the strong presumption in favor of such testimony; and



    •   Preserves the university’s ability to deny requests to serve as expert witnesses when those
        requests, along with other outside activities, would cumulatively amount to a conflict of
        commitment.


Process Recommendations.

The Task Force recommends the following steps to increase transparency in the decision-making process
and to include faculty perspectives.

•   Create a Provost’s Advisory Committee charged with reviewing proposed denials of requests to
    serve as expert witnesses in litigation in which the State of Florida is a party, as well as any other
    proposed denials submitted at the discretion of the COI Program staff. The Committee will provide
    a documented recommendation to the Provost, who will make the final determination.
    (While the university COI review process may be further served by requiring the Provost’s Advisory
    Committee to review all proposed denials of outside activity disclosures, consideration of that
    expanded scope is beyond the task force’s charge and is not necessary to implement the proposed
    policy revisions within the scope of the task force’s charge.)
        o Standing vs. ad hoc committee – The task force recommends that a standing committee be
             created, as it provides stability through regular meetings, consistent membership with
             voting rights, and established structure.
        o Composition – The task force recommends a balanced committee including both faculty and
             UF administrators from across the university enterprise. Faculty members shall be
             nominated by the Faculty Senate and appointed by the Provost. Administrators shall be
             appointed by the President. In making the appointments, the President, the Provost, and
             the Faculty Senate shall seek to ensure a diversity of voices drawn from among the tenured
             and non-tenured ranks of the faculty, including representation from UF Health, IFAS, and
             E&G units.
        o Terms – Faculty committee members shall serve three-year terms with staggered term
             expiration dates. Administrative committee members shall serve in an ex officio capacity.
        o Scope – The task force recommends the committee be charged with reviewing proposed
             denials of requests to serve as expert witnesses in litigation in which the State of Florida is a
             party, as well as any other proposed denials submitted at the discretion of the COI Program
             staff. The committee will provide a documented recommendation to the Provost, who will
             make the final determination.



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        o   Required Consultations - The Dean of each college shall designate a faculty representative
            to serve as a dedicated COI consultant. In reviewing matters before it, the Provost’s
            Advisory Committee must confer with the COI consultant representing the requester’s
            college.
        o   Staff – The task force recommends the committee be staffed by representatives from the
            COI Program office.

•   Appeal Process. Revise the COI regulation and policies to include an appeal process for all denials of
    requests to engage in an outside activity. The task force offers the following appeal process as an
    example:
       o Within 30 calendar days of a denial of any request to engage in an outside activity, the
           requester may appeal in writing to an appeals panel. Such a panel may include the Faculty
           Senate Chair, Provost, Senior Vice President for Health Affairs, Senior Vice President for
           IFAS, and the Vice President for Research.
       o The panel’s decision will be final and may be grieved in accordance with an applicable
           grievance procedure.

•   Revise the operating procedures of the COI Program office to increase transparency in its process.
    Specifically, the COI Program should:
        o Revise procedures to include a requirement that all consultations with university subject
            matter experts that significantly contribute to the COI Program office’s determination about
            an outside activities disclosure are documented within the UFOLIO system.
        o Require that all disapprovals of disclosures reviewed by supervisors, the COI Program, and
            ancillary reviewers, include specific reasoning for the disapproval with sufficient detail.




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                       EXHIBIT 12
                     UF PUBLIC STATEMENT
                       NOVEMBER 23, 2021
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                       EXHIBIT 13
                  UF RULE 6C1-7.0441
     ACADEMIC AFFAIRS; PROCEDURES OF THE FACULTY
   SENATE COMMITTEE ON ACADEMIC FREEDOM, TENURE,
  PROFESSIONAL RELATIONS AND STANDARDS COMMITTEE
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                                            RULES OF

                                   UNIVERSITY OF FLORIDA



      6C1-7.0441 Academic Affairs; Procedures of the Faculty Senate Committee on Academic

Freedom, Tenure, Professional Relations and Standards Committee.

      (1)    This rule describes informal and formal procedures to resolve charges and

complaints brought by faculty members not in the collective bargaining unit or by the University

involving University practices bearing on academic freedom, tenure, professional ethics or the

general welfare of the faculty through the Faculty Senate Committee on Academic Freedom,

Tenure, Professional Relations and Standards.

      (2)    Time Limit for Filing and Informal Appeal Procedures. Charges and complaints

involving University practices bearing on academic freedom, tenure, professional ethics or the

general welfare of the faculty should be resolved prior to commencement of formal proceedings

whenever possible. See Rule 6C1-7.041, F.A.C. However, attempts to informally resolve the

charges and complaints do not remove the 30 calendar-day time limit for filing charges and

complaints stated in subsection (4) below. If additional time is necessary to reach an informal

resolution, an extension must be requested in writing before the 30 calendar-day time limit has

expired. The extension shall be requested, and may be granted by, the University President, or

the President's designee. Proceedings through the Academic Freedom, Tenure, Professional

Relations and Standards Committee may be denied to any faculty member who fails to comply

with the applicable time limits set forth herein.

      (3)    Composition and Jurisdiction. The Committee on Academic Freedom, Tenure,

Professional Relations and Standards shall be a standing committee of the Faculty Senate as set

forth in Article III, 6(B) of the University Constitution. The Committee shall have jurisdiction to

hold hearings and make findings of fact, conclusions of law, and recommendations in matters

involving University practices bearing on academic freedom or tenure, and University practices

generally applicable to faculty members bearing upon professional ethics, or the general welfare

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of the faculty. Such proceedings may be commenced by the University President through

charges filed by the same or by a faculty member individually affected by the alleged practices.

      (4)    Commencement and Pre-Hearing Procedure. All periods of time in this rule refer to

calendar days, unless otherwise specified. If any deadline falls on a non-business day, the period

shall be extended to 5:00 p.m. of the next business day.

      (a)    Commencement of Proceeding by Faculty Members.

      1.     A faculty member (including any administrator who has faculty status) may

commence proceedings before the Committee by filing one or more charges or complaints within

30 days after the complainant knew or should have known of the occurrence of the alleged

action(s) on which the claim is based by stating his or her charge or complaint in a letter to the

University President. A faculty member may request an extension of time from the University

President, or the President’s designee for such filing. The request must be in writing and must be

received before the 30 day time limit has expired. The granting of the extension of time must be

in writing and for a definite time period. Filing of such a letter of complaint or charges (hereafter

“letter”) shall constitute waiver of all other grievance procedures as provided in Rule 6C1-7.041,

F.A.C.

      2.     The letter must state that the faculty member elects to have the Committee

investigate the charge(s) or complaint(s) and state that by this election he or she waives all other

grievance procedures available within the University. The letter must assert sufficient facts to

reasonably inform the University of the nature of the charge(s) or complaint(s). It is important

that the faculty member describe which of his or her rights have been violated, in what manner,

and clearly delineate what remedy(s) is sought. Copies of any and all papers, statements,

documents or other items in the possession of the faculty member filing the letter that bear upon

the matter, together with a list of the names and addressees of all persons believed to have

pertinent information, shall be filed with the letter. The University President, or the designee,

shall refer the letter to the Committee Chairperson, unless the letter is untimely and no extension

has been granted.

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      3.     If the Committee Chairperson believes the letter does not meet the requirements of

this rule, including whether the charges or complaints fall within the jurisdiction of the

Committee, the faculty member may be directed in writing by the Chairperson to amend his or

her charge(s) or complaint(s) within a designated period of time, and, failing that, the Committee

Chairperson may dismiss the matter and may advise the faculty member of other grievance

procedures that may be available. The Committee Chairperson shall, upon receipt of the letter,

provide a copy of it to the person(s) against whom the charge(s) or complaint(s) has been lodged.

The Committee Chairperson shall attempt to resolve the matter informally by discussion with the

persons involved.

      4.     The Committee Chairperson shall appoint, within 25 days of receipt of the written

complaint or the failure to informally resolve the matter, whichever is later, a three-member

Inquiry Panel. Upon appointment, the Inquiry Panel will schedule a meeting which generally

should be held within 25 days of the appointment, with at least 15 days notice to affected parties.

The Inquiry Panel shall investigate the validity of the charges and evaluate the evidence

presented to determine probable cause for proceeding to a formal hearing by the Committee.

Alternatively, the parties may agree upon an expedited process in which the Inquiry Panel will

conduct a collegial review of the complaint under the procedures set forth in subsection (7)

below. The parties must elect the option of an expedited process through a written request

signed by all parties addressed to the Committee Chairperson. The request must be received

prior to the first meeting of the Inquiry Panel.

      5.     The Inquiry Panel shall issue a report to the Committee Chairperson within 25 days

after the conclusion of the meeting, which shall be a preliminary hearing if no request for an

expedited process has been received unless otherwise agreed by all affected parties. A

recommendation to proceed to a formal hearing before the Committee requires that at least two

members of the Inquiry Panel find that probable cause exists. If at least two members of the

Inquiry Panel conclude that no probable cause exists, the matter shall be considered closed.

Copies of the Inquiry Panel probable cause report shall be provided to all affected parties.

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      Within 25 days after the Inquiry Panel's report finding probable cause to proceed to a

formal hearing has been received by the Committee Chairperson, the charges or complaints shall

be referred to a Hearing Panel by the Committee Chairperson for proceedings in accordance with

subsection (8) hereof.

      6.     At any time prior to the conclusion of the formal hearing, an informal resolution may

be reached. If the matter is informally resolved, the terms of any informal agreement shall be put

in writing and signed by all parties. The signatures of the parties shall indicate:

      a.     Full resolution of all issues raised by the faculty member commencing the charge(s)

or complaint(s).

      b.     Relinquishment of the right to bring any future action based on any of the issues

involved in the charges or complaint.

      (b)    Commencement of Proceedings by the University.

      1.     The President or the President's designee may commence proceedings by referring

matters to, or filing charges with, the Committee on Academic Freedom, Tenure, Professional

Relations and Standards. The University shall file charges by providing an original written

notice of issues to the Committee Chairperson and a copy thereof to the faculty member charged.

The notice shall assert sufficient facts to reasonably inform the faculty member of the nature of

the charge. Copies of any and all papers, statements, documents or other times in the possession

of the party commencing the proceedings, bearing upon the charges, together with a list of the

names and addresses of all persons believed to have pertinent information, shall be filed with the

charges. The Committee Chairperson shall transmit to the faculty member charged a copy of this

rule. At any time prior to the conclusion of the formal hearing, an informal resolution may be

reached.

      2.     Upon receipt of charges, the Committee Chairperson may refer the charges to a

three-member Inquiry Panel for investigation. Upon appointment, the panel will schedule a

meeting, the preliminary hearing, which generally should be held within 25 days of the

appointment, with notice of at least 15 days to affected parties. The panel shall investigate the

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validity of the charges and evaluate the evidence, to determine if there is probable cause for

proceeding, seek an informal resolution agreeable to all parties, or allow the University to amend

the charges if desired. The Inquiry Panel shall issue written probable cause report within 25 days

after the hearing, which shall be furnished to all affected parties. A recommendation to proceed

to a formal hearing requires that at least two members of the Inquiry Panel find that probable

cause exists. If at least two members of the Inquiry Panel find no probable cause, the case shall

be closed. Copies of the preliminary report shall be provided to all affected parties.

      3.    Within 25 days after the Inquiry Panel's report findings probable cause to proceed to

formal hearings has been received by the Committee Chairperson, the charges shall thereupon be

referred to a Hearing Panel by the Committee Chairperson for proceedings in accordance with

subsection (8) hereof.

      (5)   Inspection of Evidence: Should an Inquiry Panel be appointed, the Committee

Chairperson shall deliver all papers and other items or information received by him or her to the

Presiding Officer of the Inquiry Panel at least ten days before the first meeting of the panel. The

Committee Chairperson shall notify the party charged of the Committee's custody of such

evidence before the first meeting of the Inquiry Panel, and the names and addresses of witnesses

obtained by investigation shall be made available to all parties in like manner. No provision

hereof shall prevent the introduction of any other evidence provided that affected parties shall be

entitled a reasonable time in which to examine and consider same. Upon the request of the

faculty member or the Committee, the University shall supply the faculty member and the

Committee all relevant information pertinent to the charges or complaint.

      (6)   Burden of Proof. The burden of proof shall be on the faculty member bringing the

complaint(s) or charge(s), who must support his or her position regarding the matters complained

of or charged by a preponderance of the evidence, except that if the complaint challenges

disciplinary action under Rule 6C1-7.048, F.A.C., the burden of proof shall be on the University

to establish by a preponderance of the evidence that a violation under that rule occurred.

Counseling is not considered disciplinary action.

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      (7)    Expedited Proceedings. If the parties elect in writing an expedited review process by

the Inquiry Panel, the Inquiry Panel shall, generally within 25 days of receiving the request,

schedule a meeting with the complainant(s) and the person(s) complained or charged. Notice of

at least 15 days shall be given to these affected parties.

      (a)    At the meeting the faculty member bringing the complaint(s) or charge(s) shall have

the right to present any evidence in support of the complaint(s) or charge(s) to the panel. The

person(s) complained of or charged shall have the right to present any evidence in support of his

or her position to the committee. The panel may interview other persons and seek other

evidence. The review shall be as collegial as possible, yet compatible with formulating a

recommended resolution of the charge(s) or complaint(s).

      (b)    The Inquiry Panel shall adopt a final report to the President containing findings of

fact, conclusions of law, and recommendations on the matters considered. The report, along with

all evidence submitted to the panel, should be forwarded to the President, with copies to the

parties, within 60 days of the referral of the complaint to the Inquiry Panel for expedited review.

The President shall then dispose of the matter pursuant to subsection (9) hereof.

      (8)    Formal Hearings Before the Academic Freedom, Tenure, Professional Relations and

Standards Committee:

      (a)    Composition of Hearing Panels.

      1.     Any formal hearings shall be conducted by a panel of three members of the

Academic Freedom, Tenure, Professional Relations and Standards Committee, plus at least one

alternate (from among the remaining members of the Committee) who shall have a vote only

under the conditions specified in subparagraph 6. below. The Committee Chairperson shall

select the members of the Hearing Panel and designate a Presiding Officer and Vice-Presiding

Officer. The Vice-Presiding Officer shall automatically replace the Presiding Officer under the

circumstances specified in subparagraph 6. below.




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      2.     Whenever feasible, at least one panel member shall be a person familiar with due

process of law, by training or experience, and no member of the Inquiry Panel should be on the

Hearing Panel of the same cases.

      3.     In pre-hearing conferences and the formal hearing, a full panel of three members

must be present at all times.

      4.     All parties to the action shall have the right to challenge a panel member's right to

serve for cause prior to the presentation of evidence. Members of the Hearing Panel, other than

the challenged member, shall determine by a majority vote if a member challenged for cause

shall be excused.

      5.     After the formal hearing of a particular case has begun, any Hearing Panel member

shall serve to the conclusion of the case even if his or her term as a Committee member may have

expired.

      6.     If a panel member is not present at a formal hearing session, the remaining members

of the panel shall decide by majority vote whether to postpone the session or to remove the

absent member from the panel and replace him or her with an alternate. If an alternate is

formally seated, he or she will retain the voting status of a regular member of the Hearing Panel

for the duration of the case.

      (b)    The University President or the President’s designee shall appoint an appropriate

person to serve as the legal advisor to the Committee, including the Inquiry Panel and the

Hearing Panel.

      (c)    Following selection, the Hearing Panel may meet for pre-hearing conferences and

schedule a hearing after notice to affected parties. The hearings shall be held no earlier than 15

days after notice to affected parties, unless otherwise agreed by all affected parties.

      (d)    Parties shall have and be informed of the following rights:

      1.     To be represented by a colleague authorized in writing by the party to act on his or

her behalf or by counsel;

      2.     To make an opening statement;

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      3.     To identify witnesses for the hearing, or, when required by circumstances which

involve the inability of a witness to appear and testify at the formal hearing, to request that the

sworn statement of such witnesses be taken and transcribed;

      4.     To examine and cross-examine any witness who may testify;

      5.     To offer any relevant material and competent evidence; and

      6.     To make a closing statement at hearing.

      (e)    Witnesses.

      1.     The Presiding Officer shall require a witness to affirm or swear to tell the truth prior

to testifying. The oath or affirmation shall be administered by a notary public or by any other

person authorized by law to administer oaths or affirmations.

      2.     If requested by any party, any witness shall be excluded from the formal hearing

save when giving his or her testimony, except that in any case initiated by a faculty member, the

University may have one representative present throughout the hearing, even though the

representative may be required to testify.

      (f)    Evidence.

      1.     Admissible evidence shall be any evidence of a type commonly relied upon by a

reasonably prudent person in the conduct of his or her affairs; however, hearsay may be used only

to supplement or explain other evidence, and shall not be sufficient, in itself, to support a finding.

      2.     All rulings as to the admissibility of evidence shall be made by the Presiding Officer

of the formal Hearing Panel, subject to objection by any member. Only the majority vote of the

formal Hearing Panel including the Presiding Officer shall overcome the Presiding Officer's

ruling.

      (g)    Parties charged shall not be required, either during any investigation or at any

hearing or meeting, to make any statement or to testify unless they expressly desire to do so and,

in the event that they elect to remain silent, such fact shall not be considered by the Hearing

Panel in making its report. The term "party charged" shall mean only an individual against

whom proceedings have been commenced in his or her individual capacity, and shall not apply to

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any official or representative capacity in the matter under consideration. The charge shall clearly

state the status or capacity in which he or her is alleged to have acted.

      (h)    Within 60 days after conclusion of a formal hearing, the Hearing Panel shall adopt a

proposed report containing findings of fact, conclusions of law and recommendations on the

matters considered. Copies of same shall be furnished to all parties by the Presiding Officer of

the panel. Within 10 days after receipt of such report, the parties shall have the right to submit

written exceptions thereto.

      (i)    After consideration by the Hearing Panel of any exceptions to its proposed report,

the Hearing Panel, by a majority vote, shall adopt a final report containing findings of fact,

conclusions of law, recommendations, and the vote on the report. Members in the minority may

adopt separate reports, which shall be appended to the majority report. Copies of the final report

shall be furnished to all parties.

      (j)    A hearing in which evidence is presented may be recorded by the Hearing Panel.

The record of the case shall include all physical evidence considered by the Committee, along

with pleadings, notices, tapes of the hearing and transcripts (if any) and reports. The record shall

be retained by the Secretary of the Faculty Senate for a period of not less than three years after

the date of the President’s written decision in the proceeding.

      (9)    Report to the President.

      (a)    Upon completion of the proceedings by the Inquiry Panel under the expedited review

process or by the Hearing Panel, the panel’s report and record shall be filed with the President.

      (b)    Within 25 days of receipt of both record and report, or as soon thereafter as is

possible, the President shall adopt as is, or modify, and implement as he or she deems

appropriate, the conclusions of law and the recommendations contained in the panel’s report, or

reject the report in its entirety. In taking such action the President may not rely on ex parte

communications and may not reject or modify findings of fact if they are supported by competent

substantial evidence in the record. Such decision by the President will be provided in writing to

the parties. If the report or recommendations are modified or rejected, the parties shall be

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furnished specific reasons therefor. The President will meet with the Hearing Panel to discuss

the decision.



      Specific Authority 1001.74(4) FS.

      Law Implemented 1001.74(19) FS.

      History--New 4-30-95, Amended 5-22-01, 7-19-05.




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                       EXHIBIT 14
                  UF REGULATION 7.041
           METHODS FOR REVIEW AND RESOLUTION
                OF FACULTY GRIEVANCES
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      7.041 Methods for Review and Resolution of Faculty Grievances.

      (1)    As used in this regulation, the terms listed below shall have the following meanings:

      (a)    The term "grievance" shall mean a dispute or complaint concerning tenure,

promotion, non-renewal and termination of employment contracts, salary, work assignments,

annual evaluation, lay-off and recall, and other benefits or rights accruing to a faculty member

pursuant to the regulations of the Board of Governors, Regulations of the University of Florida

or by law.

      (b)    The term “appeal” shall mean a process by which a university decision or action

directly affecting a faculty member may be brought to the attention of the faculty member’s chair

or supervisor responsible for the decision or action who may then review and/or modify the

decision or action. As used in this regulation “appeal” means an attempt to resolve the action

being grieved through review by appropriate administrator(s) in order to reach resolution prior to

the initiation of a grievance process.

             (c)   The term "days" as used in this regulation shall mean calendar days. If a time

limit expires on a non-business day, the limit shall be extended to 5 p.m. of the next

business day.

      (d)    The terms “elect” or “election” shall mean the filing of the request for a specific

review of a grievance as provided in section (3) below in the Office of the President.

      (2)    Informal Resolution and Appeal Process.




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      (a)   Faculty members are encouraged to seek resolution of their grievances prior to filing

under a specific grievance procedure or requesting mediation through an informal appeal to the

faculty member’s immediate supervisor or the next ranking administrator or the administrator’s

designee. In the alternative, a faculty member may seek mediation in lieu of the grievance

process. If a faculty member requests and the University agrees to mediate a dispute, the faculty

member waives the right to grieve the allegations that are the subject of the mediation. A faculty

member’s request to mediate must be submitted within the same deadline the faculty member has

to submit a grievance.

      (b)   Attempts to informally resolve a dispute do not automatically suspend the applicable

time limit for requesting a particular grievance or mediation procedure, as set out below. At the

time a grievance or mediation request is filed, a written request for an extension of the

applicable time limit for initiating the elected review procedure may be submitted in order to

facilitate a resolution. Notwithstanding the foregoing, failure to elect a procedure prior to the

applicable time limit, or prior to an extension thereof as approved by the University, shall

constitute a waiver of the right to any method for grievance resolution as set out in sections

(3)(a) and (b) below.

            (3)     Procedures for Grievance Review -- Faculty members at the University

of Florida may elect one of the procedures for review and resolution of a grievance described in

this regulation. Unless stated otherwise in these regulations, an election of any one of these

procedures shall constitute a waiver of all other procedures provided.

      (a)   Faculty members in the collective bargaining unit must elect the grievance

procedure in the Collective Bargaining Agreement between the United Faculty of Florida and the

University of Florida Board of Trustees for grievances arising under the terms of the Agreement.



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The time limit for the election of such grievance process and the procedures for filing are as set

forth in the Collective Bargaining Agreement.

      (b)    Faculty members not in the collective bargaining unit may elect one of the following

methods for a review of a grievance:

      l.     University Faculty Grievance Procedure, University of Florida Regulation 7.042, for

those matters involving University or Board of Governors regulations; or

      2.     Faculty Senate Committee on Academic Freedom, Tenure, Professional Relations

and Standards for those matters which are within the jurisdiction of the Committee.

      a.      The Faculty Senate Committee on Academic Freedom, Tenure, Professional

Relations and Standards shall have jurisdiction in matters involving University practices bearing

on academic freedom, tenure, professional ethics, or the general welfare of the faculty when such

matters are placed before it by the President or designee, or through charges filed by the same or

faculty members as set forth in University of Florida Regulation 7.0441. The Committee shall

have the right to reject the grievance, or require modification of the grievance, if it is not filed in

accordance with the time limits set forth in section (3)(b)3 below or it is not within jurisdiction

of the Committee.

      b.     A faculty member who has elected to commence a review before the Faculty

Senate Committee must address a written complaint to the President of the University. The

complaint must be signed by the faculty member, and the following must be included therein: "I

understand and agree that by filing this complaint initiating the formal method for grievance

resolution provided by Regulation 7.04l(3)(b)2, I waive any right I might otherwise have to any

other formal method for grievance resolution, as set out in Regulation 7.041(3)." The faculty

member should furnish any relevant documentary evidence with the complaint to the President.



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      c.     The President or President's designee shall then refer the complaint and any

documentary evidence submitted with the complaint to the Chairperson of the Faculty Senate

Committee for review. The Committee shall follow its procedures and rules as established by

the Faculty Senate or the Committee itself. See University of Florida Regulation 7.0441. The

Committee shall submit its findings and recommendations to the President. The President may

adopt, modify, or reject the Committee's report. Copies of the President's decision shall be sent

to the parties involved in the grievance. The action of the President shall be final.

      3.     Time Limit. The election of any procedure for grievance review for a faculty

member not in the collective bargaining unit must be initiated by filing the grievance with the

Office of the President no later than thirty (30) days from the date following the act or omission

giving rise to the grievance, or thirty (30) days from the date the faculty member acquires

knowledge, or could reasonably have been expected to acquire knowledge, of the act or

omission, if that date is later.

      (4)    Discrimination complaints - A faculty member may utilize as appropriate the

grievance process set forth in section (3) above or University of Florida Regulation 1.0063, for

the resolution of a complaint of alleged discrimination in employment practices. A faculty

member who files a written complaint under University of Florida Regulation 1.0063 waives any

right he or she might otherwise have to file a grievance under section (3) above based on the

same facts. Notwithstanding the foregoing, the faculty member does not waive the right to use

the grievance procedures set out in section (3) above to grieve the same subject matter on a basis

other than discrimination provided the applicable time limit, or any extensions thereof which

have been granted, are met.




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     Specific Authority: BOG Regulation 1.001.

     History--New 3-6-80, Amended 2-23-82, 5-l4-85, Formerly 6C1-7.41, 4-30-95, 7-27-98,

3-31-2006 (technical changes only), 3-17-09, 6-8-12, Amended 4-1-16.




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                       EXHIBIT 15
                  UF REGULATION 7.042
     UNIVERSITY GRIEVANCE PROCEDURE FOR FACULTY
      AND POSTDOCTORAL ASSOCIATES: DEFINITIONS,
        GENERAL INFORMATION, AND PROCEDURES
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                                    REGULATIONS OF THE

                                  UNIVERSITY OF FLORIDA



      7.042 University Grievance Procedure for Faculty and Postdoctoral Associates:

Definitions, General Information, and Procedures.

      (1)   Definitions.

      (a)   The term "grievance" as used in this regulation shall mean a dispute or complaint

alleging a violation of the regulations of the University or the Board of Governors concerning

tenure, promotion, non-renewal and termination of employment contracts, salary, work

assignments, annual evaluation, lay-off and recall, and other benefits or rights accruing to a

faculty member or postdoctoral associate pursuant to these regulations.

      (b)   A grievance must be filed in the Office of the President with a copy to the grievant’s

chief administrative officer (CAO) in the format described in section (5) below. The required

information must be complete in order for the grievance process to begin.

      (c)   The term "grievant" shall mean a faculty member who is not a member of the

collective bargaining unit or a postdoctoral associate whose benefits or rights, as defined in

subsection (1)(a) above, have been directly affected by an act or omission of the University or its

representative and who has filed a grievance.

      (d)   The term "days" shall mean calendar days. If a time limit expires on a non-business

day, the limit shall be extended to 5 p.m. of the next business day.

      (e)   The term “Grievance Committee” shall apply to a committee selected by either a

vote of the college faculty or by appointment of the CAO to review the grievance at Step I.




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       (f)   The term "chief administrative officer" (cited as "CAO" in this regulation) shall

mean the dean or director exercising authority over faculty in a college or budgetary unit, or the

designee of such an individual. The CAO may also be the Senior Vice President for Health

Affairs or Agricultural and Natural Resources, and/or the deans of the colleges within these

budgetary units, including the functional Deans in IFAS, or for the purpose of this regulation the

vice presidents or directors of major budgetary, academic or administrative units which are the

organizational equivalent of colleges, such as Florida Museum of Natural History, University

Libraries and Student Affairs.

       (2)   General Information

       (a)   Purpose of Grievance Procedure - The purpose of the procedure is to provide a

prompt and efficient collegial method for the review and resolution of grievances filed by faculty

members of the University who are not members of the collective bargaining unit. The

procedure set forth in this regulation is also the exclusive procedure available for the review and

resolution of grievances filed by postdoctoral associates.

       (b)   Time Limits

       1.    A grievance shall be filed no later than thirty (30) days from the date following the

act or omission giving rise to the grievance, or thirty (30) days from the date the grievant

acquires knowledge, or could reasonably have been expected to acquire knowledge, of the act or

omission, if that date is later.

       2.    Extensions requested for the purpose of attempts to resolve the grievance may be

granted upon the grievant’s written request to the Office of the President, with a copy to the

CAO.




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      3.     Upon failure of the University or its representatives to provide a decision within the

time limits provided in this regulation or any extension thereof, the grievance shall be deemed to

have been transferred to the next step of the grievance process.

      4.     Upon the failure of the grievant to file a request for review within the time limits

provided in this regulation, the grievance shall be deemed to have been resolved at the prior step,

and the grievance file closed. The grievance shall not later be revived.

      5.     The University may refuse to entertain any grievance or request for review not filed

within the applicable time limit or extension thereof.

      (c)    Burden of Proof - The burden of proof shall be on the grievant, who must support

his or her position regarding the grievance by a preponderance of the evidence, except that the

burden of proof shall be on the University in a disciplinary grievance alleging a violation or

violations under University of Florida Regulation 7.048, to establish by a preponderance of the

evidence that the violation occurred. Counseling is not considered disciplinary action.

      (d)    Limitations on Certain Remedies -

      l.     Backpay may be awarded to a grievant if a determination is made that the grievant is

not receiving the appropriate salary from the University, but other monetary damages, interest, or

penalties, including attorney’s fees, shall not be awarded to a grievant.

      2.     A decision to award employment beyond the tenure probationary period, as defined

in University of Florida Regulation 7.019 or the sixth (6th) year in the case of county extension

faculty members, to a grievant shall not entitle the grievant to tenure or permanent status. In

such case, the grievant shall have the right to an appropriate notice period, but is not entitled to

any employment after the designated notice period.

      (3)    Appeal or Resolution Process.




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      (a)   An aggrieved faculty member or postdoctoral associate is encouraged to arrange a

meeting to discuss a possible resolution of the grievance with the appropriate administrator

responsible for the act or omission giving rise to the grievance. This conference should be held

within the thirty (30) day period, as described in subsection (2)(b)1. above, in which the

grievance review procedure must be initiated. If such conference cannot be held within the thirty

(30) day period, the aggrieved faculty member or postdoctoral associate must file a grievance in

the Office of the President along with a written request for an extension of no more than thirty

(30) days in order to continue to pursue resolution of the grievance.

      (b)   Upon the grievant's written request, additional thirty (30) day extensions may be

granted, unless to do so would impede the resolution of the grievance. Approval of any request

for extension shall be in writing to the Office of the President with a copy to the CAO. The

grievant may at any time terminate the extension by giving written notice to the CAO with a

copy to the Office of the President that the grievant wishes to proceed with the grievance review

procedure in the manner described in subsection (4)(b) below.

      (c)   If an extension expires without a written request from the grievant for either a

further extension or a Step I review, the grievance need not be processed further, and the

grievance file will be closed. The grievance shall not later be revived.

      (4)   Initiation of Grievance Review Procedure.

      (a)   General Information.

      1.    The Grievance Procedure under this regulation shall commence upon the timely

filing of a grievance in the Office of the President, which shall include all the information

specified in "Step I Grievance", as described in subsection (5)(a) below, with a copy to the

appropriate CAO. At the same time, a copy of the grievance shall be furnished to the grievant's




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chair or unit supervisor. The President or designee or the CAO may refuse to consider a

grievance not filed in accordance with this regulation upon written notice to the grievant of the

reasons for the decision.

      2.     The grievant shall indicate on the Step I grievance request that the grievance review

procedure begin with either a review by the Grievance Committee or a review by the CAO.

      3.     If the grievant is a dean, director, or vice president, the grievant shall request that the

grievance procedure begin at the Step 1 level with a review by the appropriate CAO, e.g., a vice

president or senior vice president. If the grievant is a senior vice president, the grievant shall

request that the President designate the senior official who will fulfill the roles of the CAO under

Step I and the Provost under Step II in a single review.

      4.     A college or unit shall establish a three (3)-member Grievance Committee consisting

of faculty to hear grievances filed under this regulation. Committee members may be selected

either by a vote of the college faculty or be appointed by the CAO. Committee members may

serve for staggered terms of either two (2) or three (3) years and shall be eligible for

reappointment. The Committee shall designate one (1) of its members as chair.

      (b)    Step I Review Procedures.

      1.     The STEP I Grievance Committee Meeting and Review Process -

      a.     The Committee shall as soon as practicable but no sooner than seven (7) and no later

than fifteen (15) days following the receipt of the grievance by the CAO, schedule a Step I

meeting with the grievant.

      b.     The Committee chair shall be responsible for notifying the grievant of the meeting.

The grievant may be represented by a university colleague at this meeting.




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      c.        Before the Step I meeting, the grievant may make written request for copies of any

identifiable documents relevant to the grievance and shall be furnished copies of such documents

which may be lawfully disclosed to the grievant under University of Florida Regulations and

state law. Charges for such copies shall be limited to the amounts that can be charged for copies

under the Public Records Law, Ch. 119, Fla. Stat., except that the first $25.00 worth of copying

will be free.

      d.        At the Step I meeting, the grievant, or the grievant's collegial representative, shall

have the right to present any evidence in support of the grievance to the Committee.

      e.        After the Step I meeting, the Committee shall establish, through conferences and

review of appropriate documentation, the facts giving rise to the grievance.

      f.        The Committee may interview others in addition to the grievant and seek other

evidence in order to recommend an appropriate resolution of the grievance to the CAO.

      g.        The Committee shall maintain the confidentiality of any “limited access records” as

defined in University of Florida Regulation 1.019 during the conduct of its review.

      h.        The review shall be as collegial as possible, yet compatible with formulating a

recommended resolution of the grievance.

      i.        The Committee shall, no later than thirty (30) days after meeting with the grievant,

submit to the CAO a report containing its findings and recommendations with respect to the

grievance, including any proposed resolutions thereof.

      (I)       The report shall indicate what evidence is deemed pertinent to the grievant's claims

regarding the specific university regulations alleged to have been violated, and the factual basis

for the Committee's recommendations.




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      (II)   The Committee's review of an administrator's decision that involved the exercise of

discretion, such as, but not limited to, a decision regarding tenure, promotion, non-renewal or

merit salary increase, shall not substitute the Committee’s judgment for that of the administrator,

but shall be confined to determining whether the decision violated the regulations of the Board of

Governors or of the University.

      (III) All documents considered relevant to the grievant’s claim or regulation violations by

the Committee in its review of the grievance shall be attached to the Committee's report, along

with a list of such documents. The Committee Chair may schedule a meeting to discuss the

findings of fact and recommendations with the CAO.

      j.     Within thirty (30) days of the receipt of the Committee's report, the CAO shall

render a CAO decision in writing which either accepts the Committee's findings and

recommendations, or which modifies such recommendations based on the Committee's findings,

provided the CAO's decision includes detailed reasons for departing from the Committee's

report. Copies of the CAO's decision and the Committee's report shall be sent to those parties

directly involved in the grievance including the members of the Committee. A copy shall also be

sent to the Provost.

      2.     Step I Chief Administrative Officer (CAO) Review.

      a.     If the grievant elects to have the grievance review begin with the CAO, the CAO or

a designee shall conduct the Step I review in accordance with the procedures outlined below.

He or she shall review the evidence presented by the grievant in support of the alleged violations

and conduct whatever review the CAO deems necessary, including interviewing of witnesses.

      b.     The CAO shall as soon as practicable but no sooner than seven (7) and no later than

fifteen (15) days following the receipt of the grievance by the CAO, schedule a Step I meeting




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with the grievant. Before the Step I meeting, the grievant may make written request for copies

of any identifiable documents relevant to the grievance and shall be furnished copies of such

documents which may be lawfully disclosed to the grievant under University of Florida

Regulations and state law. Charges for such copies shall be limited to the amounts that can be

charged for copies under the Public Records Law, Ch. 119, Fla. Stat., except that the first $25.00

worth of copying will be free. At the Step I meeting, the grievant, or the grievant's collegial

representative, shall have the right to present any evidence in support of the grievance. After the

Step I meeting, the CAO shall establish, through conferences and review of the appropriate

documentation, the facts giving rise to the grievance.

      c.     The CAO shall issue a written decision to the grievant stating the reasons for such

decision no later than thirty (30) days after the Step I meeting. The CAO's review of an

administrator's decision that involved the exercise of discretion, such as a decision regarding

tenure, promotion, or merit salary increase, shall not substitute the CAO’s judgment for that of

the administrator, but be confined to determining whether the decision violated the regulations of

the Board of Governors or of the University. All documents reviewed by the CAO in reviewing

the grievance shall be attached to the CAO's decision, along with a list of such documents. A

copy of the decision shall be sent to the parties directly involved in the grievance. A copy shall

also be sent to the Provost.

      d.     The Step I review for grievants holding appointments in the Institute of Food and

Agricultural Sciences or the J. Hillis Miller Health Science Center may include at the discretion

of the University, a two (2)-level review by the dean or designee and the Senior Vice President

for Agricultural and Natural Resources or the Senior Vice President for Health Affairs or

designee of such Senior Vice President. If this two (2)-level procedure is to be used, the grievant




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shall be so advised in writing and the matter shall proceed as follows: Review by the appropriate

dean or designee shall be conducted in accordance with the procedures set forth in subsection

(4)(b)2 above. If the grievant is not satisfied with the decision, he or she may make a written

request to the appropriate vice president for a further review of the decision of the dean or

designee. Such a written request shall be filed with the appropriate vice president no later than

fifteen (15) days from the grievant’s receipt of the decision of the dean or designee. The

appropriate vice president or designee shall review the grievance in accordance with the

procedures set forth in subsection (4)(c) below. The vice president or designee, shall issue a

written Step I decision in the form set forth in subsection 4(c)3. below. Copies of this Step I

decision and the attachments thereto shall be sent to those parties involved in the grievance. A

copy shall also be sent to the Provost.

      (c)   STEP II Review Procedures - If the grievant is not satisfied with the decision in Step

I the grievant may file with the Office of the Provost a written request for review at the Step II

level. Such request shall include all the information specified in the "Request for Review of Step

I Decision", described in subsection (5)(b) below. The written request for review at the Step II

level must be filed with the Office of the Provost no later than fifteen (15) days from the

grievant's receipt of the Step I decision. The grievant may be represented by a university

colleague or by legal counsel in the review of the grievance at the Step II level.

      l.    The Provost or Provost’s designee shall review all documentation considered during

the Step I process, and the recommendations made by the Grievance Committee, if applicable,

and the decision of the CAO.

      2.    The Provost or designee may at his or her discretion consider materials beyond those

described in subsection (4)(b) above in reviewing the grievance. Copies of such materials shall




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be furnished to the grievant. The Provost or designee shall meet with the grievant, the grievant's

legal or collegial representative, and, if deemed necessary, the appropriate administrator, in an

effort to resolve the grievance. Such a meeting shall be scheduled no later than fifteen (15) days

following receipt of the request for review. The meeting shall afford the grievant, or the

grievant's representative, an opportunity to present written and/or oral evidence relevant to the

grievance.

      3.     Within thirty (30) days of the meeting, the Provost or designee shall issue a written

decision with respect to the grievance, giving the findings of fact and the reasons for the

conclusions reached. All documents reviewed by the Provost or designee in making the decision

with respect to the grievance shall be attached to the decision, along with a list of such

documents. Copies of the Step II decision and the attachments thereto shall be furnished to those

parties involved in the grievance and to the University President.

      (d)    STEP III Review Procedures - If the grievant is not satisfied with the Step II

decision, the grievant may file, no later than fifteen (15) days from the date of the grievant's

receipt of the Step II decision, a written request for the Provost or designee to move the

grievance to an arbitration hearing. Such request shall include all the information specified in

"Request for Review of Step II Decision", as described in subsection (5)(c) below.

      l.     No later than fifteen (15) days after receipt of the request, the Provost or designee

shall select an arbitrator on a rotational basis from an odd numbered panel of at least seven (7)

arbitrators maintained by the University to hear the grievance. Arbitration proceedings shall be

conducted in accordance with this regulation, supplemented by the Labor Arbitration Rules,

published by the American Arbitration Association, as amended from time to time. The

arbitrator's report shall be advisory to the University President, who shall consider its contents




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together with the record of the arbitration proceedings, as well as the Step I and II decisions with

documents attached thereto, prior to rendering a final decision.

      2.     The arbitrator shall not have the authority to either add to, subtract from, modify, or

alter the terms or provisions of Board of Governors and University regulations . The subject of

the arbitration shall be confined solely to the application and/or interpretation of these

regulations with respect to the precise issues submitted for arbitration. The arbitrator shall have

no authority to determine any other issue. Any statements of opinion or conclusions not essential

to the determination of the issues submitted made by the arbitrator shall be of no force and effect.

      3.     In those instances in which an administrator has made a judgment involving the

exercise of discretion, such as decisions regarding tenure, promotion, or merit salary increases,

the arbitrator shall not substitute his or her judgment for that of the administrator, nor shall the

arbitrator review such decision except to determine whether the decision violated the regulations

of the Board of Governors or of the University. If the arbitrator determines that such regulations

have been violated, the arbitrator shall submit a report to the President with the findings of fact

and recommendations concerning what the arbitrator deems to be appropriate action.

      4.     If it is found that notice of the end of employment of a faculty member was given

after the date such notice was required to be given, the arbitrator may advise the President to

renew or reappoint the grievant only after a finding that the timing of the notice given was such

that either the grievant was deprived of reasonable opportunity to seek other employment, or the

grievant actually rejected an offer of comparable employment which the grievant otherwise

would have accepted.

      5.     All fees and expenses of the arbitrator shall be divided equally between the grievant

and the University. Each party shall bear the cost of preparing its own case. The cost of any




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transcript of proceedings before the arbitrator shall be divided equally between the parties, and

any such transcript shall be provided to the arbitrator, and then to the President. The cost of any

additional copies of such transcripts shall be borne by the party requesting same.

      6.      The President shall issue a final written decision with respect to the grievance within

thirty (30) days after receipt of the arbitrator's report, or as soon thereafter as possible. The

decision shall either adopt the arbitrator's report and its recommendations, modify the report, or

reject the report, provided the decision includes detailed reasons for departing from the

arbitrator's report. Copies of the President's decision shall be sent to those parties involved in the

grievance.

      (5)     Requests for the review of a grievance at any of the steps shall be completed in the

formats described in this section and filed in the Office of the President within the time limits

described in this regulation. If the required information is not completed, the University shall

not be responsible for initiating the review process.

      (a)     For Step I –

            University Grievance Procedure under University of Florida Regulation 7.042
                        REQUEST FOR A STEP I GRIEVANCE REVIEW

NAME OF GRIEVANT: _________________________________________________________
COLLEGE OR UNIT: ___________________________________________________________
DEPARTMENT: _______________________________________________________________
CAMPUS ADDRESS: _____________________ E-MAIL ADDRESS: ____________________
PHONE NUMBER: _______________________ FAX NUMBER: _______________________
Other address to which mailings pertinent to this grievance should be sent (if applicable): _____
      l.    University Regulations Violated: ________________________________
      2.    Statement of Grievance (include specific date(s) of act(s) or omission(s))
complained of: _________________________________________________________________
      3.    Statement of Remedy Sought: ___________________________
      4.    Type of Review requested (check one):
            ( ) Step I Review by the Grievance Committee.
            ( ) Step I Review by the Chief Administrative Officer(s).
      5.    I do ( ) do not ( ) want an extension of time to seek resolution of this grievance. I
request an extension of ____________ days. (No more than thirty (30) days can be requested



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with this grievance. A further extension may be requested in writing upon expiration of an
approved extension.)
      6.     I will be represented in this grievance by: (check one)
             ( ) I will represent myself.
             ( ) I will be represented by a University colleague.
                          Name of colleague: _________________________________
                          Address: _________________________________________
      7.     I understand and agree that by filing this grievance and initiating the grievance
procedure provided in University of Florida Regulation 7.042, I waive any rights I might have to
any other grievance resolution procedure described in University of Florida Regulation 7.041(3).
      8.     This grievance is hereby filed in the Office of the President on this ______day of
_____________, _____. The following method of delivery was utilized:
             ( ) Mail (certified or registered, with restricted delivery to the Office of the
President, and return receipt requested).
             ( ) Personal delivery to the Office of the President.

                                             ______________________________________
                                             Signature of Grievant

Copies:       Provost
              Chief Administrative Officer
              Grievant’s Department Chair/Unit Supervisor


      (b)     For Step II –

            University Grievance Procedure under University of Florida Regulation 7.042
                        REQUEST FOR A REVIEW OF STEP I DECISION

NAME OF GRIEVANT: ______________________________________________________
COLLEGE OR UNIT: ________________________________________________________
DEPARTMENT: ____________________________________________________________
CAMPUS ADDRESS: _____________________ FAX NUMBER: ____________________
PHONE NUMBER: _______________________ E-MAIL ADDRESS: _________________
Other address to which mailings pertinent to this grievance should be sent (if applicable): ______

       1.     Date of Step I Decision: ______________________________________
       2.     I hereby request that the Provost or his or her designee review the attached decision
at the Step II level because: ________________________
_____________________________________________________________________________
       3.     I will be represented in this Step of the grievance procedure by: (check one)
              ( ) Myself
              ( ) A colleague.
                     Name ______________________________________
                     Address ____________________________________
              ( ) Counsel



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                   Name __________________________________________
                   Address ________________________________________
      4.    Copies of the following documents are attached to this request:
            a.     Original Step I grievance form filed with the University;
            b.     Step I decision issued by the Chief Administrative Officer; and
            c.     All attachments to the Step I decision.
      5.    I received the Step I decision on _________________ and filed this request for
review with the Office of the Provost on this ______ day of __________, _______. The
following method of delivery was utilized:
            ( ) Mail (certified or registered mail, with restricted delivery to the Office of the
Provost and return receipt requested).
            ( ) Personal delivery to the Office of the Provost.

                                            ___________________________________
                                            Signature of Grievant /Date

Copies:       Office of the President
              Grievant’s Chief Administrative Officer

      (c)     For Step III –

            University Grievance Procedure under University of Florida Regulation 7.042
                       REQUEST FOR A REVIEW OF STEP II DECISION

NAME OF GRIEVANT: _______________________________________________
COLLEGE OR UNIT: _________________________________________________
DEPARTMENT: _____________________________________________________
CAMPUS ADDRESS: ___________________ FAX NUMBER: _______________________
PHONE NUMBER: _____________________ E-MAIL ADDRESS: ____________________
Other address to which mailings pertinent to this grievance should be sent (if applicable): ______

      l.    Date of Step II Decision: _______________________________
      2.    I hereby request that the President or his or her designee initiate a review of the
attached decision at the Step III level because:
________________________________________
______________________________________________________________________________
      3.    I will be represented in this Step of the grievance procedure by: (check one)
            ( ) Myself
            ( ) A colleague
                   Name ___________________________________
                   Address _________________________________
            ( ) Counsel
                   Name ____________________________________
                   Address __________________________________
      4.    Copies of the following documents are attached to this request:
      a.    Original Step I grievance form filed with the University;



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      b.     Step I decision issued by the Chief Administrative Officer;
      c.     All attachments to Step I decision;
      d.     Request for review of Step I decision filed with the University;
      e.     Step II decision issued by the Provost;
      f.     All attachments to Step II decision.
      5.     I received the decision on ________________, filed the request for review at the
Step III level on this _______day of ___________, ______. The following method of delivery
was utilized:
             ( ) Mail (certified or registered, with restricted delivery to the Office of the
President and return receipt requested).
             ( ) Personal delivery to the Office of the President.

                                          ____________________________________
                                          Signature of Grievant

Copies:     Provost
            Grievant’s Chief Administrative Officer


      Authority: BOG Regulation 1.001.

      History--New 3-26-80, Amended 2-23-82, 5-14-85, Formerly 6C1-7.42, Amended 6-28-

98, 6-21-00, 7-19-05, Formerly 6C1-7.042, Amended 3-16-10, 6-8-12, 4-1-16.




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